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    voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period).

    Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the average
    paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that arose from an
    inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period). This documentation must include payroll records that separately list each employee and show the amounts paid
    to each employee between January 1, 2020 and the end of the Covered Period.

    Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020 and the
    end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with requirements
    established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020,
    requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by the Secretary of Health and
    Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
    Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or customer safety
    requirement related to COVID-19. This documentation must include copies of the applicable requirements for each borrower location
    and relevant borrower financial records.

    All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
    supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
    Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
    Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
    requirements.

    Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan is
    forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector General,
    to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant Federal,
    State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




                                                                                                              USA-000501
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                                                                   X


                                                                        Fairpark Health and          2019-07-01
                                                                        Rehabilitation




                                                                        623110-Nursing Care
      MARYVILLE FAIRPARK OPCO LLC                                       Facilities (Skilled
                                                                        Nursing Facilities)
                                                                                                 X

      440 Sylvan Av Suite 240                                                                    718-551-8491
      Englewood Cliffs
      NJ                07632                                           Marc Elias               marc@theportopiccologroup.com


                             140000.00                                  350000.00                           65



                             X                    X                        X                         X




     Simcha Hyman                          Manager            50
     Naftali Zanziper                      Manager            50




    Simcha Hyman                                              Manager



                             Non-Veteran


                             Male

                             White


                            Not Hispanic or Latino




                                                                                                   USA-000502
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                                                                                                        No



                                                                                                        No



                                                                                                         Yes


                                                                                                        No


                                                                                                        No




                                                                                                        No



                                                                                                        Yes
                                                                                                        No
                                                                                                        No




                                                                                           USA-000503
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                                                                            3/25/2021


                   Simcha Hyman




                                                                                             USA-000505
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                                                                                           USA-000507
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                                                                                           USA-000508
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                                                                                                                        OMB Control No.: 3245-0407
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                                                      Paycheck Protection Program
                              PPP Loan Forgiveness Application Form 3508EZ Revised January 19, 2021

                           Business Legal Name (“Borrower”)                                      DBA or Tradename, if applicable
    MARYVILLE FAIRPARK OPCO LLC
                            Business Address                           NAICS Code      Business TIN (EIN, SSN)               Business Phone
                                                                   623110-Nurs                                     718 551-8491
    307 N 5TH ST
                                                                   ing Care                                         (    )         -
     MARYVILLE, TN, 37802, US                                      Facilities        Primary Contact                         E-mail Address
                                                                   (Skilled    Simcha Hyman                        ishulman@axgsolutions.com
                                                                   Nursing
    X First Draw PPP Loan ☐ Second Draw PPP Loan (check one)
    ☐                                                              Facilities)

                                                                                                    ACBS0001347632
                                1470638709
    SBA PPP Loan Number: ________________________                 Lender PPP Loan Number: __________________________
                                                                                                       2021-04-13
    PPP Loan Amount: _____________________________
                     350000.00                                    PPP Loan Disbursement Date: ________________________
                                                 65                                                                           77
    Employees at Time of Loan Application: ___________            Employees at Time of Forgiveness Application: __________
                        2021-04-13                        2021-09-27
    Covered Period: ________________________ to ________________________

    If Borrower (Together with Affiliates, if Applicable) Received First Draw PPP Loans of $2 million or More or Second Draw
    PPP Loans of $2 Million or More, check here: ☐  X


    Forgiveness Amount Calculation:

    Payroll and Nonpayroll Costs                                                                          447713.34
    Line 1. Payroll Costs:                                                                               _____________________

                                                                                                          140000
    Line 2. Business Mortgage Interest Payments:                                                         _____________________

                                                                                                          0
    Line 3. Business Rent or Lease Payments:                                                             _____________________
                                                                                                          0
    Line 4. Business Utility Payments:                                                                   _____________________

                                                                                                          .00
    Line 5. Covered Operations Expenditures:                                                             _____________________
                                                                                                         .00

    Line 6. Covered Property Damage Costs:                                                               _____________________
                                                                                                         .00

    Line 7. Covered Supplier Costs:                                                                      _____________________
                                                                                                        .00
    Line 8. Covered Worker Protection Expenditures:                                                      _____________________

    Potential Forgiveness Amounts                                                                        587713.34
    Line 9. Sum the amounts on lines 1 through 8:                                                        _____________________
                                                                                                        350000.00
    Line 10. PPP Loan Amount:                                                                            _____________________
                                                                                                          746188.90
    Line 11.   Payroll Cost 60% Requirement (divide Line 1 by 0.60):                                     _____________________

    Forgiveness Amount                                                                                    350000.00

    Line 12. Forgiveness Amount (enter the smallest of Lines 9, 10, and 11):                             _____________________




                                                                                                                   USA-000509
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     By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
     The Authorized Representative of the Borrower certifies to all of the below by initialing next to each one.
     _____     The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
                    • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage
                         interest payments; business rent or lease payments; business utility payments; covered operations expenditures;
                         covered property damage costs; covered supplier costs; or covered worker protection expenditures);
                    • includes payroll costs equal to at least 60% of the forgiveness amount; and
                    • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner, does
                         not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan amount,
                         capped at $20,833 per individual in total across all businesses.
     _____     I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
               of loan amounts and/or civil or criminal fraud charges.
     _____     The Borrower did not reduce salaries or hourly wages of any employee by more than 25 percent for any employee during the
               Covered Period compared to the most recent quarter before the Covered Period. For purposes of this certification, the term
               “employee” includes only those employees that did not receive, during any single period during 2019, wages or salary at an
               annualized rate of pay in an amount more than $100,000.
     _____     The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
               requesting forgiveness.
     _____     I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
               (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease payments,
               business utility payments, covered operations expenditures, covered property damage costs, covered supplier costs, and
               covered worker protection expenditures.
     ______ If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts on
               eligible expenses prior to disbursement of the Second Draw PPP Loan.
     _____     The information provided in this application and the information provided in all supporting documents and forms is true and
               correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an SBA-
               guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years
               and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more
               than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not more than
               thirty years and/or a fine of not more than $1,000,000.
     _____     The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has submitted
               or will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the
               Lender can share the tax information with SBA’s authorized representatives, including authorized representatives of
               the SBA Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA
               reviews.
     _____     I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
               Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
               requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
               Borrower’s loan forgiveness application.
    In addition, the Authorized Representative of the Borrower must certify by initialing at least ONE of the following two items:
    _____      The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020 and
               the end of the Covered Period (other than any reductions that arose from an inability to rehire individuals who were
               employees on February 15, 2020, if the Borrower was unable to hire similarly qualified employees for unfilled positions on
               or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, before the last day of the Covered Period),
               and reductions in an employee’s hours that a borrower offered to restore and were refused).
     _____     The Borrower was unable to operate between February 15, 2020, and the end of the Covered Period at the same level of
               business activity as before February 15, 2020 due to compliance with requirements established or guidance issued between
               March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or
               guidance issued before the last day of the Covered Period), by the Secretary of Health and Human Services, the Director of
               the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
               maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
               COVID-19.
    The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
    through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
    determines that the Borrower was ineligible for the PPP loan.
                                                                                                               USA-000510
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                                                                                           8/4/2022
    _____________________________________________________                          ____________________________
    Signature of Authorized Representative of Borrower                             Date
                                                                                           Authorized Representative
    _____________________________________________________
       Simcha Hyman                                                                ____________________________
    Print Name                                                                     Title




                                                                                                  USA-000511
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                         PPP LOAN FORGIVENESS APPLICATION FORM 3508EZ INSTRUCTIONS FOR BORROWERS

                                                   Checklist for Using SBA Form 3508EZ

      You (the Borrower) can apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) Loan using this
      SBA Form 3508EZ if your PPP loan amount is more than $150,000 and you can check at least one of the two boxes below. If
      your loan amount is $150,000 or less, please use SBA Form 3508S. Do not submit this Checklist with your SBA Form 3508EZ.
      Each PPP loan must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness of both a
      First Draw PPP Loan and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must submit a loan
      forgiveness application for your First Draw PPP Loan before or simultaneously with the loan forgiveness application for your
      Second Draw PPP Loan, even if the calculated amount of forgiveness on your First Draw PPP Loan is zero.

          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000.);
                                                                       AND
            The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020
            and the end of the Covered Period.
                        • Ignore reductions that arose from an inability to rehire individuals who were employees on February 15,
                             2020 if the Borrower was unable to hire similarly qualified employees for unfilled positions on or before
                             December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of the Covered
                             Period).
                        • Also ignore reductions in an employee’s hours that the Borrower offered to restore and the employee
                             refused. See 85 FR 33004, 33007 (June 1, 2020) for more details.
                      -----------------------------------------------------------------------------------------------------------------
          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000,);
                                                                       AND
               The Borrower was unable to operate during the Covered Period at the same level of business activity as before February
               15, 2020, due to compliance with requirements established or guidance issued between March 1, 2020 and December 31,
               2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance issued between March 1,
               2020 and the last day of the Covered Period) by the Secretary of Health and Human Services, the Director of the Centers
               for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the maintenance of
               standards of sanitation, social distancing, or any other work or customer safety requirement related to COVID-19.

      If you can check at least one of the two boxes above, complete this SBA Form 3508EZ in accordance with the instructions below,
      and submit it to your Lender (or the Lender that is servicing your loan). Borrowers may also complete this application
      electronically through their Lender. If your loan is for more than $150,000 and you are unable to check one of the boxes above,
      you cannot use SBA Form 3508EZ and instead you must apply for forgiveness of your PPP loan using SBA Form 3508.

      If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is
      required to submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the Lender not
      later than 30 days after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on
      January 6, 2021 (86 FR 3692).

                                    Instructions for PPP Loan Forgiveness Calculation Form 3508EZ

      Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN): Enter the same information
      as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, or lender’s equivalent).

      Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
      Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
      Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.

      First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
      for. If you only have one PPP loan, select First Draw PPP Loan.                                    USA-000512
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      SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
      Lender if necessary.

      Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

      PPP Loan Amount: Enter the disbursed principal amount of the PPP loan (the total loan amount you received from the Lender).

      PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
      received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized increase
      on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original disbursement of
      your PPP loan proceeds.

      Employees at Time of Loan Application: Enter the total number of employees at the time of the PPP loan application.

      Employees at Time of Forgiveness Application: Enter the total number of employees at the time the Borrower is applying for
      loan forgiveness.

      Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
      Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
      disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
      Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
      Sunday, June 14, 2020 and Sunday, October 4, 2020.

      If Borrower, Together with Affiliates, if Applicable, Received First Draw PPP Loans of $2 Million or More or Second
      Draw PPP Loans of $2 Million or More: Check the box if the Borrower, together with its affiliates (to the extent required
      under subsection D.3. of SBA’s interim final rule posted on January 6, 2021 (86 FR 3692) and not waived under 15 U.S.C.
      636(a)(36)(D)(iv)), received (a) First Draw PPP Loans with an original principal amount of $2 million or more (if this is a
      First Draw PPP Loan forgiveness application), or (b) Second Draw PPP Loans with an original principal amount of $2
      million or more (if this is a Second Draw PPP Loan forgiveness application).

      Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

      Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, add the following:

            Cash Compensation: The sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
            medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for
            dismissal or separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in
            determining the Employer Retention Credit. For each individual employee, the total amount of cash compensation eligible
            for forgiveness may not exceed an annual salary of $100,000, as prorated for the Covered Period. For example, for an 8-
            week Covered Period, the maximum is $15,385, for a 24-week Covered Period, the maximum is $46,154. You can only
            include compensation of employees who were employed by the Borrower at any point during the Covered Period and whose
            principal place of residence is in the United States.

            Employee Benefits: The total amount paid by the Borrower for:
               1. Employer contributions for employee group health, life, disability, vision, or dental insurance, including employer
                   contributions to a self-insured, employer-sponsored group health plan, but excluding any pre-tax or after-tax
                   contributions by employees. Do not add contributions for these benefits made on behalf of a self-employed
                   individual, general partners, or owner-employees of an S-corporation, because such payments are already included
                   in their compensation.
               2. Employer contributions to employee retirement plans, excluding any pre-tax or after-tax contributions by
                   employees. Do not add employer retirement contributions made on behalf of a self-employed individual or general
                   partners, because such payments are already included in their compensation.
               3. Employer state and local taxes paid by the borrower and assessed on employee compensation (e.g., state
                   unemployment insurance tax), excluding any taxes withheld from employee earnings.

            Owner Compensation: Any amounts paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
            employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
            (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
            compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower.

      Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
                                                                                                             USA-000513
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      mortgage obligation on real or personal property in force before February 15, 2020. Do not include prepayments.

      Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
      Period, pursuant to lease agreements in force before February 15, 2020.

      Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period for business utilities for which
      service began before February 15, 2020.

      Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

      Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

      Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
      purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
      shall have been in effect before or at any time during the Covered Period).

      Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

      NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

      Line 9: Add lines 1 through 8 enter the total.

      Line 10: Enter the PPP Loan Amount.

      Line 11: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
      forgiveness amount was used for payroll costs.

      Line 12: Enter the smallest of lines 9, 10, or 11.

      Summary of Costs Eligible for Forgiveness:

      Borrowers are eligible for loan forgiveness for the following costs:
       1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
           during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
           the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
           pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
           for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
           Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
           annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
           once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
           on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692).

        2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
                 (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
                 on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
                 interest payments”);                                                                                                        Yes
                 (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
                 force before February 15, 2020 (“business rent or lease payments”);
                 (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water,
                 telephone, transportation, or internet access for which service began before February 15, 2020 (“business utility
                 payments”);
                 (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
                 business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
                 resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
                 (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
                 that occurred during 2020 that were not covered by insurance or other compensation;
                 (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
                 operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
                 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
                 purchase order may have been in effect before or at any time during the Covered Period); and
                 (g) covered worker protection expenditures: operating or capital expenditures that facilitate the USA-000514
                                                                                                                    adaptation of the business
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                 activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
                 Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
                 equivalent requirements established or guidance issued by a State or local government, during the period starting March
                 1, 2020 and ending on the date on which the national emergency declared by the President with respect to the
                 Coronavirus Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any
                 other worker or customer safety requirement related to COVID-19, but does not include residential real property or
                 intangible property.

             Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost either must be paid
             during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date, even if
             the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

                Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application Form 3508EZ

    PPP Loan Forgiveness Calculation Form 3508EZ

    Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting
    of each of the following:
         a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
             to employees.
         b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered Period:
                  i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
                  ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                       or that will be reported, to the relevant state.
         c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
             employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
             forgiveness amount.
         d. If you checked only the second box on the checklist on page 1 of these instructions, the average number of full-time
             equivalent employees on payroll employed by the Borrower on January 1, 2020 and at the end of the Covered Period.

    Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for all
    categories, eligible payments from the Covered Period.
        a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
             eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
             Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
        b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
             payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
             one month after the end of the Covered Period verifying eligible payments.
        c. Business utility payments: Copy of invoices from February 2020 and those paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        d. Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        e. Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments, and documentation that the costs were related to
             property damage and vandalism or looting due to public disturbances that occurred during 2020 and such costs were not
             covered by insurance or other compensation.
        f. Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period (except
             for perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and receipts, cancelled
             checks, or account statements verifying those eligible payments.
        g. Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
             receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the expenditures
             were used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.

                              Documents that Each Borrower Must Maintain but is Not Required to Submit

    Documentation supporting the certification that annual salaries or hourly wages were not reduced by more than 25 percent during the
    Covered Period relative to the most recent full quarter before the Covered Period. This documentation must include payroll records
    that separately list each employee and show the amounts paid to each employee during the most recent full quarter before the
    Covered Period, and the amounts paid to each employee during the Covered Period.

    Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions inUSA-000515
                                                                                                                  hours, firings for cause,
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    voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period).

    Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the average
    paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that arose from an
    inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period). This documentation must include payroll records that separately list each employee and show the amounts paid
    to each employee between January 1, 2020 and the end of the Covered Period.

    Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020 and the
    end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with requirements
    established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020,
    requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by the Secretary of Health and
    Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
    Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or customer safety
    requirement related to COVID-19. This documentation must include copies of the applicable requirements for each borrower location
    and relevant borrower financial records.

    All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
    supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
    Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
    Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
    requirements.

    Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan is
    forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector General,
    to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant Federal,
    State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




                                                                                                              USA-000516
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                                                                    X


                                                                         Foothills Transitional Care and       2019-07-01
                                                                         Rehabilitation




                                                                         623110-Nursing Care
      MARYVILLE JAMESTOWN OPCO LLC                                       Facilities (Skilled
                                                                         Nursing Facilities)
                                                                                                           X

      1012 JAMESTOWN WAY                                                                                   718-551-8491
      MARYVILLE
      TN               37803                                             Marc Elias                        marc@theportopiccologroup.com


                            234179.53                                    585448.81                                    67



                            X                     X                         X                                  X




     Simcha Hyman                         Manager              50
     Naftali Zanziper                     Manager              50




    Simcha Hyman                                               Manager



                            Non-Veteran


                            Male

                            White


                            Not Hispanic or Latino




                                                                                                         USA-000517
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                                                                                                       No



                                                                                                       No



                                                                                                        Yes


                                                                                                       No


                                                                                                       No




                                                                                                       No



                                                                                                       Yes
                                                                                                       No
                                                                                                       No




                                                                                          USA-000518
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                                                                                          USA-000519
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                                                                           3/26/2021


                   Simcha Hyman




                                                                                          USA-000520
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                                                                                          USA-000521
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                                                                                          USA-000522
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                                                                                          USA-000523
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                                                                                                                         OMB Control No.: 3245-0407
                                                                                                                           Expiration Date: 7/31/2021
                                                       Paycheck Protection Program
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                            Business Legal Name (“Borrower”)                                      DBA or Tradename, if applicable
    MARYVILLE JAMESTOWN OPCO LLC
                             Business Address                           NAICS Code      Business TIN (EIN, SSN)               Business Phone
                                                                    623110-Nurs                                     718 551-8491
    1012 JAMESTOWN WAY
                                                                    ing Care                                         (    )         -
     MARYVILLE, TN, 37803, US                                       Facilities        Primary Contact                         E-mail Address
                                                                    (Skilled    Simcha Hyman                        ishulman@axgsolutions.com
                                                                    Nursing
    X First Draw PPP Loan ☐ Second Draw PPP Loan (check one)
    ☐                                                               Facilities)

                                                                                                     ACBS0001347347
                                2382638703
    SBA PPP Loan Number: ________________________                  Lender PPP Loan Number: __________________________
                                                                                                        2021-04-12
    PPP Loan Amount: _____________________________
                     585448.81                                     PPP Loan Disbursement Date: ________________________
                                                  67                                                                           84
    Employees at Time of Loan Application: ___________             Employees at Time of Forgiveness Application: __________
                         2021-04-12                        2021-09-26
    Covered Period: ________________________ to ________________________

    If Borrower (Together with Affiliates, if Applicable) Received First Draw PPP Loans of $2 million or More or Second Draw
    PPP Loans of $2 Million or More, check here: ☐  X


    Forgiveness Amount Calculation:

    Payroll and Nonpayroll Costs                                                                           636705.09
    Line 1. Payroll Costs:                                                                                _____________________

                                                                                                           234179.52
    Line 2. Business Mortgage Interest Payments:                                                          _____________________

                                                                                                           0
    Line 3. Business Rent or Lease Payments:                                                              _____________________
                                                                                                           0
    Line 4. Business Utility Payments:                                                                    _____________________

                                                                                                           .00
    Line 5. Covered Operations Expenditures:                                                              _____________________
                                                                                                          .00

    Line 6. Covered Property Damage Costs:                                                                _____________________
                                                                                                          .00

    Line 7. Covered Supplier Costs:                                                                       _____________________
                                                                                                         .00
    Line 8. Covered Worker Protection Expenditures:                                                       _____________________

    Potential Forgiveness Amounts                                                                         870884.61
    Line 9. Sum the amounts on lines 1 through 8:                                                         _____________________
                                                                                                         585448.81
    Line 10. PPP Loan Amount:                                                                             _____________________
                                                                                                           1061175.15
    Line 11.   Payroll Cost 60% Requirement (divide Line 1 by 0.60):                                      _____________________

    Forgiveness Amount                                                                                     585448.81

    Line 12. Forgiveness Amount (enter the smallest of Lines 9, 10, and 11):                              _____________________




                                                                                                                 USA-000524
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     By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
     The Authorized Representative of the Borrower certifies to all of the below by initialing next to each one.
     _____     The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
                    • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage
                         interest payments; business rent or lease payments; business utility payments; covered operations expenditures;
                         covered property damage costs; covered supplier costs; or covered worker protection expenditures);
                    • includes payroll costs equal to at least 60% of the forgiveness amount; and
                    • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner, does
                         not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan amount,
                         capped at $20,833 per individual in total across all businesses.
     _____     I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
               of loan amounts and/or civil or criminal fraud charges.
     _____     The Borrower did not reduce salaries or hourly wages of any employee by more than 25 percent for any employee during the
               Covered Period compared to the most recent quarter before the Covered Period. For purposes of this certification, the term
               “employee” includes only those employees that did not receive, during any single period during 2019, wages or salary at an
               annualized rate of pay in an amount more than $100,000.
     _____     The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
               requesting forgiveness.
     _____     I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
               (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease payments,
               business utility payments, covered operations expenditures, covered property damage costs, covered supplier costs, and
               covered worker protection expenditures.
     ______ If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts on
               eligible expenses prior to disbursement of the Second Draw PPP Loan.
     _____     The information provided in this application and the information provided in all supporting documents and forms is true and
               correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an SBA-
               guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years
               and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more
               than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not more than
               thirty years and/or a fine of not more than $1,000,000.
     _____     The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has submitted
               or will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the
               Lender can share the tax information with SBA’s authorized representatives, including authorized representatives of
               the SBA Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA
               reviews.
     _____     I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
               Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
               requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
               Borrower’s loan forgiveness application.
    In addition, the Authorized Representative of the Borrower must certify by initialing at least ONE of the following two items:
    _____      The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020 and
               the end of the Covered Period (other than any reductions that arose from an inability to rehire individuals who were
               employees on February 15, 2020, if the Borrower was unable to hire similarly qualified employees for unfilled positions on
               or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, before the last day of the Covered Period),
               and reductions in an employee’s hours that a borrower offered to restore and were refused).
     _____     The Borrower was unable to operate between February 15, 2020, and the end of the Covered Period at the same level of
               business activity as before February 15, 2020 due to compliance with requirements established or guidance issued between
               March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or
               guidance issued before the last day of the Covered Period), by the Secretary of Health and Human Services, the Director of
               the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
               maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
               COVID-19.
    The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
    through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
    determines that the Borrower was ineligible for the PPP loan.
                                                                                                               USA-000525
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                                                   Paycheck Protection Program
                             PPP Loan Forgiveness Application Form 3508EZ Revised January 19, 2021

                                                                                          8/4/2022
    _____________________________________________________                         ____________________________
    Signature of Authorized Representative of Borrower                            Date
                                                                                          Authorized Representative
    _____________________________________________________
       Simcha Hyman                                                               ____________________________
    Print Name                                                                    Title




                                                                                                 USA-000526
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                         PPP LOAN FORGIVENESS APPLICATION FORM 3508EZ INSTRUCTIONS FOR BORROWERS

                                                   Checklist for Using SBA Form 3508EZ

      You (the Borrower) can apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) Loan using this
      SBA Form 3508EZ if your PPP loan amount is more than $150,000 and you can check at least one of the two boxes below. If
      your loan amount is $150,000 or less, please use SBA Form 3508S. Do not submit this Checklist with your SBA Form 3508EZ.
      Each PPP loan must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness of both a
      First Draw PPP Loan and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must submit a loan
      forgiveness application for your First Draw PPP Loan before or simultaneously with the loan forgiveness application for your
      Second Draw PPP Loan, even if the calculated amount of forgiveness on your First Draw PPP Loan is zero.

          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000.);
                                                                       AND
            The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020
            and the end of the Covered Period.
                        • Ignore reductions that arose from an inability to rehire individuals who were employees on February 15,
                             2020 if the Borrower was unable to hire similarly qualified employees for unfilled positions on or before
                             December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of the Covered
                             Period).
                        • Also ignore reductions in an employee’s hours that the Borrower offered to restore and the employee
                             refused. See 85 FR 33004, 33007 (June 1, 2020) for more details.
                      -----------------------------------------------------------------------------------------------------------------
          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000,);
                                                                       AND
               The Borrower was unable to operate during the Covered Period at the same level of business activity as before February
               15, 2020, due to compliance with requirements established or guidance issued between March 1, 2020 and December 31,
               2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance issued between March 1,
               2020 and the last day of the Covered Period) by the Secretary of Health and Human Services, the Director of the Centers
               for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the maintenance of
               standards of sanitation, social distancing, or any other work or customer safety requirement related to COVID-19.

      If you can check at least one of the two boxes above, complete this SBA Form 3508EZ in accordance with the instructions below,
      and submit it to your Lender (or the Lender that is servicing your loan). Borrowers may also complete this application
      electronically through their Lender. If your loan is for more than $150,000 and you are unable to check one of the boxes above,
      you cannot use SBA Form 3508EZ and instead you must apply for forgiveness of your PPP loan using SBA Form 3508.

      If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is
      required to submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the Lender not
      later than 30 days after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on
      January 6, 2021 (86 FR 3692).

                                    Instructions for PPP Loan Forgiveness Calculation Form 3508EZ

      Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN): Enter the same information
      as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, or lender’s equivalent).

      Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
      Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
      Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.

      First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
      for. If you only have one PPP loan, select First Draw PPP Loan.                                    USA-000527
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                                                                                                                                                       No Yes
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      SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
      Lender if necessary.

      Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

      PPP Loan Amount: Enter the disbursed principal amount of the PPP loan (the total loan amount you received from the Lender).

      PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
      received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized increase
      on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original disbursement of
      your PPP loan proceeds.

      Employees at Time of Loan Application: Enter the total number of employees at the time of the PPP loan application.

      Employees at Time of Forgiveness Application: Enter the total number of employees at the time the Borrower is applying for
      loan forgiveness.

      Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
      Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
      disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
      Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
      Sunday, June 14, 2020 and Sunday, October 4, 2020.

      If Borrower, Together with Affiliates, if Applicable, Received First Draw PPP Loans of $2 Million or More or Second
      Draw PPP Loans of $2 Million or More: Check the box if the Borrower, together with its affiliates (to the extent required
      under subsection D.3. of SBA’s interim final rule posted on January 6, 2021 (86 FR 3692) and not waived under 15 U.S.C.
      636(a)(36)(D)(iv)), received (a) First Draw PPP Loans with an original principal amount of $2 million or more (if this is a
      First Draw PPP Loan forgiveness application), or (b) Second Draw PPP Loans with an original principal amount of $2
      million or more (if this is a Second Draw PPP Loan forgiveness application).

      Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

      Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, add the following:

            Cash Compensation: The sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
            medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for
            dismissal or separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in
            determining the Employer Retention Credit. For each individual employee, the total amount of cash compensation eligible
            for forgiveness may not exceed an annual salary of $100,000, as prorated for the Covered Period. For example, for an 8-
            week Covered Period, the maximum is $15,385, for a 24-week Covered Period, the maximum is $46,154. You can only
            include compensation of employees who were employed by the Borrower at any point during the Covered Period and whose
            principal place of residence is in the United States.

            Employee Benefits: The total amount paid by the Borrower for:
               1. Employer contributions for employee group health, life, disability, vision, or dental insurance, including employer
                   contributions to a self-insured, employer-sponsored group health plan, but excluding any pre-tax or after-tax
                   contributions by employees. Do not add contributions for these benefits made on behalf of a self-employed
                   individual, general partners, or owner-employees of an S-corporation, because such payments are already included
                   in their compensation.
               2. Employer contributions to employee retirement plans, excluding any pre-tax or after-tax contributions by
                   employees. Do not add employer retirement contributions made on behalf of a self-employed individual or general
                   partners, because such payments are already included in their compensation.
               3. Employer state and local taxes paid by the borrower and assessed on employee compensation (e.g., state
                   unemployment insurance tax), excluding any taxes withheld from employee earnings.

            Owner Compensation: Any amounts paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
            employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
            (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
            compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower.

      Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
                                                                                                             USA-000528
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      mortgage obligation on real or personal property in force before February 15, 2020. Do not include prepayments.

      Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
      Period, pursuant to lease agreements in force before February 15, 2020.

      Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period for business utilities for which
      service began before February 15, 2020.

      Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

      Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

      Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
      purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
      shall have been in effect before or at any time during the Covered Period).

      Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

      NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

      Line 9: Add lines 1 through 8 enter the total.

      Line 10: Enter the PPP Loan Amount.

      Line 11: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
      forgiveness amount was used for payroll costs.

      Line 12: Enter the smallest of lines 9, 10, or 11.

      Summary of Costs Eligible for Forgiveness:

      Borrowers are eligible for loan forgiveness for the following costs:
       1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
           during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
           the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
           pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
           for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
           Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
           annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
           once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
           on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692).

        2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
                 (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
                 on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
                 interest payments”);                                                                                                        Yes
                 (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
                 force before February 15, 2020 (“business rent or lease payments”);
                 (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water,
                 telephone, transportation, or internet access for which service began before February 15, 2020 (“business utility
                 payments”);
                 (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
                 business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
                 resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
                 (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
                 that occurred during 2020 that were not covered by insurance or other compensation;
                 (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
                 operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
                 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
                 purchase order may have been in effect before or at any time during the Covered Period); and
                 (g) covered worker protection expenditures: operating or capital expenditures that facilitate the USA-000529
                                                                                                                    adaptation of the business
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                 activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
                 Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
                 equivalent requirements established or guidance issued by a State or local government, during the period starting March
                 1, 2020 and ending on the date on which the national emergency declared by the President with respect to the
                 Coronavirus Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any
                 other worker or customer safety requirement related to COVID-19, but does not include residential real property or
                 intangible property.

             Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost either must be paid
             during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date, even if
             the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

                Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application Form 3508EZ

    PPP Loan Forgiveness Calculation Form 3508EZ

    Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting
    of each of the following:
         a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
             to employees.
         b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered Period:
                  i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
                  ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                       or that will be reported, to the relevant state.
         c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
             employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
             forgiveness amount.
         d. If you checked only the second box on the checklist on page 1 of these instructions, the average number of full-time
             equivalent employees on payroll employed by the Borrower on January 1, 2020 and at the end of the Covered Period.

    Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for all
    categories, eligible payments from the Covered Period.
        a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
             eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
             Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
        b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
             payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
             one month after the end of the Covered Period verifying eligible payments.
        c. Business utility payments: Copy of invoices from February 2020 and those paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        d. Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        e. Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments, and documentation that the costs were related to
             property damage and vandalism or looting due to public disturbances that occurred during 2020 and such costs were not
             covered by insurance or other compensation.
        f. Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period (except
             for perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and receipts, cancelled
             checks, or account statements verifying those eligible payments.
        g. Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
             receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the expenditures
             were used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.

                              Documents that Each Borrower Must Maintain but is Not Required to Submit

    Documentation supporting the certification that annual salaries or hourly wages were not reduced by more than 25 percent during the
    Covered Period relative to the most recent full quarter before the Covered Period. This documentation must include payroll records
    that separately list each employee and show the amounts paid to each employee during the most recent full quarter before the
    Covered Period, and the amounts paid to each employee during the Covered Period.

    Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions inUSA-000530
                                                                                                                  hours, firings for cause,
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    voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period).

    Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the average
    paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that arose from an
    inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period). This documentation must include payroll records that separately list each employee and show the amounts paid
    to each employee between January 1, 2020 and the end of the Covered Period.

    Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020 and the
    end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with requirements
    established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020,
    requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by the Secretary of Health and
    Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
    Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or customer safety
    requirement related to COVID-19. This documentation must include copies of the applicable requirements for each borrower location
    and relevant borrower financial records.

    All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
    supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
    Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
    Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
    requirements.

    Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan is
    forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector General,
    to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant Federal,
    State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




                                                                                                              USA-000531
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                                                                      X


                                                                           Mayfield Health and           2019-10-01
                                                                           Rehabilitation




                                                                           623110-Nursing Care
      MAYFIELD KY OPCO LLC                                                 Facilities (Skilled
                                                                           Nursing Facilities)
                                                                                                     X

      401 INDIANA AVE                                                                                718-551-8491
      MAYFIELD
      KY               42066                                               Marc Elias                marc@theportopiccologroup.com


                            133551.00                                      333877.40                            49



                            X                       X                         X                          X




     Simcha Hyman                         Manage                 50
     Naftali Zanziper                     Manager                50




    Simcha Hyman                                                 Manager



                            Non-Veteran


                            Male

                            White


                            Not Hispanic or Latino




                                                                                                       USA-000532
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                                                                                                       No



                                                                                                       No



                                                                                                        Yes


                                                                                                       No


                                                                                                       No




                                                                                                       No



                                                                                                       Yes
                                                                                                       No
                                                                                                       No




                                                                                          USA-000533
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                                                                           3/26/2021


                   Simcha Hyman




                                                                                          USA-000535
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                           Business Legal Name (“Borrower”)                                      DBA or Tradename, if applicable
    MAYFIELD KY OPCO LLC
                            Business Address                           NAICS Code      Business TIN (EIN, SSN)               Business Phone
                                                                   623110-Nurs                                     718 551-8491
    401 INDIANA AVE
                                                                   ing Care                                         (    )        -
     MAYFIELD, KY, 42066, US                                       Facilities        Primary Contact                         E-mail Address
                                                                   (Skilled    Simcha Hyman                        ishulman@axgsolutions.com
                                                                   Nursing
    X First Draw PPP Loan ☐ Second Draw PPP Loan (check one)
    ☐                                                              Facilities)

                                                                                                    ACBS0001347316
                                1635078706
    SBA PPP Loan Number: ________________________                 Lender PPP Loan Number: __________________________
                                                                                                       2021-04-12
    PPP Loan Amount: _____________________________
                     333877.40                                    PPP Loan Disbursement Date: ________________________
                                                 49                                                                           0
    Employees at Time of Loan Application: ___________            Employees at Time of Forgiveness Application: __________
                        2021-04-12                        2021-09-26
    Covered Period: ________________________ to ________________________

    If Borrower (Together with Affiliates, if Applicable) Received First Draw PPP Loans of $2 million or More or Second Draw
    PPP Loans of $2 Million or More, check here: ☐  X


    Forgiveness Amount Calculation:

    Payroll and Nonpayroll Costs                                                                          409444.97
    Line 1. Payroll Costs:                                                                               _____________________

                                                                                                          133550.96
    Line 2. Business Mortgage Interest Payments:                                                         _____________________

                                                                                                          0
    Line 3. Business Rent or Lease Payments:                                                             _____________________
                                                                                                          0
    Line 4. Business Utility Payments:                                                                   _____________________

                                                                                                          .00
    Line 5. Covered Operations Expenditures:                                                             _____________________
                                                                                                         .00

    Line 6. Covered Property Damage Costs:                                                               _____________________
                                                                                                         .00

    Line 7. Covered Supplier Costs:                                                                      _____________________
                                                                                                        .00
    Line 8. Covered Worker Protection Expenditures:                                                      _____________________

    Potential Forgiveness Amounts                                                                        542995.93
    Line 9. Sum the amounts on lines 1 through 8:                                                        _____________________
                                                                                                        333877.40
    Line 10. PPP Loan Amount:                                                                            _____________________
                                                                                                          682408.28
    Line 11.   Payroll Cost 60% Requirement (divide Line 1 by 0.60):                                     _____________________

    Forgiveness Amount                                                                                    333877.40

    Line 12. Forgiveness Amount (enter the smallest of Lines 9, 10, and 11):                             _____________________




                                                                                                                USA-000539
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     By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
     The Authorized Representative of the Borrower certifies to all of the below by initialing next to each one.
     _____     The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
                    • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage
                         interest payments; business rent or lease payments; business utility payments; covered operations expenditures;
                         covered property damage costs; covered supplier costs; or covered worker protection expenditures);
                    • includes payroll costs equal to at least 60% of the forgiveness amount; and
                    • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner, does
                         not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan amount,
                         capped at $20,833 per individual in total across all businesses.
     _____     I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
               of loan amounts and/or civil or criminal fraud charges.
     _____     The Borrower did not reduce salaries or hourly wages of any employee by more than 25 percent for any employee during the
               Covered Period compared to the most recent quarter before the Covered Period. For purposes of this certification, the term
               “employee” includes only those employees that did not receive, during any single period during 2019, wages or salary at an
               annualized rate of pay in an amount more than $100,000.
     _____     The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
               requesting forgiveness.
     _____     I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
               (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease payments,
               business utility payments, covered operations expenditures, covered property damage costs, covered supplier costs, and
               covered worker protection expenditures.
     ______ If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts on
               eligible expenses prior to disbursement of the Second Draw PPP Loan.
     _____     The information provided in this application and the information provided in all supporting documents and forms is true and
               correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an SBA-
               guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years
               and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more
               than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not more than
               thirty years and/or a fine of not more than $1,000,000.
     _____     The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has submitted
               or will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the
               Lender can share the tax information with SBA’s authorized representatives, including authorized representatives of
               the SBA Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA
               reviews.
     _____     I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
               Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
               requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
               Borrower’s loan forgiveness application.
    In addition, the Authorized Representative of the Borrower must certify by initialing at least ONE of the following two items:
    _____      The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020 and
               the end of the Covered Period (other than any reductions that arose from an inability to rehire individuals who were
               employees on February 15, 2020, if the Borrower was unable to hire similarly qualified employees for unfilled positions on
               or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, before the last day of the Covered Period),
               and reductions in an employee’s hours that a borrower offered to restore and were refused).
     _____     The Borrower was unable to operate between February 15, 2020, and the end of the Covered Period at the same level of
               business activity as before February 15, 2020 due to compliance with requirements established or guidance issued between
               March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or
               guidance issued before the last day of the Covered Period), by the Secretary of Health and Human Services, the Director of
               the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
               maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
               COVID-19.
    The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
    through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
    determines that the Borrower was ineligible for the PPP loan.
                                                                                                               USA-000540
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                                                                                           8/2/2022
    _____________________________________________________                          ____________________________
    Signature of Authorized Representative of Borrower                             Date
                                                                                           Authorized Representative
    _____________________________________________________
       Simcha Hyman                                                                ____________________________
    Print Name                                                                     Title




                                                                                                  USA-000541
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                         PPP LOAN FORGIVENESS APPLICATION FORM 3508EZ INSTRUCTIONS FOR BORROWERS

                                                   Checklist for Using SBA Form 3508EZ

      You (the Borrower) can apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) Loan using this
      SBA Form 3508EZ if your PPP loan amount is more than $150,000 and you can check at least one of the two boxes below. If
      your loan amount is $150,000 or less, please use SBA Form 3508S. Do not submit this Checklist with your SBA Form 3508EZ.
      Each PPP loan must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness of both a
      First Draw PPP Loan and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must submit a loan
      forgiveness application for your First Draw PPP Loan before or simultaneously with the loan forgiveness application for your
      Second Draw PPP Loan, even if the calculated amount of forgiveness on your First Draw PPP Loan is zero.

          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000.);
                                                                       AND
            The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020
            and the end of the Covered Period.
                        • Ignore reductions that arose from an inability to rehire individuals who were employees on February 15,
                             2020 if the Borrower was unable to hire similarly qualified employees for unfilled positions on or before
                             December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of the Covered
                             Period).
                        • Also ignore reductions in an employee’s hours that the Borrower offered to restore and the employee
                             refused. See 85 FR 33004, 33007 (June 1, 2020) for more details.
                      -----------------------------------------------------------------------------------------------------------------
          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000,);
                                                                       AND
               The Borrower was unable to operate during the Covered Period at the same level of business activity as before February
               15, 2020, due to compliance with requirements established or guidance issued between March 1, 2020 and December 31,
               2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance issued between March 1,
               2020 and the last day of the Covered Period) by the Secretary of Health and Human Services, the Director of the Centers
               for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the maintenance of
               standards of sanitation, social distancing, or any other work or customer safety requirement related to COVID-19.

      If you can check at least one of the two boxes above, complete this SBA Form 3508EZ in accordance with the instructions below,
      and submit it to your Lender (or the Lender that is servicing your loan). Borrowers may also complete this application
      electronically through their Lender. If your loan is for more than $150,000 and you are unable to check one of the boxes above,
      you cannot use SBA Form 3508EZ and instead you must apply for forgiveness of your PPP loan using SBA Form 3508.

      If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is
      required to submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the Lender not
      later than 30 days after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on
      January 6, 2021 (86 FR 3692).

                                    Instructions for PPP Loan Forgiveness Calculation Form 3508EZ

      Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN): Enter the same information
      as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, or lender’s equivalent).

      Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
      Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
      Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.

      First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
      for. If you only have one PPP loan, select First Draw PPP Loan.                                    USA-000542
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                                                                                                                                                       No Yes
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      SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
      Lender if necessary.

      Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

      PPP Loan Amount: Enter the disbursed principal amount of the PPP loan (the total loan amount you received from the Lender).

      PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
      received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized increase
      on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original disbursement of
      your PPP loan proceeds.

      Employees at Time of Loan Application: Enter the total number of employees at the time of the PPP loan application.

      Employees at Time of Forgiveness Application: Enter the total number of employees at the time the Borrower is applying for
      loan forgiveness.

      Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
      Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
      disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
      Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
      Sunday, June 14, 2020 and Sunday, October 4, 2020.

      If Borrower, Together with Affiliates, if Applicable, Received First Draw PPP Loans of $2 Million or More or Second
      Draw PPP Loans of $2 Million or More: Check the box if the Borrower, together with its affiliates (to the extent required
      under subsection D.3. of SBA’s interim final rule posted on January 6, 2021 (86 FR 3692) and not waived under 15 U.S.C.
      636(a)(36)(D)(iv)), received (a) First Draw PPP Loans with an original principal amount of $2 million or more (if this is a
      First Draw PPP Loan forgiveness application), or (b) Second Draw PPP Loans with an original principal amount of $2
      million or more (if this is a Second Draw PPP Loan forgiveness application).

      Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

      Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, add the following:

            Cash Compensation: The sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
            medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for
            dismissal or separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in
            determining the Employer Retention Credit. For each individual employee, the total amount of cash compensation eligible
            for forgiveness may not exceed an annual salary of $100,000, as prorated for the Covered Period. For example, for an 8-
            week Covered Period, the maximum is $15,385, for a 24-week Covered Period, the maximum is $46,154. You can only
            include compensation of employees who were employed by the Borrower at any point during the Covered Period and whose
            principal place of residence is in the United States.

            Employee Benefits: The total amount paid by the Borrower for:
               1. Employer contributions for employee group health, life, disability, vision, or dental insurance, including employer
                   contributions to a self-insured, employer-sponsored group health plan, but excluding any pre-tax or after-tax
                   contributions by employees. Do not add contributions for these benefits made on behalf of a self-employed
                   individual, general partners, or owner-employees of an S-corporation, because such payments are already included
                   in their compensation.
               2. Employer contributions to employee retirement plans, excluding any pre-tax or after-tax contributions by
                   employees. Do not add employer retirement contributions made on behalf of a self-employed individual or general
                   partners, because such payments are already included in their compensation.
               3. Employer state and local taxes paid by the borrower and assessed on employee compensation (e.g., state
                   unemployment insurance tax), excluding any taxes withheld from employee earnings.

            Owner Compensation: Any amounts paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
            employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
            (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
            compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower.

      Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
                                                                                                             USA-000543
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      mortgage obligation on real or personal property in force before February 15, 2020. Do not include prepayments.

      Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
      Period, pursuant to lease agreements in force before February 15, 2020.

      Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period for business utilities for which
      service began before February 15, 2020.

      Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

      Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

      Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
      purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
      shall have been in effect before or at any time during the Covered Period).

      Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

      NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

      Line 9: Add lines 1 through 8 enter the total.

      Line 10: Enter the PPP Loan Amount.

      Line 11: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
      forgiveness amount was used for payroll costs.

      Line 12: Enter the smallest of lines 9, 10, or 11.

      Summary of Costs Eligible for Forgiveness:

      Borrowers are eligible for loan forgiveness for the following costs:
       1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
           during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
           the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
           pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
           for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
           Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
           annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
           once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
           on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692).

        2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
                 (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
                 on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
                 interest payments”);                                                                                                        Yes
                 (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
                 force before February 15, 2020 (“business rent or lease payments”);
                 (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water,
                 telephone, transportation, or internet access for which service began before February 15, 2020 (“business utility
                 payments”);
                 (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
                 business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
                 resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
                 (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
                 that occurred during 2020 that were not covered by insurance or other compensation;
                 (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
                 operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
                 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
                 purchase order may have been in effect before or at any time during the Covered Period); and
                 (g) covered worker protection expenditures: operating or capital expenditures that facilitate the USA-000544
                                                                                                                    adaptation of the business
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                 activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
                 Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
                 equivalent requirements established or guidance issued by a State or local government, during the period starting March
                 1, 2020 and ending on the date on which the national emergency declared by the President with respect to the
                 Coronavirus Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any
                 other worker or customer safety requirement related to COVID-19, but does not include residential real property or
                 intangible property.

             Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost either must be paid
             during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date, even if
             the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

                Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application Form 3508EZ

    PPP Loan Forgiveness Calculation Form 3508EZ

    Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting
    of each of the following:
         a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
             to employees.
         b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered Period:
                  i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
                  ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                       or that will be reported, to the relevant state.
         c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
             employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
             forgiveness amount.
         d. If you checked only the second box on the checklist on page 1 of these instructions, the average number of full-time
             equivalent employees on payroll employed by the Borrower on January 1, 2020 and at the end of the Covered Period.

    Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for all
    categories, eligible payments from the Covered Period.
        a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
             eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
             Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
        b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
             payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
             one month after the end of the Covered Period verifying eligible payments.
        c. Business utility payments: Copy of invoices from February 2020 and those paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        d. Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        e. Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments, and documentation that the costs were related to
             property damage and vandalism or looting due to public disturbances that occurred during 2020 and such costs were not
             covered by insurance or other compensation.
        f. Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period (except
             for perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and receipts, cancelled
             checks, or account statements verifying those eligible payments.
        g. Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
             receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the expenditures
             were used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.

                              Documents that Each Borrower Must Maintain but is Not Required to Submit

    Documentation supporting the certification that annual salaries or hourly wages were not reduced by more than 25 percent during the
    Covered Period relative to the most recent full quarter before the Covered Period. This documentation must include payroll records
    that separately list each employee and show the amounts paid to each employee during the most recent full quarter before the
    Covered Period, and the amounts paid to each employee during the Covered Period.

    Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions inUSA-000545
                                                                                                                  hours, firings for cause,
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    voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period).

    Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the average
    paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that arose from an
    inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period). This documentation must include payroll records that separately list each employee and show the amounts paid
    to each employee between January 1, 2020 and the end of the Covered Period.

    Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020 and the
    end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with requirements
    established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020,
    requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by the Secretary of Health and
    Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
    Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or customer safety
    requirement related to COVID-19. This documentation must include copies of the applicable requirements for each borrower location
    and relevant borrower financial records.

    All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
    supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
    Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
    Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
    requirements.

    Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan is
    forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector General,
    to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant Federal,
    State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




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                                                                    X


                                                                         Mt. Pleasant Health and           2019-12-01
                                                                         Rehabilitation




                                                                         623110-Nursing Care
      MOUNT PLEASANT TN OPCO LLC                                         Facilities (Skilled
                                                                         Nursing Facilities)
                                                                                                       X

      904 HIDDEN ACRES DR                                                                              718-551-8491
      MOUNT PLEASANT
      TN                38474                                            Marc Elias                    marc@theportopiccologroup.com


                             140254.42                                   350636.04                                46



                             X                    X                         X                              X




     Simcha Hyman                          Manager             50
     Naftali Zanziper                      Manager             50




    Simcha Hyman                                               Manager



                             Non-Veteran


                             Male

                             White


                            Not Hispanic or Latino




                                                                                                         USA-000547
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                                                                                                        No



                                                                                                        No



                                                                                                         Yes


                                                                                                        No


                                                                                                        No




                                                                                                        No



                                                                                                        Yes
                                                                                                        No
                                                                                                        No




                                                                                           USA-000548
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                                                                            3/26/2021


                   Simcha Hyman




                                                                                           USA-000550
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                                                                                           USA-000553
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                           Business Legal Name (“Borrower”)                                      DBA or Tradename, if applicable
     MOUNT PLEASANT TN OPCO LLC
                            Business Address                           NAICS Code      Business TIN (EIN, SSN)               Business Phone
                                                                   623110-Nurs                                     718 551-8491
     904 HIDDEN ACRES DR
                                                                   ing Care                                         (    )         -
     MOUNT PLEASANT, TN, 38474, US                                 Facilities        Primary Contact                         E-mail Address
                                                                   (Skilled    Simcha Hyman                        ishulman@axgsolutions.com
                                                                   Nursing
    X First Draw PPP Loan ☐ Second Draw PPP Loan (check one)
    ☐                                                              Facilities)

                                                                                                    ACBS0001347295
                                1703648703
    SBA PPP Loan Number: ________________________                 Lender PPP Loan Number: __________________________
                                                                                                       2021-04-12
    PPP Loan Amount: _____________________________
                     350636.04                                    PPP Loan Disbursement Date: ________________________
                                                 46                                                                           40
    Employees at Time of Loan Application: ___________            Employees at Time of Forgiveness Application: __________
                        2021-04-12                        2021-09-26
    Covered Period: ________________________ to ________________________

    If Borrower (Together with Affiliates, if Applicable) Received First Draw PPP Loans of $2 million or More or Second Draw
    PPP Loans of $2 Million or More, check here: ☐  X


    Forgiveness Amount Calculation:

    Payroll and Nonpayroll Costs                                                                          435733.48
    Line 1. Payroll Costs:                                                                               _____________________

                                                                                                          140254.42
    Line 2. Business Mortgage Interest Payments:                                                         _____________________

                                                                                                          0
    Line 3. Business Rent or Lease Payments:                                                             _____________________
                                                                                                          0
    Line 4. Business Utility Payments:                                                                   _____________________

                                                                                                          .00
    Line 5. Covered Operations Expenditures:                                                             _____________________
                                                                                                         .00

    Line 6. Covered Property Damage Costs:                                                               _____________________
                                                                                                         .00

    Line 7. Covered Supplier Costs:                                                                      _____________________
                                                                                                        .00
    Line 8. Covered Worker Protection Expenditures:                                                      _____________________

    Potential Forgiveness Amounts                                                                        575987.90
    Line 9. Sum the amounts on lines 1 through 8:                                                        _____________________
                                                                                                        350636.04
    Line 10. PPP Loan Amount:                                                                            _____________________
                                                                                                          726222.47
    Line 11.   Payroll Cost 60% Requirement (divide Line 1 by 0.60):                                     _____________________

    Forgiveness Amount                                                                                    350636.04

    Line 12. Forgiveness Amount (enter the smallest of Lines 9, 10, and 11):                             _____________________




                                                                                                                USA-000554
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     By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
     The Authorized Representative of the Borrower certifies to all of the below by initialing next to each one.
     _____     The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
                    • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage
                         interest payments; business rent or lease payments; business utility payments; covered operations expenditures;
                         covered property damage costs; covered supplier costs; or covered worker protection expenditures);
                    • includes payroll costs equal to at least 60% of the forgiveness amount; and
                    • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner, does
                         not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan amount,
                         capped at $20,833 per individual in total across all businesses.
     _____     I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
               of loan amounts and/or civil or criminal fraud charges.
     _____     The Borrower did not reduce salaries or hourly wages of any employee by more than 25 percent for any employee during the
               Covered Period compared to the most recent quarter before the Covered Period. For purposes of this certification, the term
               “employee” includes only those employees that did not receive, during any single period during 2019, wages or salary at an
               annualized rate of pay in an amount more than $100,000.
     _____     The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
               requesting forgiveness.
     _____     I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
               (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease payments,
               business utility payments, covered operations expenditures, covered property damage costs, covered supplier costs, and
               covered worker protection expenditures.
     ______ If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts on
               eligible expenses prior to disbursement of the Second Draw PPP Loan.
     _____     The information provided in this application and the information provided in all supporting documents and forms is true and
               correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an SBA-
               guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years
               and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more
               than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not more than
               thirty years and/or a fine of not more than $1,000,000.
     _____     The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has submitted
               or will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the
               Lender can share the tax information with SBA’s authorized representatives, including authorized representatives of
               the SBA Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA
               reviews.
     _____     I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
               Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
               requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
               Borrower’s loan forgiveness application.
    In addition, the Authorized Representative of the Borrower must certify by initialing at least ONE of the following two items:
    _____      The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020 and
               the end of the Covered Period (other than any reductions that arose from an inability to rehire individuals who were
               employees on February 15, 2020, if the Borrower was unable to hire similarly qualified employees for unfilled positions on
               or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, before the last day of the Covered Period),
               and reductions in an employee’s hours that a borrower offered to restore and were refused).
     _____     The Borrower was unable to operate between February 15, 2020, and the end of the Covered Period at the same level of
               business activity as before February 15, 2020 due to compliance with requirements established or guidance issued between
               March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or
               guidance issued before the last day of the Covered Period), by the Secretary of Health and Human Services, the Director of
               the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
               maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
               COVID-19.
    The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
    through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
    determines that the Borrower was ineligible for the PPP loan.
                                                                                                               USA-000555
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                                                                                           8/5/2022
    _____________________________________________________                          ____________________________
    Signature of Authorized Representative of Borrower                             Date
                                                                                           Authorized Representative
    _____________________________________________________
       Simcha Hyman                                                                ____________________________
    Print Name                                                                     Title




                                                                                                  USA-000556
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                         PPP LOAN FORGIVENESS APPLICATION FORM 3508EZ INSTRUCTIONS FOR BORROWERS

                                                   Checklist for Using SBA Form 3508EZ

      You (the Borrower) can apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) Loan using this
      SBA Form 3508EZ if your PPP loan amount is more than $150,000 and you can check at least one of the two boxes below. If
      your loan amount is $150,000 or less, please use SBA Form 3508S. Do not submit this Checklist with your SBA Form 3508EZ.
      Each PPP loan must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness of both a
      First Draw PPP Loan and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must submit a loan
      forgiveness application for your First Draw PPP Loan before or simultaneously with the loan forgiveness application for your
      Second Draw PPP Loan, even if the calculated amount of forgiveness on your First Draw PPP Loan is zero.

          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000.);
                                                                       AND
            The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020
            and the end of the Covered Period.
                        • Ignore reductions that arose from an inability to rehire individuals who were employees on February 15,
                             2020 if the Borrower was unable to hire similarly qualified employees for unfilled positions on or before
                             December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of the Covered
                             Period).
                        • Also ignore reductions in an employee’s hours that the Borrower offered to restore and the employee
                             refused. See 85 FR 33004, 33007 (June 1, 2020) for more details.
                      -----------------------------------------------------------------------------------------------------------------
          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000,);
                                                                       AND
               The Borrower was unable to operate during the Covered Period at the same level of business activity as before February
               15, 2020, due to compliance with requirements established or guidance issued between March 1, 2020 and December 31,
               2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance issued between March 1,
               2020 and the last day of the Covered Period) by the Secretary of Health and Human Services, the Director of the Centers
               for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the maintenance of
               standards of sanitation, social distancing, or any other work or customer safety requirement related to COVID-19.

      If you can check at least one of the two boxes above, complete this SBA Form 3508EZ in accordance with the instructions below,
      and submit it to your Lender (or the Lender that is servicing your loan). Borrowers may also complete this application
      electronically through their Lender. If your loan is for more than $150,000 and you are unable to check one of the boxes above,
      you cannot use SBA Form 3508EZ and instead you must apply for forgiveness of your PPP loan using SBA Form 3508.

      If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is
      required to submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the Lender not
      later than 30 days after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on
      January 6, 2021 (86 FR 3692).

                                    Instructions for PPP Loan Forgiveness Calculation Form 3508EZ

      Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN): Enter the same information
      as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, or lender’s equivalent).

      Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
      Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
      Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.

      First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
      for. If you only have one PPP loan, select First Draw PPP Loan.                                    USA-000557
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                                                                                                                                                       No Yes
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      SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
      Lender if necessary.

      Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

      PPP Loan Amount: Enter the disbursed principal amount of the PPP loan (the total loan amount you received from the Lender).

      PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
      received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized increase
      on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original disbursement of
      your PPP loan proceeds.

      Employees at Time of Loan Application: Enter the total number of employees at the time of the PPP loan application.

      Employees at Time of Forgiveness Application: Enter the total number of employees at the time the Borrower is applying for
      loan forgiveness.

      Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
      Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
      disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
      Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
      Sunday, June 14, 2020 and Sunday, October 4, 2020.

      If Borrower, Together with Affiliates, if Applicable, Received First Draw PPP Loans of $2 Million or More or Second
      Draw PPP Loans of $2 Million or More: Check the box if the Borrower, together with its affiliates (to the extent required
      under subsection D.3. of SBA’s interim final rule posted on January 6, 2021 (86 FR 3692) and not waived under 15 U.S.C.
      636(a)(36)(D)(iv)), received (a) First Draw PPP Loans with an original principal amount of $2 million or more (if this is a
      First Draw PPP Loan forgiveness application), or (b) Second Draw PPP Loans with an original principal amount of $2
      million or more (if this is a Second Draw PPP Loan forgiveness application).

      Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

      Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, add the following:

             Cash Compensation: The sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
             medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for
             dismissal or separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in
             determining the Employer Retention Credit. For each individual employee, the total amount of cash compensation eligible
             for forgiveness may not exceed an annual salary of $100,000, as prorated for the Covered Period. For example, for an 8-
             week Covered Period, the maximum is $15,385, for a 24-week Covered Period, the maximum is $46,154. You can only
             include compensation of employees who were employed by the Borrower at any point during the Covered Period and whose
             principal place of residence is in the United States.

             Employee Benefits: The total amount paid by the Borrower for:
                1. Employer contributions for employee group health, life, disability, vision, or dental insurance, including employer
                    contributions to a self-insured, employer-sponsored group health plan, but excluding any pre-tax or after-tax
                    contributions by employees. Do not add contributions for these benefits made on behalf of a self-employed
                    individual, general partners, or owner-employees of an S-corporation, because such payments are already included
                    in their compensation.
                2. Employer contributions to employee retirement plans, excluding any pre-tax or after-tax contributions by
                    employees. Do not add employer retirement contributions made on behalf of a self-employed individual or general
                    partners, because such payments are already included in their compensation.
                3. Employer state and local taxes paid by the borrower and assessed on employee compensation (e.g., state
                    unemployment insurance tax), excluding any taxes withheld from employee earnings.

             Owner Compensation: Any amounts paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
             employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
             (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
             compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower.

      Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
                                                                                                             USA-000558
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      mortgage obligation on real or personal property in force before February 15, 2020. Do not include prepayments.

      Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
      Period, pursuant to lease agreements in force before February 15, 2020.

      Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period for business utilities for which
      service began before February 15, 2020.

      Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

      Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

      Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
      purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
      shall have been in effect before or at any time during the Covered Period).

      Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

      NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

      Line 9: Add lines 1 through 8 enter the total.

      Line 10: Enter the PPP Loan Amount.

      Line 11: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
      forgiveness amount was used for payroll costs.

      Line 12: Enter the smallest of lines 9, 10, or 11.

      Summary of Costs Eligible for Forgiveness:

      Borrowers are eligible for loan forgiveness for the following costs:
       1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
           during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
           the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
           pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
           for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
           Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
           annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
           once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
           on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692).

        2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
                 (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
                 on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
                 interest payments”);                                                                                                        Yes
                 (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
                 force before February 15, 2020 (“business rent or lease payments”);
                 (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water,
                 telephone, transportation, or internet access for which service began before February 15, 2020 (“business utility
                 payments”);
                 (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
                 business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
                 resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
                 (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
                 that occurred during 2020 that were not covered by insurance or other compensation;
                 (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
                 operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
                 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
                 purchase order may have been in effect before or at any time during the Covered Period); and
                 (g) covered worker protection expenditures: operating or capital expenditures that facilitate the USA-000559
                                                                                                                    adaptation of the business
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                 activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
                 Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
                 equivalent requirements established or guidance issued by a State or local government, during the period starting March
                 1, 2020 and ending on the date on which the national emergency declared by the President with respect to the
                 Coronavirus Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any
                 other worker or customer safety requirement related to COVID-19, but does not include residential real property or
                 intangible property.

             Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost either must be paid
             during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date, even if
             the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

                Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application Form 3508EZ

    PPP Loan Forgiveness Calculation Form 3508EZ

    Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting
    of each of the following:
         a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
             to employees.
         b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered Period:
                  i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
                  ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                       or that will be reported, to the relevant state.
         c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
             employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
             forgiveness amount.
         d. If you checked only the second box on the checklist on page 1 of these instructions, the average number of full-time
             equivalent employees on payroll employed by the Borrower on January 1, 2020 and at the end of the Covered Period.

    Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for all
    categories, eligible payments from the Covered Period.
        a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
             eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
             Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
        b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
             payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
             one month after the end of the Covered Period verifying eligible payments.
        c. Business utility payments: Copy of invoices from February 2020 and those paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        d. Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        e. Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments, and documentation that the costs were related to
             property damage and vandalism or looting due to public disturbances that occurred during 2020 and such costs were not
             covered by insurance or other compensation.
        f. Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period (except
             for perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and receipts, cancelled
             checks, or account statements verifying those eligible payments.
        g. Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
             receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the expenditures
             were used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.

                              Documents that Each Borrower Must Maintain but is Not Required to Submit

    Documentation supporting the certification that annual salaries or hourly wages were not reduced by more than 25 percent during the
    Covered Period relative to the most recent full quarter before the Covered Period. This documentation must include payroll records
    that separately list each employee and show the amounts paid to each employee during the most recent full quarter before the
    Covered Period, and the amounts paid to each employee during the Covered Period.

    Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions inUSA-000560
                                                                                                                  hours, firings for cause,
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    voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period).

    Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the average
    paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that arose from an
    inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period). This documentation must include payroll records that separately list each employee and show the amounts paid
    to each employee between January 1, 2020 and the end of the Covered Period.

    Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020 and the
    end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with requirements
    established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020,
    requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by the Secretary of Health and
    Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
    Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or customer safety
    requirement related to COVID-19. This documentation must include copies of the applicable requirements for each borrower location
    and relevant borrower financial records.

    All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
    supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
    Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
    Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
    requirements.

    Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan is
    forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector General,
    to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant Federal,
    State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




                                                                                                              USA-000561
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                                                                     X


                                                                          Stonecreek Health and           2018-04-01
                                                                          Rehabilitation




                                                                          623110-Nursing Care
      PADUCAH CENTER FOR HEALTH AND REHABILITATION LLC                    Facilities (Skilled
                                                                          Nursing Facilities)
                                                                                                      X

      4747 ALBEN BARKLEY DR                                                                           718-551-8491
      PADUCAH
      KY                42001                                             Marc Elias                  marc@theportopiccologroup.com


                             170900.38                                    427250.95                              68



                             X                     X                         X                            X




     Simcha Hyman                          Manager              50
     Naftali Zanziper                      Manager              50




    Simcha Hyman                                                Manager



                             Non-Veteran


                             Male

                             White


                            Not Hispanic or Latino




                                                                                                        USA-000562
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                                                                                                         No



                                                                                                         No



                                                                                                          Yes


                                                                                                         No


                                                                                                         No




                                                                                                         No



                                                                                                         Yes
                                                                                                         No
                                                                                                         No




                                                                                            USA-000563
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                                                                             3/26/2021


                   Simcha Hyman




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                                                                                                                         OMB Control No.: 3245-0407
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                            Business Legal Name (“Borrower”)                                      DBA or Tradename, if applicable
    PADUCAH CENTER FOR HEALTH AND
                              Business Address                          NAICS Code      Business TIN (EIN, SSN)               Business Phone
                                                                    623110-Nurs                                     718 551-8491
    4747 ALBEN BARKLEY DR
                                                                    ing Care                                         (    )         -
     PADUCAH, KY, 42001, US                                         Facilities        Primary Contact                         E-mail Address
                                                                    (Skilled    Simcha Hyman                        ishulman@axgsolutions.com
                                                                    Nursing
    X First Draw PPP Loan ☐ Second Draw PPP Loan (check one)
    ☐                                                               Facilities)

                                                                                                     ACBS0001347263
                                 1299808700
    SBA PPP Loan Number: ________________________                  Lender PPP Loan Number: __________________________
                                                                                                        2021-04-12
    PPP Loan Amount: _____________________________
                     427250.95                                     PPP Loan Disbursement Date: ________________________
                                                  68                                                                           98
    Employees at Time of Loan Application: ___________             Employees at Time of Forgiveness Application: __________
                        2021-04-12                         2021-09-26
    Covered Period: ________________________ to ________________________

    If Borrower (Together with Affiliates, if Applicable) Received First Draw PPP Loans of $2 million or More or Second Draw
    PPP Loans of $2 Million or More, check here: ☐  X


    Forgiveness Amount Calculation:

    Payroll and Nonpayroll Costs                                                                           474178.03
    Line 1. Payroll Costs:                                                                                _____________________

                                                                                                           105808.95
    Line 2. Business Mortgage Interest Payments:                                                          _____________________

                                                                                                           0
    Line 3. Business Rent or Lease Payments:                                                              _____________________
                                                                                                           0
    Line 4. Business Utility Payments:                                                                    _____________________

                                                                                                           .00
    Line 5. Covered Operations Expenditures:                                                              _____________________
                                                                                                          .00

    Line 6. Covered Property Damage Costs:                                                                _____________________
                                                                                                          .00

    Line 7. Covered Supplier Costs:                                                                       _____________________
                                                                                                         .00
    Line 8. Covered Worker Protection Expenditures:                                                       _____________________

    Potential Forgiveness Amounts                                                                         579986.98
    Line 9. Sum the amounts on lines 1 through 8:                                                         _____________________
                                                                                                         427250.95
    Line 10. PPP Loan Amount:                                                                             _____________________
                                                                                                           790296.72
    Line 11.   Payroll Cost 60% Requirement (divide Line 1 by 0.60):                                      _____________________

    Forgiveness Amount                                                                                     427250.95

    Line 12. Forgiveness Amount (enter the smallest of Lines 9, 10, and 11):                              _____________________




                                                                                                                 USA-000569
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     By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
     The Authorized Representative of the Borrower certifies to all of the below by initialing next to each one.
     _____     The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
                    • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage
                         interest payments; business rent or lease payments; business utility payments; covered operations expenditures;
                         covered property damage costs; covered supplier costs; or covered worker protection expenditures);
                    • includes payroll costs equal to at least 60% of the forgiveness amount; and
                    • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner, does
                         not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan amount,
                         capped at $20,833 per individual in total across all businesses.
     _____     I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
               of loan amounts and/or civil or criminal fraud charges.
     _____     The Borrower did not reduce salaries or hourly wages of any employee by more than 25 percent for any employee during the
               Covered Period compared to the most recent quarter before the Covered Period. For purposes of this certification, the term
               “employee” includes only those employees that did not receive, during any single period during 2019, wages or salary at an
               annualized rate of pay in an amount more than $100,000.
     _____     The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
               requesting forgiveness.
     _____     I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
               (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease payments,
               business utility payments, covered operations expenditures, covered property damage costs, covered supplier costs, and
               covered worker protection expenditures.
     ______ If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts on
               eligible expenses prior to disbursement of the Second Draw PPP Loan.
     _____     The information provided in this application and the information provided in all supporting documents and forms is true and
               correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an SBA-
               guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years
               and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more
               than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not more than
               thirty years and/or a fine of not more than $1,000,000.
     _____     The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has submitted
               or will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the
               Lender can share the tax information with SBA’s authorized representatives, including authorized representatives of
               the SBA Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA
               reviews.
     _____     I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
               Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
               requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
               Borrower’s loan forgiveness application.
    In addition, the Authorized Representative of the Borrower must certify by initialing at least ONE of the following two items:
    _____      The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020 and
               the end of the Covered Period (other than any reductions that arose from an inability to rehire individuals who were
               employees on February 15, 2020, if the Borrower was unable to hire similarly qualified employees for unfilled positions on
               or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, before the last day of the Covered Period),
               and reductions in an employee’s hours that a borrower offered to restore and were refused).
     _____     The Borrower was unable to operate between February 15, 2020, and the end of the Covered Period at the same level of
               business activity as before February 15, 2020 due to compliance with requirements established or guidance issued between
               March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or
               guidance issued before the last day of the Covered Period), by the Secretary of Health and Human Services, the Director of
               the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
               maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
               COVID-19.
    The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
    through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
    determines that the Borrower was ineligible for the PPP loan.
                                                                                                               USA-000570
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                                                                                          8/2/2022
    _____________________________________________________                         ____________________________
    Signature of Authorized Representative of Borrower                            Date
                                                                                          Authorized Representative
    _____________________________________________________
       Simcha Hyman                                                               ____________________________
    Print Name                                                                    Title




                                                                                                 USA-000571
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                         PPP LOAN FORGIVENESS APPLICATION FORM 3508EZ INSTRUCTIONS FOR BORROWERS

                                                   Checklist for Using SBA Form 3508EZ

      You (the Borrower) can apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) Loan using this
      SBA Form 3508EZ if your PPP loan amount is more than $150,000 and you can check at least one of the two boxes below. If
      your loan amount is $150,000 or less, please use SBA Form 3508S. Do not submit this Checklist with your SBA Form 3508EZ.
      Each PPP loan must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness of both a
      First Draw PPP Loan and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must submit a loan
      forgiveness application for your First Draw PPP Loan before or simultaneously with the loan forgiveness application for your
      Second Draw PPP Loan, even if the calculated amount of forgiveness on your First Draw PPP Loan is zero.

          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000.);
                                                                       AND
            The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020
            and the end of the Covered Period.
                        • Ignore reductions that arose from an inability to rehire individuals who were employees on February 15,
                             2020 if the Borrower was unable to hire similarly qualified employees for unfilled positions on or before
                             December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of the Covered
                             Period).
                        • Also ignore reductions in an employee’s hours that the Borrower offered to restore and the employee
                             refused. See 85 FR 33004, 33007 (June 1, 2020) for more details.
                      -----------------------------------------------------------------------------------------------------------------
          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000,);
                                                                       AND
               The Borrower was unable to operate during the Covered Period at the same level of business activity as before February
               15, 2020, due to compliance with requirements established or guidance issued between March 1, 2020 and December 31,
               2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance issued between March 1,
               2020 and the last day of the Covered Period) by the Secretary of Health and Human Services, the Director of the Centers
               for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the maintenance of
               standards of sanitation, social distancing, or any other work or customer safety requirement related to COVID-19.

      If you can check at least one of the two boxes above, complete this SBA Form 3508EZ in accordance with the instructions below,
      and submit it to your Lender (or the Lender that is servicing your loan). Borrowers may also complete this application
      electronically through their Lender. If your loan is for more than $150,000 and you are unable to check one of the boxes above,
      you cannot use SBA Form 3508EZ and instead you must apply for forgiveness of your PPP loan using SBA Form 3508.

      If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is
      required to submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the Lender not
      later than 30 days after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on
      January 6, 2021 (86 FR 3692).

                                    Instructions for PPP Loan Forgiveness Calculation Form 3508EZ

      Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN): Enter the same information
      as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, or lender’s equivalent).

      Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
      Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
      Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.

      First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
      for. If you only have one PPP loan, select First Draw PPP Loan.                                    USA-000572
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                                                                                                                                                       No Yes
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      SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
      Lender if necessary.

      Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

      PPP Loan Amount: Enter the disbursed principal amount of the PPP loan (the total loan amount you received from the Lender).

      PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
      received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized increase
      on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original disbursement of
      your PPP loan proceeds.

      Employees at Time of Loan Application: Enter the total number of employees at the time of the PPP loan application.

      Employees at Time of Forgiveness Application: Enter the total number of employees at the time the Borrower is applying for
      loan forgiveness.

      Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
      Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
      disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
      Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
      Sunday, June 14, 2020 and Sunday, October 4, 2020.

      If Borrower, Together with Affiliates, if Applicable, Received First Draw PPP Loans of $2 Million or More or Second
      Draw PPP Loans of $2 Million or More: Check the box if the Borrower, together with its affiliates (to the extent required
      under subsection D.3. of SBA’s interim final rule posted on January 6, 2021 (86 FR 3692) and not waived under 15 U.S.C.
      636(a)(36)(D)(iv)), received (a) First Draw PPP Loans with an original principal amount of $2 million or more (if this is a
      First Draw PPP Loan forgiveness application), or (b) Second Draw PPP Loans with an original principal amount of $2
      million or more (if this is a Second Draw PPP Loan forgiveness application).

      Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

      Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, add the following:

            Cash Compensation: The sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
            medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for
            dismissal or separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in
            determining the Employer Retention Credit. For each individual employee, the total amount of cash compensation eligible
            for forgiveness may not exceed an annual salary of $100,000, as prorated for the Covered Period. For example, for an 8-
            week Covered Period, the maximum is $15,385, for a 24-week Covered Period, the maximum is $46,154. You can only
            include compensation of employees who were employed by the Borrower at any point during the Covered Period and whose
            principal place of residence is in the United States.

            Employee Benefits: The total amount paid by the Borrower for:
               1. Employer contributions for employee group health, life, disability, vision, or dental insurance, including employer
                   contributions to a self-insured, employer-sponsored group health plan, but excluding any pre-tax or after-tax
                   contributions by employees. Do not add contributions for these benefits made on behalf of a self-employed
                   individual, general partners, or owner-employees of an S-corporation, because such payments are already included
                   in their compensation.
               2. Employer contributions to employee retirement plans, excluding any pre-tax or after-tax contributions by
                   employees. Do not add employer retirement contributions made on behalf of a self-employed individual or general
                   partners, because such payments are already included in their compensation.
               3. Employer state and local taxes paid by the borrower and assessed on employee compensation (e.g., state
                   unemployment insurance tax), excluding any taxes withheld from employee earnings.

            Owner Compensation: Any amounts paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
            employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
            (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
            compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower.

      Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
                                                                                                             USA-000573
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      mortgage obligation on real or personal property in force before February 15, 2020. Do not include prepayments.

      Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
      Period, pursuant to lease agreements in force before February 15, 2020.

      Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period for business utilities for which
      service began before February 15, 2020.

      Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

      Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

      Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
      purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
      shall have been in effect before or at any time during the Covered Period).

      Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

      NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

      Line 9: Add lines 1 through 8 enter the total.

      Line 10: Enter the PPP Loan Amount.

      Line 11: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
      forgiveness amount was used for payroll costs.

      Line 12: Enter the smallest of lines 9, 10, or 11.

      Summary of Costs Eligible for Forgiveness:

      Borrowers are eligible for loan forgiveness for the following costs:
       1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
           during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
           the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
           pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
           for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
           Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
           annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
           once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
           on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692).

        2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
                 (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
                 on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
                 interest payments”);                                                                                                        Yes
                 (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
                 force before February 15, 2020 (“business rent or lease payments”);
                 (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water,
                 telephone, transportation, or internet access for which service began before February 15, 2020 (“business utility
                 payments”);
                 (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
                 business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
                 resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
                 (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
                 that occurred during 2020 that were not covered by insurance or other compensation;
                 (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
                 operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
                 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
                 purchase order may have been in effect before or at any time during the Covered Period); and
                 (g) covered worker protection expenditures: operating or capital expenditures that facilitate the USA-000574
                                                                                                                    adaptation of the business
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                 activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
                 Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
                 equivalent requirements established or guidance issued by a State or local government, during the period starting March
                 1, 2020 and ending on the date on which the national emergency declared by the President with respect to the
                 Coronavirus Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any
                 other worker or customer safety requirement related to COVID-19, but does not include residential real property or
                 intangible property.

             Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost either must be paid
             during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date, even if
             the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

                Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application Form 3508EZ

    PPP Loan Forgiveness Calculation Form 3508EZ

    Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting
    of each of the following:
         a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
             to employees.
         b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered Period:
                  i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
                  ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                       or that will be reported, to the relevant state.
         c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
             employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
             forgiveness amount.
         d. If you checked only the second box on the checklist on page 1 of these instructions, the average number of full-time
             equivalent employees on payroll employed by the Borrower on January 1, 2020 and at the end of the Covered Period.

    Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for all
    categories, eligible payments from the Covered Period.
        a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
             eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
             Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
        b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
             payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
             one month after the end of the Covered Period verifying eligible payments.
        c. Business utility payments: Copy of invoices from February 2020 and those paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        d. Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        e. Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments, and documentation that the costs were related to
             property damage and vandalism or looting due to public disturbances that occurred during 2020 and such costs were not
             covered by insurance or other compensation.
        f. Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period (except
             for perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and receipts, cancelled
             checks, or account statements verifying those eligible payments.
        g. Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
             receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the expenditures
             were used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.

                              Documents that Each Borrower Must Maintain but is Not Required to Submit

    Documentation supporting the certification that annual salaries or hourly wages were not reduced by more than 25 percent during the
    Covered Period relative to the most recent full quarter before the Covered Period. This documentation must include payroll records
    that separately list each employee and show the amounts paid to each employee during the most recent full quarter before the
    Covered Period, and the amounts paid to each employee during the Covered Period.

    Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions inUSA-000575
                                                                                                                  hours, firings for cause,
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    voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period).

    Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the average
    paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that arose from an
    inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period). This documentation must include payroll records that separately list each employee and show the amounts paid
    to each employee between January 1, 2020 and the end of the Covered Period.

    Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020 and the
    end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with requirements
    established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020,
    requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by the Secretary of Health and
    Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
    Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or customer safety
    requirement related to COVID-19. This documentation must include copies of the applicable requirements for each borrower location
    and relevant borrower financial records.

    All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
    supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
    Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
    Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
    requirements.

    Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan is
    forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector General,
    to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant Federal,
    State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




                                                                                                              USA-000576
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                                                                    X


                                                                                                   2019-10-01




                                                                         623110-Nursing Care
      PELICAN HEALTH RANDOLPH LLC                                        Facilities (Skilled
                                                                         Nursing Facilities)
                                                                                               X

      4801 RANDOLPH RD                                                                         (718)551-8491
      CHARLOTTE
      NC               28211                                             Marc Elias            marc@theportopiccologroup.com


                            197271.21                                    493178.00                        42



                            X                     X                        X                       X




     Simcha Hyman                         Manager              50
     Naftali Zanziper                     Manager              50




    Simcha Hyman                                               Manager



                            Non-Veteran


                            Male

                            White


                            Not Hispanic or Latino




                                                                                                USA-000577
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                                                                                                       No



                                                                                                       No



                                                                                                        Yes


                                                                                                       No


                                                                                                       No




                                                                                                       No



                                                                                                       Yes
                                                                                                       No
                                                                                                       No




                                                                                          USA-000578
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                                                                           3/26/2021


                   Simcha Hyman




                                                                                          USA-000580
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                                                                                          USA-000581
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                                                                                          USA-000582
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                                                                                          USA-000583
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                                                                                                                         OMB Control No.: 3245-0407
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                           Business Legal Name (“Borrower”)                                      DBA or Tradename, if applicable
    PELICAN HEALTH RANDOLPH LLC
                            Business Address                           NAICS Code      Business TIN (EIN, SSN)                Business Phone
                                                                   623110-Nurs                                     718 551-8491
    4801 RANDOLPH RD
                                                                   ing Care                                          (    )         -
     CHARLOTTE, NC, 28211, US                                      Facilities        Primary Contact                          E-mail Address
                                                                   (Skilled    Simcha Hyman                        ishulman@axgsolutions.com
                                                                   Nursing
    X First Draw PPP Loan ☐ Second Draw PPP Loan (check one)
    ☐                                                              Facilities)

                                                                                                    ACBS0001347244
                                1535178704
    SBA PPP Loan Number: ________________________                 Lender PPP Loan Number: __________________________
                                                                                                       2021-04-12
    PPP Loan Amount: _____________________________
                     493178.00                                    PPP Loan Disbursement Date: ________________________
                                                 42                                                                            52
    Employees at Time of Loan Application: ___________            Employees at Time of Forgiveness Application: __________
                        2021-04-12                        2021-09-26
    Covered Period: ________________________ to ________________________

    If Borrower (Together with Affiliates, if Applicable) Received First Draw PPP Loans of $2 million or More or Second Draw
    PPP Loans of $2 Million or More, check here: ☐  X


    Forgiveness Amount Calculation:

    Payroll and Nonpayroll Costs                                                                          580432.63
    Line 1. Payroll Costs:                                                                               _____________________

                                                                                                          197271.2
    Line 2. Business Mortgage Interest Payments:                                                         _____________________

                                                                                                          0
    Line 3. Business Rent or Lease Payments:                                                             _____________________
                                                                                                          0
    Line 4. Business Utility Payments:                                                                   _____________________

                                                                                                          .00
    Line 5. Covered Operations Expenditures:                                                             _____________________
                                                                                                         .00

    Line 6. Covered Property Damage Costs:                                                               _____________________
                                                                                                         .00

    Line 7. Covered Supplier Costs:                                                                      _____________________
                                                                                                        .00
    Line 8. Covered Worker Protection Expenditures:                                                      _____________________

    Potential Forgiveness Amounts                                                                        777703.83
    Line 9. Sum the amounts on lines 1 through 8:                                                        _____________________
                                                                                                        493178.00
    Line 10. PPP Loan Amount:                                                                            _____________________
                                                                                                          967387.72
    Line 11.   Payroll Cost 60% Requirement (divide Line 1 by 0.60):                                     _____________________

    Forgiveness Amount                                                                                    493178.00

    Line 12. Forgiveness Amount (enter the smallest of Lines 9, 10, and 11):                             _____________________




                                                                                                                USA-000584
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                                                      Paycheck Protection Program
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     By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
     The Authorized Representative of the Borrower certifies to all of the below by initialing next to each one.
     _____     The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
                    • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage
                         interest payments; business rent or lease payments; business utility payments; covered operations expenditures;
                         covered property damage costs; covered supplier costs; or covered worker protection expenditures);
                    • includes payroll costs equal to at least 60% of the forgiveness amount; and
                    • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner, does
                         not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan amount,
                         capped at $20,833 per individual in total across all businesses.
     _____     I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
               of loan amounts and/or civil or criminal fraud charges.
     _____     The Borrower did not reduce salaries or hourly wages of any employee by more than 25 percent for any employee during the
               Covered Period compared to the most recent quarter before the Covered Period. For purposes of this certification, the term
               “employee” includes only those employees that did not receive, during any single period during 2019, wages or salary at an
               annualized rate of pay in an amount more than $100,000.
     _____     The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
               requesting forgiveness.
     _____     I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
               (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease payments,
               business utility payments, covered operations expenditures, covered property damage costs, covered supplier costs, and
               covered worker protection expenditures.
     ______ If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts on
               eligible expenses prior to disbursement of the Second Draw PPP Loan.
     _____     The information provided in this application and the information provided in all supporting documents and forms is true and
               correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an SBA-
               guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years
               and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more
               than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not more than
               thirty years and/or a fine of not more than $1,000,000.
     _____     The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has submitted
               or will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the
               Lender can share the tax information with SBA’s authorized representatives, including authorized representatives of
               the SBA Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA
               reviews.
     _____     I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
               Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
               requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
               Borrower’s loan forgiveness application.
    In addition, the Authorized Representative of the Borrower must certify by initialing at least ONE of the following two items:
    _____      The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020 and
               the end of the Covered Period (other than any reductions that arose from an inability to rehire individuals who were
               employees on February 15, 2020, if the Borrower was unable to hire similarly qualified employees for unfilled positions on
               or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, before the last day of the Covered Period),
               and reductions in an employee’s hours that a borrower offered to restore and were refused).
     _____     The Borrower was unable to operate between February 15, 2020, and the end of the Covered Period at the same level of
               business activity as before February 15, 2020 due to compliance with requirements established or guidance issued between
               March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or
               guidance issued before the last day of the Covered Period), by the Secretary of Health and Human Services, the Director of
               the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
               maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
               COVID-19.
    The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
    through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
    determines that the Borrower was ineligible for the PPP loan.
                                                                                                               USA-000585
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                                                                                          8/4/2022
    _____________________________________________________                         ____________________________
    Signature of Authorized Representative of Borrower                            Date
                                                                                          Authorized Representative
    _____________________________________________________
       Simcha Hyman                                                               ____________________________
    Print Name                                                                    Title




                                                                                                 USA-000586
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                         PPP LOAN FORGIVENESS APPLICATION FORM 3508EZ INSTRUCTIONS FOR BORROWERS

                                                   Checklist for Using SBA Form 3508EZ

      You (the Borrower) can apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) Loan using this
      SBA Form 3508EZ if your PPP loan amount is more than $150,000 and you can check at least one of the two boxes below. If
      your loan amount is $150,000 or less, please use SBA Form 3508S. Do not submit this Checklist with your SBA Form 3508EZ.
      Each PPP loan must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness of both a
      First Draw PPP Loan and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must submit a loan
      forgiveness application for your First Draw PPP Loan before or simultaneously with the loan forgiveness application for your
      Second Draw PPP Loan, even if the calculated amount of forgiveness on your First Draw PPP Loan is zero.

          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000.);
                                                                       AND
            The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020
            and the end of the Covered Period.
                        • Ignore reductions that arose from an inability to rehire individuals who were employees on February 15,
                             2020 if the Borrower was unable to hire similarly qualified employees for unfilled positions on or before
                             December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of the Covered
                             Period).
                        • Also ignore reductions in an employee’s hours that the Borrower offered to restore and the employee
                             refused. See 85 FR 33004, 33007 (June 1, 2020) for more details.
                      -----------------------------------------------------------------------------------------------------------------
          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000,);
                                                                       AND
               The Borrower was unable to operate during the Covered Period at the same level of business activity as before February
               15, 2020, due to compliance with requirements established or guidance issued between March 1, 2020 and December 31,
               2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance issued between March 1,
               2020 and the last day of the Covered Period) by the Secretary of Health and Human Services, the Director of the Centers
               for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the maintenance of
               standards of sanitation, social distancing, or any other work or customer safety requirement related to COVID-19.

      If you can check at least one of the two boxes above, complete this SBA Form 3508EZ in accordance with the instructions below,
      and submit it to your Lender (or the Lender that is servicing your loan). Borrowers may also complete this application
      electronically through their Lender. If your loan is for more than $150,000 and you are unable to check one of the boxes above,
      you cannot use SBA Form 3508EZ and instead you must apply for forgiveness of your PPP loan using SBA Form 3508.

      If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is
      required to submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the Lender not
      later than 30 days after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on
      January 6, 2021 (86 FR 3692).

                                    Instructions for PPP Loan Forgiveness Calculation Form 3508EZ

      Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN): Enter the same information
      as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, or lender’s equivalent).

      Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
      Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
      Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.

      First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
      for. If you only have one PPP loan, select First Draw PPP Loan.                                    USA-000587
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                                                                                                                                                       No Yes
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      SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
      Lender if necessary.

      Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

      PPP Loan Amount: Enter the disbursed principal amount of the PPP loan (the total loan amount you received from the Lender).

      PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
      received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized increase
      on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original disbursement of
      your PPP loan proceeds.

      Employees at Time of Loan Application: Enter the total number of employees at the time of the PPP loan application.

      Employees at Time of Forgiveness Application: Enter the total number of employees at the time the Borrower is applying for
      loan forgiveness.

      Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
      Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
      disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
      Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
      Sunday, June 14, 2020 and Sunday, October 4, 2020.

      If Borrower, Together with Affiliates, if Applicable, Received First Draw PPP Loans of $2 Million or More or Second
      Draw PPP Loans of $2 Million or More: Check the box if the Borrower, together with its affiliates (to the extent required
      under subsection D.3. of SBA’s interim final rule posted on January 6, 2021 (86 FR 3692) and not waived under 15 U.S.C.
      636(a)(36)(D)(iv)), received (a) First Draw PPP Loans with an original principal amount of $2 million or more (if this is a
      First Draw PPP Loan forgiveness application), or (b) Second Draw PPP Loans with an original principal amount of $2
      million or more (if this is a Second Draw PPP Loan forgiveness application).

      Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

      Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, add the following:

            Cash Compensation: The sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
            medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for
            dismissal or separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in
            determining the Employer Retention Credit. For each individual employee, the total amount of cash compensation eligible
            for forgiveness may not exceed an annual salary of $100,000, as prorated for the Covered Period. For example, for an 8-
            week Covered Period, the maximum is $15,385, for a 24-week Covered Period, the maximum is $46,154. You can only
            include compensation of employees who were employed by the Borrower at any point during the Covered Period and whose
            principal place of residence is in the United States.

            Employee Benefits: The total amount paid by the Borrower for:
               1. Employer contributions for employee group health, life, disability, vision, or dental insurance, including employer
                   contributions to a self-insured, employer-sponsored group health plan, but excluding any pre-tax or after-tax
                   contributions by employees. Do not add contributions for these benefits made on behalf of a self-employed
                   individual, general partners, or owner-employees of an S-corporation, because such payments are already included
                   in their compensation.
               2. Employer contributions to employee retirement plans, excluding any pre-tax or after-tax contributions by
                   employees. Do not add employer retirement contributions made on behalf of a self-employed individual or general
                   partners, because such payments are already included in their compensation.
               3. Employer state and local taxes paid by the borrower and assessed on employee compensation (e.g., state
                   unemployment insurance tax), excluding any taxes withheld from employee earnings.

            Owner Compensation: Any amounts paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
            employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
            (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
            compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower.

      Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
                                                                                                             USA-000588
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      mortgage obligation on real or personal property in force before February 15, 2020. Do not include prepayments.

      Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
      Period, pursuant to lease agreements in force before February 15, 2020.

      Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period for business utilities for which
      service began before February 15, 2020.

      Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

      Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

      Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
      purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
      shall have been in effect before or at any time during the Covered Period).

      Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

      NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

      Line 9: Add lines 1 through 8 enter the total.

      Line 10: Enter the PPP Loan Amount.

      Line 11: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
      forgiveness amount was used for payroll costs.

      Line 12: Enter the smallest of lines 9, 10, or 11.

      Summary of Costs Eligible for Forgiveness:

      Borrowers are eligible for loan forgiveness for the following costs:
       1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
           during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
           the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
           pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
           for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
           Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
           annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
           once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
           on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692).

        2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
                 (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
                 on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
                 interest payments”);                                                                                                        Yes
                 (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
                 force before February 15, 2020 (“business rent or lease payments”);
                 (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water,
                 telephone, transportation, or internet access for which service began before February 15, 2020 (“business utility
                 payments”);
                 (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
                 business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
                 resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
                 (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
                 that occurred during 2020 that were not covered by insurance or other compensation;
                 (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
                 operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
                 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
                 purchase order may have been in effect before or at any time during the Covered Period); and
                 (g) covered worker protection expenditures: operating or capital expenditures that facilitate the USA-000589
                                                                                                                    adaptation of the business
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                 activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
                 Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
                 equivalent requirements established or guidance issued by a State or local government, during the period starting March
                 1, 2020 and ending on the date on which the national emergency declared by the President with respect to the
                 Coronavirus Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any
                 other worker or customer safety requirement related to COVID-19, but does not include residential real property or
                 intangible property.

             Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost either must be paid
             during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date, even if
             the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

                Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application Form 3508EZ

    PPP Loan Forgiveness Calculation Form 3508EZ

    Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting
    of each of the following:
         a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
             to employees.
         b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered Period:
                  i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
                  ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                       or that will be reported, to the relevant state.
         c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
             employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
             forgiveness amount.
         d. If you checked only the second box on the checklist on page 1 of these instructions, the average number of full-time
             equivalent employees on payroll employed by the Borrower on January 1, 2020 and at the end of the Covered Period.

    Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for all
    categories, eligible payments from the Covered Period.
        a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
             eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
             Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
        b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
             payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
             one month after the end of the Covered Period verifying eligible payments.
        c. Business utility payments: Copy of invoices from February 2020 and those paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        d. Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        e. Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments, and documentation that the costs were related to
             property damage and vandalism or looting due to public disturbances that occurred during 2020 and such costs were not
             covered by insurance or other compensation.
        f. Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period (except
             for perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and receipts, cancelled
             checks, or account statements verifying those eligible payments.
        g. Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
             receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the expenditures
             were used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.

                              Documents that Each Borrower Must Maintain but is Not Required to Submit

    Documentation supporting the certification that annual salaries or hourly wages were not reduced by more than 25 percent during the
    Covered Period relative to the most recent full quarter before the Covered Period. This documentation must include payroll records
    that separately list each employee and show the amounts paid to each employee during the most recent full quarter before the
    Covered Period, and the amounts paid to each employee during the Covered Period.

    Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions inUSA-000590
                                                                                                                  hours, firings for cause,
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    voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period).

    Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the average
    paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that arose from an
    inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period). This documentation must include payroll records that separately list each employee and show the amounts paid
    to each employee between January 1, 2020 and the end of the Covered Period.

    Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020 and the
    end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with requirements
    established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020,
    requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by the Secretary of Health and
    Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
    Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or customer safety
    requirement related to COVID-19. This documentation must include copies of the applicable requirements for each borrower location
    and relevant borrower financial records.

    All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
    supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
    Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
    Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
    requirements.

    Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan is
    forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector General,
    to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant Federal,
    State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




                                                                                                              USA-000591
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                                                                     X


                                                                                                    2019-10-01




                                                                          623110-Nursing Care
      PELICAN HEALTH REIDSVILLE LLC                                       Facilities (Skilled
                                                                          Nursing Facilities)
                                                                                                X

      543 MAPLE AVE                                                                             (718)551-8491
      REIDSVILLE
      NC                27320                                             Marc Elias            marc@theportopiccologroup.com


                             211132.99                                    527832.47                        76



                             X                     X                        X                       X




     Simcha Hyman                          Manager              50
     Naftali Zanziper                      Manager              50




    Simcha Hyman                                                Manager



                             Non-Veteran


                             Male

                             White


                            Not Hispanic or Latino




                                                                                                 USA-000592
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                                                                                                         No



                                                                                                         No



                                                                                                          Yes


                                                                                                         No


                                                                                                         No




                                                                                                         No



                                                                                                         Yes
                                                                                                         No
                                                                                                         No




                                                                                            USA-000593
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                                                                                            USA-000594
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                                                                             3/26/2021


                   Simcha Hyman




                                                                                            USA-000595
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                                                                                            USA-000596
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                                                                                            USA-000598
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                                                                                                                        OMB Control No.: 3245-0407
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                           Business Legal Name (“Borrower”)                                      DBA or Tradename, if applicable
    PELICAN HEALTH REIDSVILLE LLC
                            Business Address                           NAICS Code      Business TIN (EIN, SSN)               Business Phone
                                                                   623110-Nurs                                     718 551-8491
    543 MAPLE AVE
                                                                   ing Care                                         (    )         -
     REIDSVILLE, NC, 27320, US                                     Facilities        Primary Contact                         E-mail Address
                                                                   (Skilled    Simcha Hyman                        ishulman@axgsolutions.com
                                                                   Nursing
    X First Draw PPP Loan ☐ Second Draw PPP Loan (check one)
    ☐                                                              Facilities)

                                                                                                    ACBS0001347378
                                 1581268708
    SBA PPP Loan Number: ________________________                 Lender PPP Loan Number: __________________________
                                                                                                       2021-04-12
    PPP Loan Amount: _____________________________
                     527832.47                                    PPP Loan Disbursement Date: ________________________
                                                 76                                                                           87
    Employees at Time of Loan Application: ___________            Employees at Time of Forgiveness Application: __________
                        2021-04-12                        2021-09-26
    Covered Period: ________________________ to ________________________

    If Borrower (Together with Affiliates, if Applicable) Received First Draw PPP Loans of $2 million or More or Second Draw
    PPP Loans of $2 Million or More, check here: ☐  X


    Forgiveness Amount Calculation:

    Payroll and Nonpayroll Costs                                                                          626793.19
    Line 1. Payroll Costs:                                                                               _____________________

                                                                                                          211132.99
    Line 2. Business Mortgage Interest Payments:                                                         _____________________

                                                                                                          0
    Line 3. Business Rent or Lease Payments:                                                             _____________________
                                                                                                          0
    Line 4. Business Utility Payments:                                                                   _____________________

                                                                                                          .00
    Line 5. Covered Operations Expenditures:                                                             _____________________
                                                                                                         .00

    Line 6. Covered Property Damage Costs:                                                               _____________________
                                                                                                         .00

    Line 7. Covered Supplier Costs:                                                                      _____________________
                                                                                                        .00
    Line 8. Covered Worker Protection Expenditures:                                                      _____________________

    Potential Forgiveness Amounts                                                                        837926.18
    Line 9. Sum the amounts on lines 1 through 8:                                                        _____________________
                                                                                                        527832.47
    Line 10. PPP Loan Amount:                                                                            _____________________
                                                                                                          1044655.32
    Line 11.   Payroll Cost 60% Requirement (divide Line 1 by 0.60):                                     _____________________

    Forgiveness Amount                                                                                    527832.47

    Line 12. Forgiveness Amount (enter the smallest of Lines 9, 10, and 11):                             _____________________




                                                                                                                USA-000599
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     By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
     The Authorized Representative of the Borrower certifies to all of the below by initialing next to each one.
     _____     The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
                    • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage
                         interest payments; business rent or lease payments; business utility payments; covered operations expenditures;
                         covered property damage costs; covered supplier costs; or covered worker protection expenditures);
                    • includes payroll costs equal to at least 60% of the forgiveness amount; and
                    • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner, does
                         not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan amount,
                         capped at $20,833 per individual in total across all businesses.
     _____     I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
               of loan amounts and/or civil or criminal fraud charges.
     _____     The Borrower did not reduce salaries or hourly wages of any employee by more than 25 percent for any employee during the
               Covered Period compared to the most recent quarter before the Covered Period. For purposes of this certification, the term
               “employee” includes only those employees that did not receive, during any single period during 2019, wages or salary at an
               annualized rate of pay in an amount more than $100,000.
     _____     The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
               requesting forgiveness.
     _____     I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
               (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease payments,
               business utility payments, covered operations expenditures, covered property damage costs, covered supplier costs, and
               covered worker protection expenditures.
     ______ If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts on
               eligible expenses prior to disbursement of the Second Draw PPP Loan.
     _____     The information provided in this application and the information provided in all supporting documents and forms is true and
               correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an SBA-
               guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years
               and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more
               than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not more than
               thirty years and/or a fine of not more than $1,000,000.
     _____     The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has submitted
               or will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the
               Lender can share the tax information with SBA’s authorized representatives, including authorized representatives of
               the SBA Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA
               reviews.
     _____     I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
               Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
               requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
               Borrower’s loan forgiveness application.
    In addition, the Authorized Representative of the Borrower must certify by initialing at least ONE of the following two items:
    _____      The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020 and
               the end of the Covered Period (other than any reductions that arose from an inability to rehire individuals who were
               employees on February 15, 2020, if the Borrower was unable to hire similarly qualified employees for unfilled positions on
               or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, before the last day of the Covered Period),
               and reductions in an employee’s hours that a borrower offered to restore and were refused).
     _____     The Borrower was unable to operate between February 15, 2020, and the end of the Covered Period at the same level of
               business activity as before February 15, 2020 due to compliance with requirements established or guidance issued between
               March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or
               guidance issued before the last day of the Covered Period), by the Secretary of Health and Human Services, the Director of
               the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
               maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
               COVID-19.
    The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
    through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
    determines that the Borrower was ineligible for the PPP loan.
                                                                                                              USA-000600
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                                                                                           8/4/2022
    _____________________________________________________                          ____________________________
    Signature of Authorized Representative of Borrower                             Date
                                                                                           Authorized Representative
    _____________________________________________________
       Simcha Hyman                                                                ____________________________
    Print Name                                                                     Title




                                                                                                 USA-000601
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                         PPP LOAN FORGIVENESS APPLICATION FORM 3508EZ INSTRUCTIONS FOR BORROWERS

                                                   Checklist for Using SBA Form 3508EZ

      You (the Borrower) can apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) Loan using this
      SBA Form 3508EZ if your PPP loan amount is more than $150,000 and you can check at least one of the two boxes below. If
      your loan amount is $150,000 or less, please use SBA Form 3508S. Do not submit this Checklist with your SBA Form 3508EZ.
      Each PPP loan must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness of both a
      First Draw PPP Loan and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must submit a loan
      forgiveness application for your First Draw PPP Loan before or simultaneously with the loan forgiveness application for your
      Second Draw PPP Loan, even if the calculated amount of forgiveness on your First Draw PPP Loan is zero.

          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000.);
                                                                       AND
            The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020
            and the end of the Covered Period.
                        • Ignore reductions that arose from an inability to rehire individuals who were employees on February 15,
                             2020 if the Borrower was unable to hire similarly qualified employees for unfilled positions on or before
                             December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of the Covered
                             Period).
                        • Also ignore reductions in an employee’s hours that the Borrower offered to restore and the employee
                             refused. See 85 FR 33004, 33007 (June 1, 2020) for more details.
                      -----------------------------------------------------------------------------------------------------------------
          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000,);
                                                                       AND
               The Borrower was unable to operate during the Covered Period at the same level of business activity as before February
               15, 2020, due to compliance with requirements established or guidance issued between March 1, 2020 and December 31,
               2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance issued between March 1,
               2020 and the last day of the Covered Period) by the Secretary of Health and Human Services, the Director of the Centers
               for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the maintenance of
               standards of sanitation, social distancing, or any other work or customer safety requirement related to COVID-19.

      If you can check at least one of the two boxes above, complete this SBA Form 3508EZ in accordance with the instructions below,
      and submit it to your Lender (or the Lender that is servicing your loan). Borrowers may also complete this application
      electronically through their Lender. If your loan is for more than $150,000 and you are unable to check one of the boxes above,
      you cannot use SBA Form 3508EZ and instead you must apply for forgiveness of your PPP loan using SBA Form 3508.

      If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is
      required to submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the Lender not
      later than 30 days after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on
      January 6, 2021 (86 FR 3692).

                                    Instructions for PPP Loan Forgiveness Calculation Form 3508EZ

      Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN): Enter the same information
      as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, or lender’s equivalent).

      Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
      Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
      Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.

      First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
      for. If you only have one PPP loan, select First Draw PPP Loan.                                    USA-000602
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                                                                                                                                                       No Yes
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      SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
      Lender if necessary.

      Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

      PPP Loan Amount: Enter the disbursed principal amount of the PPP loan (the total loan amount you received from the Lender).

      PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
      received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized increase
      on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original disbursement of
      your PPP loan proceeds.

      Employees at Time of Loan Application: Enter the total number of employees at the time of the PPP loan application.

      Employees at Time of Forgiveness Application: Enter the total number of employees at the time the Borrower is applying for
      loan forgiveness.

      Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
      Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
      disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
      Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
      Sunday, June 14, 2020 and Sunday, October 4, 2020.

      If Borrower, Together with Affiliates, if Applicable, Received First Draw PPP Loans of $2 Million or More or Second
      Draw PPP Loans of $2 Million or More: Check the box if the Borrower, together with its affiliates (to the extent required
      under subsection D.3. of SBA’s interim final rule posted on January 6, 2021 (86 FR 3692) and not waived under 15 U.S.C.
      636(a)(36)(D)(iv)), received (a) First Draw PPP Loans with an original principal amount of $2 million or more (if this is a
      First Draw PPP Loan forgiveness application), or (b) Second Draw PPP Loans with an original principal amount of $2
      million or more (if this is a Second Draw PPP Loan forgiveness application).

      Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

      Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, add the following:

             Cash Compensation: The sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
             medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for
             dismissal or separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in
             determining the Employer Retention Credit. For each individual employee, the total amount of cash compensation eligible
             for forgiveness may not exceed an annual salary of $100,000, as prorated for the Covered Period. For example, for an 8-
             week Covered Period, the maximum is $15,385, for a 24-week Covered Period, the maximum is $46,154. You can only
             include compensation of employees who were employed by the Borrower at any point during the Covered Period and whose
             principal place of residence is in the United States.

             Employee Benefits: The total amount paid by the Borrower for:
                1. Employer contributions for employee group health, life, disability, vision, or dental insurance, including employer
                    contributions to a self-insured, employer-sponsored group health plan, but excluding any pre-tax or after-tax
                    contributions by employees. Do not add contributions for these benefits made on behalf of a self-employed
                    individual, general partners, or owner-employees of an S-corporation, because such payments are already included
                    in their compensation.
                2. Employer contributions to employee retirement plans, excluding any pre-tax or after-tax contributions by
                    employees. Do not add employer retirement contributions made on behalf of a self-employed individual or general
                    partners, because such payments are already included in their compensation.
                3. Employer state and local taxes paid by the borrower and assessed on employee compensation (e.g., state
                    unemployment insurance tax), excluding any taxes withheld from employee earnings.

             Owner Compensation: Any amounts paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
             employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
             (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
             compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower.

      Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
                                                                                                             USA-000603
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      mortgage obligation on real or personal property in force before February 15, 2020. Do not include prepayments.

      Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
      Period, pursuant to lease agreements in force before February 15, 2020.

      Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period for business utilities for which
      service began before February 15, 2020.

      Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

      Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

      Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
      purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
      shall have been in effect before or at any time during the Covered Period).

      Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

      NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

      Line 9: Add lines 1 through 8 enter the total.

      Line 10: Enter the PPP Loan Amount.

      Line 11: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
      forgiveness amount was used for payroll costs.

      Line 12: Enter the smallest of lines 9, 10, or 11.

      Summary of Costs Eligible for Forgiveness:

      Borrowers are eligible for loan forgiveness for the following costs:
       1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
           during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
           the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
           pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
           for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
           Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
           annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
           once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
           on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692).

        2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
                 (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
                 on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
                 interest payments”);                                                                                                        Yes
                 (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
                 force before February 15, 2020 (“business rent or lease payments”);
                 (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water,
                 telephone, transportation, or internet access for which service began before February 15, 2020 (“business utility
                 payments”);
                 (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
                 business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
                 resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
                 (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
                 that occurred during 2020 that were not covered by insurance or other compensation;
                 (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
                 operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
                 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
                 purchase order may have been in effect before or at any time during the Covered Period); and
                 (g) covered worker protection expenditures: operating or capital expenditures that facilitate the USA-000604
                                                                                                                    adaptation of the business
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                 activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
                 Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
                 equivalent requirements established or guidance issued by a State or local government, during the period starting March
                 1, 2020 and ending on the date on which the national emergency declared by the President with respect to the
                 Coronavirus Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any
                 other worker or customer safety requirement related to COVID-19, but does not include residential real property or
                 intangible property.

             Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost either must be paid
             during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date, even if
             the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

                Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application Form 3508EZ

    PPP Loan Forgiveness Calculation Form 3508EZ

    Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting
    of each of the following:
         a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
             to employees.
         b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered Period:
                  i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
                  ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                       or that will be reported, to the relevant state.
         c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
             employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
             forgiveness amount.
         d. If you checked only the second box on the checklist on page 1 of these instructions, the average number of full-time
             equivalent employees on payroll employed by the Borrower on January 1, 2020 and at the end of the Covered Period.

    Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for all
    categories, eligible payments from the Covered Period.
        a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
             eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
             Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
        b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
             payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
             one month after the end of the Covered Period verifying eligible payments.
        c. Business utility payments: Copy of invoices from February 2020 and those paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        d. Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        e. Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments, and documentation that the costs were related to
             property damage and vandalism or looting due to public disturbances that occurred during 2020 and such costs were not
             covered by insurance or other compensation.
        f. Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period (except
             for perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and receipts, cancelled
             checks, or account statements verifying those eligible payments.
        g. Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
             receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the expenditures
             were used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.

                              Documents that Each Borrower Must Maintain but is Not Required to Submit

    Documentation supporting the certification that annual salaries or hourly wages were not reduced by more than 25 percent during the
    Covered Period relative to the most recent full quarter before the Covered Period. This documentation must include payroll records
    that separately list each employee and show the amounts paid to each employee during the most recent full quarter before the
    Covered Period, and the amounts paid to each employee during the Covered Period.

    Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions inUSA-000605
                                                                                                                  hours, firings for cause,
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    voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period).

    Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the average
    paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that arose from an
    inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period). This documentation must include payroll records that separately list each employee and show the amounts paid
    to each employee between January 1, 2020 and the end of the Covered Period.

    Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020 and the
    end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with requirements
    established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020,
    requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by the Secretary of Health and
    Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
    Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or customer safety
    requirement related to COVID-19. This documentation must include copies of the applicable requirements for each borrower location
    and relevant borrower financial records.

    All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
    supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
    Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
    Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
    requirements.

    Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan is
    forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector General,
    to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant Federal,
    State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




                                                                                                             USA-000606
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                                                                   X


                                                                                                  2019-10-01




                                                                        623110-Nursing Care
      PELICAN HEALTH THOMASVILLE LLC                                    Facilities (Skilled
                                                                        Nursing Facilities)
                                                                                              X

      1028 BLAIR ST 540N                                                                      (718)551-8491
      THOMASVILLE
      NC               27360                                            Marc Elias            marc@theportopiccologroup.com


                             166037.83                                  415094.00                        35



                            X                     X                       X                       X




     Simcha Hyman                          Manager            50
     Naftali Zanziper                      Manager            50




    Simcha Hyman                                              Manager



                            Non-Veteran


                            Male

                            White


                            Not Hispanic or Latino




                                                                                               USA-000607
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                                                                                                       No



                                                                                                       No



                                                                                                        Yes


                                                                                                       No


                                                                                                       No




                                                                                                       No



                                                                                                       Yes
                                                                                                       No
                                                                                                       No




                                                                                          USA-000608
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                                                                           3/26/2021


                   Simcha Hyman




                                                                                          USA-000610
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                                                                                          USA-000611
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                                                                                          USA-000612
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                                                                                          USA-000613
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                                                                                                                       OMB Control No.: 3245-0407
                                                                                                                         Expiration Date: 7/31/2021
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                            Business Legal Name (“Borrower”)                                   DBA or Tradename, if applicable
    PELICAN HEALTH THOMASVILLE LLC
                             Business Address                           NAICS Code   Business TIN (EIN, SSN)                Business Phone
                                                                    623110-Nurs                                  718 551-8491
    1028 BLAIR ST 540N
                                                                    ing Care                                       (    )         -
     THOMASVILLE, NC, 27360, US                                     Facilities        Primary Contact                       E-mail Address
                                                                    (Skilled    Simcha Hyman                     ishulman@axgsolutions.com
                                                                    Nursing
    X First Draw PPP Loan ☐ Second Draw PPP Loan (check one)
    ☐                                                               Facilities)

                                                                                                  ACBS0001347353
                                1935708707
    SBA PPP Loan Number: ________________________                  Lender PPP Loan Number: __________________________
                                                                                                     2021-04-12
    PPP Loan Amount: _____________________________
                     415094.00                                     PPP Loan Disbursement Date: ________________________
                                                  35                                                                         56
    Employees at Time of Loan Application: ___________             Employees at Time of Forgiveness Application: __________
                         2021-04-12                        2021-09-26
    Covered Period: ________________________ to ________________________

    If Borrower (Together with Affiliates, if Applicable) Received First Draw PPP Loans of $2 million or More or Second Draw
    PPP Loans of $2 Million or More, check here: ☐  X


    Forgiveness Amount Calculation:

    Payroll and Nonpayroll Costs                                                                        507258.68
    Line 1. Payroll Costs:                                                                             _____________________

                                                                                                        166037.6
    Line 2. Business Mortgage Interest Payments:                                                       _____________________

                                                                                                        0
    Line 3. Business Rent or Lease Payments:                                                           _____________________
                                                                                                        0
    Line 4. Business Utility Payments:                                                                 _____________________

                                                                                                        .00
    Line 5. Covered Operations Expenditures:                                                           _____________________
                                                                                                       .00

    Line 6. Covered Property Damage Costs:                                                             _____________________
                                                                                                       .00

    Line 7. Covered Supplier Costs:                                                                    _____________________
                                                                                                      .00
    Line 8. Covered Worker Protection Expenditures:                                                    _____________________

    Potential Forgiveness Amounts                                                                      673296.28
    Line 9. Sum the amounts on lines 1 through 8:                                                      _____________________
                                                                                                      415094.00
    Line 10. PPP Loan Amount:                                                                          _____________________
                                                                                                        845431.13
    Line 11.   Payroll Cost 60% Requirement (divide Line 1 by 0.60):                                   _____________________

    Forgiveness Amount                                                                                  415094.00

    Line 12. Forgiveness Amount (enter the smallest of Lines 9, 10, and 11):                           _____________________




                                                                                                             USA-000614
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     By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
     The Authorized Representative of the Borrower certifies to all of the below by initialing next to each one.
     _____     The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
                    • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage
                         interest payments; business rent or lease payments; business utility payments; covered operations expenditures;
                         covered property damage costs; covered supplier costs; or covered worker protection expenditures);
                    • includes payroll costs equal to at least 60% of the forgiveness amount; and
                    • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner, does
                         not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan amount,
                         capped at $20,833 per individual in total across all businesses.
     _____     I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
               of loan amounts and/or civil or criminal fraud charges.
     _____     The Borrower did not reduce salaries or hourly wages of any employee by more than 25 percent for any employee during the
               Covered Period compared to the most recent quarter before the Covered Period. For purposes of this certification, the term
               “employee” includes only those employees that did not receive, during any single period during 2019, wages or salary at an
               annualized rate of pay in an amount more than $100,000.
     _____     The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
               requesting forgiveness.
     _____     I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
               (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease payments,
               business utility payments, covered operations expenditures, covered property damage costs, covered supplier costs, and
               covered worker protection expenditures.
     ______ If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts on
               eligible expenses prior to disbursement of the Second Draw PPP Loan.
     _____     The information provided in this application and the information provided in all supporting documents and forms is true and
               correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an SBA-
               guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years
               and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more
               than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not more than
               thirty years and/or a fine of not more than $1,000,000.
     _____     The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has submitted
               or will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the
               Lender can share the tax information with SBA’s authorized representatives, including authorized representatives of
               the SBA Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA
               reviews.
     _____     I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
               Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
               requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
               Borrower’s loan forgiveness application.
    In addition, the Authorized Representative of the Borrower must certify by initialing at least ONE of the following two items:
    _____      The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020 and
               the end of the Covered Period (other than any reductions that arose from an inability to rehire individuals who were
               employees on February 15, 2020, if the Borrower was unable to hire similarly qualified employees for unfilled positions on
               or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, before the last day of the Covered Period),
               and reductions in an employee’s hours that a borrower offered to restore and were refused).
     _____     The Borrower was unable to operate between February 15, 2020, and the end of the Covered Period at the same level of
               business activity as before February 15, 2020 due to compliance with requirements established or guidance issued between
               March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or
               guidance issued before the last day of the Covered Period), by the Secretary of Health and Human Services, the Director of
               the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
               maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
               COVID-19.
    The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
    through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
    determines that the Borrower was ineligible for the PPP loan.
                                                                                                              USA-000615
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                                                                                          8/4/2022
    _____________________________________________________                         ____________________________
    Signature of Authorized Representative of Borrower                            Date
                                                                                          Authorized Representative
    _____________________________________________________
       Simcha Hyman                                                               ____________________________
    Print Name                                                                    Title




                                                                                                USA-000616
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                         PPP LOAN FORGIVENESS APPLICATION FORM 3508EZ INSTRUCTIONS FOR BORROWERS

                                                   Checklist for Using SBA Form 3508EZ

      You (the Borrower) can apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) Loan using this
      SBA Form 3508EZ if your PPP loan amount is more than $150,000 and you can check at least one of the two boxes below. If
      your loan amount is $150,000 or less, please use SBA Form 3508S. Do not submit this Checklist with your SBA Form 3508EZ.
      Each PPP loan must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness of both a
      First Draw PPP Loan and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must submit a loan
      forgiveness application for your First Draw PPP Loan before or simultaneously with the loan forgiveness application for your
      Second Draw PPP Loan, even if the calculated amount of forgiveness on your First Draw PPP Loan is zero.

          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000.);
                                                                       AND
            The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020
            and the end of the Covered Period.
                        • Ignore reductions that arose from an inability to rehire individuals who were employees on February 15,
                             2020 if the Borrower was unable to hire similarly qualified employees for unfilled positions on or before
                             December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of the Covered
                             Period).
                        • Also ignore reductions in an employee’s hours that the Borrower offered to restore and the employee
                             refused. See 85 FR 33004, 33007 (June 1, 2020) for more details.
                      -----------------------------------------------------------------------------------------------------------------
          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000,);
                                                                       AND
               The Borrower was unable to operate during the Covered Period at the same level of business activity as before February
               15, 2020, due to compliance with requirements established or guidance issued between March 1, 2020 and December 31,
               2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance issued between March 1,
               2020 and the last day of the Covered Period) by the Secretary of Health and Human Services, the Director of the Centers
               for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the maintenance of
               standards of sanitation, social distancing, or any other work or customer safety requirement related to COVID-19.

      If you can check at least one of the two boxes above, complete this SBA Form 3508EZ in accordance with the instructions below,
      and submit it to your Lender (or the Lender that is servicing your loan). Borrowers may also complete this application
      electronically through their Lender. If your loan is for more than $150,000 and you are unable to check one of the boxes above,
      you cannot use SBA Form 3508EZ and instead you must apply for forgiveness of your PPP loan using SBA Form 3508.

      If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is
      required to submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the Lender not
      later than 30 days after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on
      January 6, 2021 (86 FR 3692).

                                    Instructions for PPP Loan Forgiveness Calculation Form 3508EZ

      Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN): Enter the same information
      as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, or lender’s equivalent).

      Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
      Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
      Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.

      First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
      for. If you only have one PPP loan, select First Draw PPP Loan.                                    USA-000617
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                                                                                                                                                       No Yes
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      SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
      Lender if necessary.

      Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

      PPP Loan Amount: Enter the disbursed principal amount of the PPP loan (the total loan amount you received from the Lender).

      PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
      received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized increase
      on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original disbursement of
      your PPP loan proceeds.

      Employees at Time of Loan Application: Enter the total number of employees at the time of the PPP loan application.

      Employees at Time of Forgiveness Application: Enter the total number of employees at the time the Borrower is applying for
      loan forgiveness.

      Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
      Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
      disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
      Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
      Sunday, June 14, 2020 and Sunday, October 4, 2020.

      If Borrower, Together with Affiliates, if Applicable, Received First Draw PPP Loans of $2 Million or More or Second
      Draw PPP Loans of $2 Million or More: Check the box if the Borrower, together with its affiliates (to the extent required
      under subsection D.3. of SBA’s interim final rule posted on January 6, 2021 (86 FR 3692) and not waived under 15 U.S.C.
      636(a)(36)(D)(iv)), received (a) First Draw PPP Loans with an original principal amount of $2 million or more (if this is a
      First Draw PPP Loan forgiveness application), or (b) Second Draw PPP Loans with an original principal amount of $2
      million or more (if this is a Second Draw PPP Loan forgiveness application).

      Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

      Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, add the following:

            Cash Compensation: The sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
            medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for
            dismissal or separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in
            determining the Employer Retention Credit. For each individual employee, the total amount of cash compensation eligible
            for forgiveness may not exceed an annual salary of $100,000, as prorated for the Covered Period. For example, for an 8-
            week Covered Period, the maximum is $15,385, for a 24-week Covered Period, the maximum is $46,154. You can only
            include compensation of employees who were employed by the Borrower at any point during the Covered Period and whose
            principal place of residence is in the United States.

            Employee Benefits: The total amount paid by the Borrower for:
               1. Employer contributions for employee group health, life, disability, vision, or dental insurance, including employer
                   contributions to a self-insured, employer-sponsored group health plan, but excluding any pre-tax or after-tax
                   contributions by employees. Do not add contributions for these benefits made on behalf of a self-employed
                   individual, general partners, or owner-employees of an S-corporation, because such payments are already included
                   in their compensation.
               2. Employer contributions to employee retirement plans, excluding any pre-tax or after-tax contributions by
                   employees. Do not add employer retirement contributions made on behalf of a self-employed individual or general
                   partners, because such payments are already included in their compensation.
               3. Employer state and local taxes paid by the borrower and assessed on employee compensation (e.g., state
                   unemployment insurance tax), excluding any taxes withheld from employee earnings.

            Owner Compensation: Any amounts paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
            employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
            (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
            compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower.

      Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
                                                                                                             USA-000618
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      mortgage obligation on real or personal property in force before February 15, 2020. Do not include prepayments.

      Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
      Period, pursuant to lease agreements in force before February 15, 2020.

      Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period for business utilities for which
      service began before February 15, 2020.

      Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

      Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

      Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
      purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
      shall have been in effect before or at any time during the Covered Period).

      Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

      NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

      Line 9: Add lines 1 through 8 enter the total.

      Line 10: Enter the PPP Loan Amount.

      Line 11: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
      forgiveness amount was used for payroll costs.

      Line 12: Enter the smallest of lines 9, 10, or 11.

      Summary of Costs Eligible for Forgiveness:

      Borrowers are eligible for loan forgiveness for the following costs:
       1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
           during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
           the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
           pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
           for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
           Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
           annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
           once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
           on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692).

        2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
                 (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
                 on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
                 interest payments”);                                                                                                        Yes
                 (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
                 force before February 15, 2020 (“business rent or lease payments”);
                 (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water,
                 telephone, transportation, or internet access for which service began before February 15, 2020 (“business utility
                 payments”);
                 (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
                 business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
                 resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
                 (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
                 that occurred during 2020 that were not covered by insurance or other compensation;
                 (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
                 operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
                 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
                 purchase order may have been in effect before or at any time during the Covered Period); and
                 (g) covered worker protection expenditures: operating or capital expenditures that facilitate the USA-000619
                                                                                                                    adaptation of the business
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                 activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
                 Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
                 equivalent requirements established or guidance issued by a State or local government, during the period starting March
                 1, 2020 and ending on the date on which the national emergency declared by the President with respect to the
                 Coronavirus Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any
                 other worker or customer safety requirement related to COVID-19, but does not include residential real property or
                 intangible property.

             Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost either must be paid
             during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date, even if
             the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

                Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application Form 3508EZ

    PPP Loan Forgiveness Calculation Form 3508EZ

    Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting
    of each of the following:
         a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
             to employees.
         b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered Period:
                  i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
                  ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                       or that will be reported, to the relevant state.
         c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
             employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
             forgiveness amount.
         d. If you checked only the second box on the checklist on page 1 of these instructions, the average number of full-time
             equivalent employees on payroll employed by the Borrower on January 1, 2020 and at the end of the Covered Period.

    Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for all
    categories, eligible payments from the Covered Period.
        a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
             eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
             Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
        b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
             payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
             one month after the end of the Covered Period verifying eligible payments.
        c. Business utility payments: Copy of invoices from February 2020 and those paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        d. Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        e. Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments, and documentation that the costs were related to
             property damage and vandalism or looting due to public disturbances that occurred during 2020 and such costs were not
             covered by insurance or other compensation.
        f. Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period (except
             for perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and receipts, cancelled
             checks, or account statements verifying those eligible payments.
        g. Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
             receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the expenditures
             were used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.

                              Documents that Each Borrower Must Maintain but is Not Required to Submit

    Documentation supporting the certification that annual salaries or hourly wages were not reduced by more than 25 percent during the
    Covered Period relative to the most recent full quarter before the Covered Period. This documentation must include payroll records
    that separately list each employee and show the amounts paid to each employee during the most recent full quarter before the
    Covered Period, and the amounts paid to each employee during the Covered Period.

    Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions inUSA-000620
                                                                                                                  hours, firings for cause,
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    voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period).

    Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the average
    paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that arose from an
    inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period). This documentation must include payroll records that separately list each employee and show the amounts paid
    to each employee between January 1, 2020 and the end of the Covered Period.

    Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020 and the
    end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with requirements
    established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020,
    requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by the Secretary of Health and
    Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
    Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or customer safety
    requirement related to COVID-19. This documentation must include copies of the applicable requirements for each borrower location
    and relevant borrower financial records.

    All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
    supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
    Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
    Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
    requirements.

    Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan is
    forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector General,
    to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant Federal,
    State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




                                                                                                             USA-000621
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                                                     Paycheck Protection Program Borrower                                            OMB Control No.: 3245-0407
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       Check One: Limited Liability Company                                                              DBA or Tradename (if Applicable)



                                    Business Legal Name                                          NAICS Code                 Year of Establishment (if applicable)

                              PRINCETON KY OPCO LLC                                                623110                                10/1/2019
                                       Business Address                                            Applicant (including affiliates, if applicable)
              (Street, City, State, Zip Code - No P.O. Box addresses allowed)                           Meets Size Standard (check one):

                                   1333 W MAIN ST,                                                         SBA industry size standards
                                     PRINCETON,
                                         KY,
                                        42445
         Business TIN (EIN,                         Business Phone                               Primary Contact                           Email Address
               SSN)
                                                                                                                                    marc@theportopiccologrou
                                                   (201) 928-7800                               SIMCHA HYMAN
                                                                                                                                            p.com

                                                             x 2.5 + EIDL (Do Not
                                                             Include Any EIDL
       Average Monthly                                                                                        Number of
                                       $147,390.00           Advance) equals               $368,400.00                                               100
       Payroll:                                                                                               Employees:
                                                             Loan Request
                                                             Amount:

                                     Payroll Costs;Rent / Mortgage Interest;Utilities;Covered Operations Expenditures;Covered Property Damage;Covered
       Purpose of loan
                                     Suppliers Cost;Covered Worker Protection Expenditures
       (select all that apply):
                                     Other:


                                                                    Applicant Ownership
                           List all owners of 20% or more of the equity of the Applicant. Attach a separate sheet if necessary.

                     Owner Name                             Title               Ownership %               TIN (EIN, SSN)                         Address


                 SIMCHA HYMAN                            Owner                   50.000%




               NAFTALI ZANZIPER                        Co-Owner                  50.000%




           If questions (1) or (2) below are answered “Yes,” the loan will not be approved.

                                                                     Question                                                                        Yes      No
        1. Is the Applicant or any owner of the Applicant presently suspended, debarred, proposed for debarment, declared ineligible,
           voluntarily excluded from participation in this transaction by any Federal department or agency, or presently involved in any
           bankruptcy?                                                                                                                                          X

        2. Has the Applicant, any owner of the Applicant, or any business owned or controlled by any of them, ever obtained a
           direct or guaranteed loan from SBA or any other Federal agency that is (a) currently delinquent, or (b) has defaulted in
           the last 7 years and caused a loss to the government?                                                                                                X

        3. Is the Applicant or any owner of the Applicant an owner of any other business, or have common management (including a
           management agreement) with any other business? If yes, list all such businesses (including their TINs if available) and describe
           the relationship on a separate sheet identified as addendum A.
                                                                                                                                                       X

                                                                                                                          USA-000622
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        4. Did the Applicant receive an SBA Economic Injury Disaster Loan between January 31, 2020 and April 3, 2020? If yes,
           provide details on a separate sheet identified as addendum B.
                                                                                                                                                               X



        If questions (5) or (6) are answered “Yes,” the loan will not be approved.

                                                                        Question                                                                     Yes      No
        5. Is the Applicant (if an individual) or any individual owning 20% or more of the equity of the Applicant presently incarcerated                     X
           or, for any felony, presently subject to an indictment, criminal information, arraignment, or other means by which formal
           criminal charges are brought in any jurisdiction?

        Initial here to confirm your response to question 5 →




        6. Within the last 5 years, for any felony involving fraud, bribery, embezzlement, or a false statement in a loan application or an                   X
           application for federal financial assistance, or within the last year, for any other felony, has the Applicant (if an individual) or
           any owner of the Applicant 1) been convicted; 2) pleaded guilty; 3) pleaded nolo contendere; or 4) commenced any form of
           parole or probation (including probation before judgment)?

        Initial here to confirm your response to question 6 →




        7. Is the United States the principal place of residence for all employees included in the Applicant’s payroll calculation above?
                                                                                                                                                     X

        8. Is the Applicant a franchise?
                                                                                                                                                              X


               9. Is the franchise listed in the SBA’s Franchise Directory? If yes, enter the SBA Franchise Identifier Code:




                                                                                                                           USA-000623
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                                                     Paycheck Protection Program Borrower                                             OMB Control No.: 3245-0407
                                                                                                                                        Expiration Date: 7/31/2021
                                                         Application Form Revised January 8, 2021



    By Signing Below, You Make the Following Representations, Authorizations, and Certifications

    CERTIFICATIONS AND AUTHORIZATIONS
    I certify that:
           •     I have read the statements included in this form, including the Statements Required by Law and Executive Orders, and I
                 understand them.
           •     The Applicant is eligible to receive a loan under the rules in effect at the time this application is submitted that have been issued by
                 the Small Business Administration (SBA) and the Department of the Treasury (Treasury) implementing the Paycheck Protection
                 Program under Division A, Title I of the Coronavirus Aid, Relief, and Economic Security Act (CARES Act) and the Economic
                 Aid to Hard-Hit Small Businesses, Nonprofits, and Venues Act (the Paycheck Protection Program Rules).
           •     The Applicant, together with its affiliates (if applicable), (1) is an independent contractor, self-employed individual, or sole
                 proprietor with no employees; (2) if not a housing cooperative, eligible 501(c)(6) organization, or eligible destination marketing
                 organization, employs no more than the greater of 500 employees or, if applicable, the size standard in number of employees
                 established by SBA in 13 C.F.R. 121.201 for the Applicant’s industry; (3) if a housing cooperative, eligible 501(c)(6) organization,
                 or eligible destination marketing organization, employs no more than 300 employees; (4) if NAICS 72, employs no more than 500
                 employees per physical location; (5) if a news organization that is majority owned or controlled by a NAICS code 511110 or 5151
                 business or a nonprofit public broadcasting entity with a trade or business under NAICS code 511110 or 5151, employs no more
                 than 500 employees (or, if applicable, the size standard in number of employees established by SBA in 13 C.F.R. 121.201 for the
                 Applicant’s industry) per location; or (6) is a small business under the applicable revenue-based size standard established by SBA
                 in 13 C.F.R. 121.201 for the Applicant’s industry or under the SBA alternative size standard.
           •     I will comply, whenever applicable, with the civil rights and other limitations in this form.
           •     All loan proceeds will be used only for business-related purposes as specified in the loan application and consistent with the
                 Paycheck Protection Program Rules including the prohibition on using loan proceeds for lobbying activities and expenditures. If
                 Applicant is a news organization that became eligible for a loan under Section 317 of the Economic Aid to Hard-Hit Small
                 Businesses, Nonprofits, and Venues Act, proceeds of the loan will be used to support expenses at the component of the business
                 concern that produces or distributes locally focused or emergency information
           •      I understand that SBA encourages the purchase, to the extent feasible, of American-made equipment and products.
           •      The Applicant is not engaged in any activity that is illegal under federal, state or local law.
           •      Any EIDL loan received by the Applicant (Section 7(b)(2) of the Small Business Act) between January 31, 2020 and April 3,
                  2020 was for a purpose other than paying payroll costs and other allowable uses for loans under the Paycheck Protection Program
                  Rules.


    For Applicants who are individuals: I authorize the SBA to request criminal record information about me from criminal justice agencies for the purpose
    of determining my eligibility for programs authorized by the Small Business Act, as amended.



    CERTIFICATIONS
    The authorized representative of the Applicant must certify in good faith to all of the below by initialing next to each one:

      The Applicant was in operation on February 15, 2020, has not permanently closed, and was either an eligible self-employed individual,
    independent contractor, or sole proprietorship with no employees, or had employees for whom it paid salaries and payroll taxes or paid
    independent contractors, as reported on Form(s) 1099-MISC.

      Current economic uncertainty makes this loan request necessary to support the ongoing operations of the Applicant

      The funds will be used to retain workers and maintain payroll; or make payments for mortgage interest, rent, utilities, covered operations
    expenditures, covered property damage costs, covered supplier costs, and covered worker protection expenditures as specified under the
    Paycheck Protection Program Rules; I understand that if the funds are knowingly used for unauthorized purposes, the federal government may
    hold me legally liable, such as for charges of fraud

      I understand that loan forgiveness will be provided for the sum of documented payroll costs, covered mortgage interest payments, covered rent
    payments, covered utilities, covered operations expenditures, covered property damage costs, covered supplier costs, and covered worker
    protection expenditures, and not more than 40% of the forgiven amount may be for non-payroll costs. If required, the Applicant will provide to
    the Lender and/or SBA documentation verifying the number of full-time equivalent employees on the Applicant’s payroll as well as the dollar
    amounts of eligible expenses for the covered period following this loan.
                                                                                                                            USA-000624
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      The Applicant has not and will not receive another loan under the Paycheck Protection Program, section 7(a)(36) of the Small Business Act (15
    U.S.C. 636(a)(36)) (this does not include Paycheck Protection Program second draw loans, section 7(a)(37) of the Small Business Act (15 U.S.C.
    636(a)(37)).


     The Applicant has not and will not receive a Shuttered Venue Operator grant from SBA.


      The President, the Vice President, the head of an Executive department, or a Member of Congress, or the spouse of such person as determined
    under applicable common law, does not directly or indirectly hold a controlling interest in the Applicant, with such terms having the meanings
    provided in Section 322 of the Economic Aid to Hard-Hit Small Businesses, Nonprofits, and Venues Act.

      The Applicant is not an issuer, the securities of which are listed on an exchange registered as a national securities exchange under section 6 of
    the Securities Exchange Act of 1934 (15 U.S.C. 78f).

      I further certify that the information provided in this application and the information provided in all supporting documents and forms is true
    and accurate in all material respects. I understand that knowingly making a false statement to obtain a guaranteed loan from SBA is punishable
    under the law, including under 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years and/or a fine of up to $250,000; under 15
    U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more than $5,000; and, if submitted to a federally insured
    institution, under 18 U.S.C. 1014 by imprisonment of not more than thirty years and/or a fine of not more than $1,000,000.

      I acknowledge that the Lender will confirm the eligible loan amount using required documents submitted. I understand, acknowledge, and
    agree that the Lender can share any tax information that I have provided with SBA’s authorized representatives, including authorized
    representatives of the SBA Office of Inspector General, for the purpose of compliance with SBA Loan Program Requirements and all SBA
    reviews.


    ___________________________________________
    Signature of Authorized Representative of Borrower                                                    Date 3/16/2021 9:13 PM




    Print Name: Simcha Hyman                                                                              Title Manager




                                                                                                                          USA-000625
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     Purpose of this form:

     This form is to be completed by the authorized representative of the Applicant and submitted to your SBA Participating Lender. Submission of the
     requested information is required to make a determination regarding eligibility for financial assistance. Failure to submit the information would
     affect that determination.

     Instructions for completing this form:

     With respect to “purpose of the loan,” payroll costs consist of compensation to employees (whose principal place of residence is the United States)
     in the form of salary, wages, commissions, or similar compensation; cash tips or the equivalent (based on employer records of past tips or, in the
     absence of such records, a reasonable, good-faith employer estimate of such tips); payment for vacation, parental, family, medical, or sick leave
     (except those paid leave amounts for which a credit is allowed under FFCRA Sections 7001 and 7003); allowance for separation or dismissal;
     payment for the provision of employee benefits (including insurance premiums) consisting of group health care coverage, group life, disability,
     vision, or dental insurance, and retirement benefits; payment of state and local taxes assessed on compensation of employees; and, for an
     independent contractor or sole proprietor, wage, commissions, income, or net earnings from self-employment or similar compensation.

     For purposes of calculating “Average Monthly Payroll,” most Applicants will use the average monthly payroll for 2019 or 2020, excluding costs
     over $100,000 on an annualized basis, as prorated for the period during which the payments are made or the obligation to make the payments is
     incurred, for each employee. For seasonal businesses, the Applicant may elect to instead use average total monthly payroll for any twelve-week
     period selected by the Applicant between February 15, 2019 and February 15, 2020, excluding costs over $100,000 on an annualized basis, as
     prorated for the period during which the payments are made or the obligation to make the payments is incurred, for each employee. For new
     businesses, average monthly payroll may be calculated using the time period from January 1, 2020 to February 29, 2020, excluding costs over
     $100,000 on an annualized basis, as prorated for the period during which the payments are made or the obligation to make the payments is incurred,
     for each employee. For farmers and ranchers that operate as a sole proprietorship or as an independent contractor, or who are eligible self-employed
     individuals and report farm income or expenses on a Schedule F (or any equivalent successor IRS form), payroll costs are computed using eligible
     payroll costs for employees, if any, plus the lesser of $100,000 and the difference between gross income and any eligible payroll costs for
     employees, as reported on a Schedule F. For Applicants that file IRS Form 1040, Schedule C, payroll costs are computed using line 31 net profit
     amount, limited to $100,000, plus any eligible payroll costs for employees. For Applicants that are partnerships, payroll costs are computed using
     net earnings from self-employment of individual general partners, as reported on IRS Form 1065 K-1, reduced by section 179 expense deduction
     claimed, unreimbursed partnership expenses claimed, and depletion claimed on oil and gas properties, multiplied by 0.9235, that is not more than
     $100,000, plus any eligible payroll costs for employees.

     For purposes of reporting Number of Employees, sole proprietors, self-employed individuals, and independent contractors should include
     themselves as employees (i.e., the minimum number in the box Number of Employees is one).

     For purposes of reporting Year of Establishment, self-employed individuals and independent contractors may enter “NA”.

     For purposes of reporting NAICS Code, applicants must match the business activity code provided on their IRS income tax filings, if applicable.

     If Applicant is refinancing an Economic Injury Disaster Loan (EIDL): Add the outstanding amount of an EIDL made between January 31, 2020 and
     April 3, 2020 to Loan Request as indicated on the form. Do not add the amount of any EIDL Advance.

     All parties listed below are considered owners of the Applicant, as well as “principals”:

         For a sole proprietorship, the sole proprietor;

         For a partnership, all general partners, and all limited partners owning 20% or more of the equity of the firm;

         For a corporation, all owners of 20% or more of the corporation;

         For limited liability companies, all members owning 20% or more of the company; and

         Any Trustor (if the Applicant is owned by a trust).

     Paperwork Reduction Act – You are not required to respond to this collection of information unless it displays a currently valid OMB Control
     Number. The estimated time for completing this application, including gathering data needed, is 8 minutes. Comments about this time or the
     information requested should be sent to: Small Business Administration, Director, Records Management Division, 409 3rd St., SW, Washington
     DC 20416, and/or SBA Desk Officer, Office of Management and Budget, New Executive Office Building, Washington DC 20503. PLEASE
     DO NOT SEND FORMS TO THESE ADDRESSES.


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                                                   Paycheck Protection Program Borrower                                          OMB Control No.: 3245-0407
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     Privacy Act (5 U.S.C. 552a) – Under the provisions of the Privacy Act, you are not required to provide your social security number. Failure to
     provide your social security number may not affect any right, benefit or privilege to which you are entitled. (But see Debt Collection Notice
     regarding taxpayer identification number below.) Disclosures of name and other personal identifiers are required to provide SBA with sufficient
     information to make a character determination. When evaluating character, SBA considers the person’s integrity, candor, and disposition toward
     criminal actions. Additionally, SBA is specifically authorized to verify your criminal history, or lack thereof, pursuant to section 7(a)(1)(B), 15
     U.S.C. Section 636(a)(1)(B) of the Small Business Act
     Disclosure of Information – Requests for information about another party may be denied unless SBA has the written permission of the
     individual to release the information to the requestor or unless the information is subject to disclosure under the Freedom of Information Act.
     The Privacy Act authorizes SBA to make certain “routine uses” of information protected by that Act. One such routine use is the disclosure of
     information maintained in SBA’s system of records when this information indicates a violation or potential violation of law, whether civil,
     criminal, or administrative in nature. Specifically, SBA may refer the information to the appropriate agency, whether Federal, State, local or
     foreign, charged with responsibility for, or otherwise involved in investigation, prosecution, enforcement or prevention of such violations.
     Another routine use is disclosure to other Federal agencies conducting background checks but only to the extent the information is relevant to
     the requesting agencies’ function. See, 74 F.R. 14890 (2009), and as amended from time to time for additional background and other routine
     uses. In addition, the CARES Act, requires SBA to register every loan made under the Paycheck Protection Program using the Taxpayer
     Identification Number (TIN) assigned to the borrower.
     Debt Collection Act of 1982, Deficit Reduction Act of 1984 (31 U.S.C. 3701 et seq. and other titles) – SBA must obtain your taxpayer
     identification number when you apply for a loan. If you receive a loan, and do not make payments as they come due, SBA may: (1) report the
     status of your loan(s) to credit bureaus, (2) hire a collection agency to collect your loan, (3) offset your income tax refund or other amounts due
     to you from the Federal Government, (4) suspend or debar you or your company from doing business with the Federal Government, (5) refer
     your loan to the Department of Justice, or (6) take other action permitted in the loan instruments.
     Right to Financial Privacy Act of 1978 (12 U.S.C. 3401) – The Right to Financial Privacy Act of 1978, grants SBA access rights to financial
     records held by financial institutions that are or have been doing business with you or your business including any financial institutions
     participating in a loan or loan guaranty. SBA is only required provide a certificate of its compliance with the Act to a financial institution in
     connection with its first request for access to your financial records. SBA’s access rights continue for the term of any approved loan guaranty
     agreement. SBA is also authorized to transfer to another Government authority any financial records concerning an approved loan or loan
     guarantee, as necessary to process, service or foreclose on a loan guaranty or collect on a defaulted loan guaranty.
     Freedom of Information Act (5 U.S.C. 552) – This law provides, with some exceptions, that SBA must supply information reflected in agency
     files and records to a person requesting it. Information about approved loans that is generally released includes, among other things, statistics
     on our loan programs (individual borrowers are not identified in the statistics) and other information such as the names of the borrowers, the
     amount of the loan, and the type of the loan. Proprietary data on a borrower would not routinely be made available to third parties. All requests
     under this Act are to be addressed to the nearest SBA office and be identified as a Freedom of Information request.

     Occupational Safety and Health Act (15 U.S.C. 651 et seq.) – The Occupational Safety and Health Administration (OSHA) can require
     businesses to modify facilities and procedures to protect employees. Businesses that do not comply may be fined and required to abate the
     hazards in their workplaces. They may also be ordered to cease operations posing an imminent danger of death or serious injury until employees
     can be protected. Signing this form is certification that the applicant, to the best of its knowledge, is in compliance with the applicable OSHA
     requirements, and will remain in compliance during the life of the loan.
     Civil Rights (13 C.F.R. 112, 113, 117) – All businesses receiving SBA financial assistance must agree not to discriminate in any business
     practice, including employment practices and services to the public on the basis of categories cited in 13 C.F.R., Parts 112, 113, and 117 of
     SBA Regulations. All borrowers must display the "Equal Employment Opportunity Poster" prescribed by SBA.
     Equal Credit Opportunity Act (15 U.S.C. 1691) – Creditors are prohibited from discriminating against credit applicants on the basis of race,
     color, religion, national origin, sex, marital status or age (provided the applicant has the capacity to enter into a binding contract); because all
     or part of the applicant’s income derives from any public assistance program; or because the applicant has in good faith exercised any right
     under the Consumer Credit Protection Act.
     Debarment and Suspension Executive Order 12549; (2 CFR Part 180 and Part 2700) – By submitting this loan application, you certify that
     neither the Applicant or any owner of the Applicant have within the past three years been: (a) debarred, suspended, declared ineligible or
     voluntarily excluded from participation in a transaction by any Federal Agency; (b) formally proposed for debarment, with a final determination
     still pending; (c) indicted, convicted, or had a civil judgment rendered against you for any of the offenses listed in the regulations or (d)
     delinquent on any amounts owed to the U.S. Government or its instrumentalities as of the date of execution of this certification.




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                                                  Paycheck Protection Program Borrower                                          OMB Control No.: 3245-0407
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                                          PPP Borrower Demographic Information Form (Optional)
     Instructions
     1. Purpose. Veteran/gender/race/ethnicity data is collected for program reporting purposes only.
     2. Description. This form requests information about each of the Borrower’s Principals. Add additional sheets if necessary.
     3. Definition of Principal. The term “Principal” means:
              For a self-employed individual, independent contractor, or a sole proprietor, the self-employed individual, independent contractor,
               or sole proprietor.
              For a partnership, all general partners and all limited partners owning 20% or more of the equity of the Borrower, or any partner that
               is involved in the management of the Borrower’s business.
              For a corporation, all owners of 20% or more of the Borrower, and each officer and director.
              For a limited liability company, all members owning 20% or more of the Borrower, and each officer and director.
              Any individual hired by the Borrower to manage the day-to-day operations of the Borrower (“key employee”).
              Any trustor (if the Borrower is owned by a trust).
              For a nonprofit organization, the officers and directors of the Borrower.
     4. Principal Name. Insert the full name of the Principal.
     5. Position. Identify the Principal’s position; for example, self-employed individual; independent contractor; sole proprietor; general partner;
        owner; officer; director; member; or key employee.


        Principal Name                                                         Position
         SIMCHA HYMAN                                                           Manager

                                        1=Non-Veteran;                         1=Non-Veteran
                                        2=Veteran;
                                        3=Service-Disabled
        Veteran
                                        Veteran; 4=Spouse
                                        of Veteran; X=Not
                                        Disclosed
                                        M=Male; F=Female;                      M=Male
        Gender
                                        X=Not Disclosed
                                        1=American Indian                      5=White
                                        or Alaska Native;
                                        2=Asian; 3=Black
                                        or African-
        Race
                                        American; 4=Native
                                        Hawaiian or Pacific
                                        Islander; 5=White;
                                        X=Not Disclosed
                                        H=Hispanic or                          N=Not Hispanic or Latino
                                        Latino; N=Not
        Ethnicity
                                        Hispanic or Latino;
                                        X=Not Disclosed




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               NOTE
                SBA Loan #             6580538609

                SBA Loan Name          PRINCETON KY OPCO LLC




                Date                   March 24, 2021


                Loan Amount            $368,400.00


                Interest Rate          1%

                Borrower               PRINCETON KY OPCO LLC




                                       N/A
                Operating
                Company


                Lender                 ConnectOne Bank



       1.      PROMISE TO PAY:

                      In return for the Loan, Borrower promises to pay to the order of Lender the amount of Three Hundred Sixty
                      Eight Thousand Four Hundred, interest on the unpaid principal balance, and all other amounts required by
                      this Note.


       2.      DEFINITIONS:

                      “Collateral” means any property taken as security for payment of this Note or any guarantee of this Note.
                      “Guarantor” means each person or entity that signs a guarantee of payment of this Note.
                      “Loan” means the loan evidenced by this Note.




                                                                                                          USA-000629
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                      “Loan Documents” means the documents related to this loan signed by Borrower, any Guarantor, or anyone
                      who pledges collateral.
                      “SBA” means the Small Business Administration, an Agency of the United States of America.
       3.      PAYMENT TERMS:
               Borrower must make all payments at the place Lender designates. The payment terms for this Note are:

                 Maturity: This Note will mature in 5 years from the date of initial disbursement.


                 Repayment Terms:

                 PAYMENT SCHEDULE. Beginning one month from the date of the Note and continuing for 5 months thereafter
                 (total of 6 months from the date of the Note) payments of $0 shall be due. Beginning 7 months from the date of
                 this Note, unless extended by Lender in its sole discretion under the terms of the PPP, and continuing the same
                 day of each month thereafter, payments of principal and interest shall be due on the outstanding principal
                 balance of the Note [subject to any amount of forgiveness approved the SBA]. The monthly principal and
                 interest payment will be calculated based on a 54 month amortization. The unpaid principal balance of this
                 Note, together with all accrued interest and charges owing in connection therewith, shall be due and payable on
                 the Maturity Date.



                 The interest rate is 1.00% per year.

                 Lender will apply each installment payment first to pay interest accrued to the day Lender receives the
                 payment, then to bring principal current, then to pay any late fees, and will apply any remaining balance to
                 reduce principal.

                 Loan Prepayment:

                 Notwithstanding any provision in this Note to the contrary:

                 Borrower may prepay this Note. Borrower may prepay 20 percent or less of the unpaid principal balance at
                 any time without notice. If Borrower prepays more than 20 percent and the Loan has been sold on the
                 secondary market, Borrower must:
                        A.     Give Lender written notice;
                        B.     Pay all accrued interest; and
                        C. If the prepayment is received less than 21 days from the date Lender receives the notice, pay an
                           amount equal to 21 days' interest from the date lender receives the notice, less any interest accrued
                           during the 21 days and paid under subparagraph b., above.

                 If Borrower does not prepay within 30 days from the date Lender receives the notice, Borrower must give
                 Lender a new notice.

                 All remaining principal and accrued interest is due and payable 2 years from date of initial disbursement.




       4.      DEFAULT:




                                                                                                           USA-000630
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                      Borrower is in default under this Note if Borrower does not make a payment when due under this Note, or if
                      Borrower or Operating Company:

                      A.     Fails to do anything required by this Note and other Loan Documents;
                      B.     Defaults on any other loan with Lender;
                      C.     Does not preserve, or account to Lender’s satisfaction for, any of the Collateral or its proceeds;
                      D.     Does not disclose, or anyone acting on their behalf does not disclose, any material fact to Lender or
                             SBA;
                      E.     Makes, or anyone acting on their behalf makes, a materially false or misleading representation to
                             Lender or SBA;
                      F.     Defaults on any loan or agreement with another creditor, if Lender believes the default may materially
                             affect Borrower’s ability to pay this Note;
                      G.     Fails to pay any taxes when due;
                      H.     Becomes the subject of a proceeding under any bankruptcy or insolvency law;
                      I.     Has a receiver or liquidator appointed for any part of their business or property;
                      J.     Makes an assignment for the benefit of creditors;
                      K.     Has any adverse change in financial condition or business operation that Lender believes may
                             materially affect Borrower’s ability to pay this Note;
                      L.     Reorganizes, merges, consolidates, or otherwise changes ownership or business structure without
                             Lender’s prior written consent; or
                      M. Becomes the subject of a civil or criminal action that Lender believes may materially affect Borrower’s
                         ability to pay this Note.



       5.      LENDER’S RIGHTS IF THERE IS A DEFAULT:

                      Without notice or demand and without giving up any of its rights, Lender may:

                      A.     Require immediate payment of all amounts owing under this Note;
                      B.     Collect all amounts owing from any Borrower or Guarantor;
                      C.     File suit and obtain judgment;
                      D.     Take possession of any Collateral; or
                      E.     Sell, lease, or otherwise dispose of, any Collateral at public or private sale, with or without
                             advertisement.



       6.      LENDER’S GENERAL POWERS:

                      Without notice and without Borrower’s consent, Lender may:
                      A.     Bid on or buy the Collateral at its sale or the sale of another lienholder, at any price it chooses;




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                      B.     Incur expenses to collect amounts due under this Note, enforce the terms of this Note or any other
                             Loan Document, and preserve or dispose of the Collateral. Among other things, the expenses may
                             include payments for property taxes, prior liens, insurance, appraisals, environmental remediation
                             costs, and reasonable attorney’s fees and costs. If Lender incurs such expenses, it may demand
                             immediate repayment from Borrower or add the expenses to the principal balance;
                      C.     Release anyone obligated to pay this Note;
                      D.     Compromise, release, renew, extend or substitute any of the Collateral; and
                      E.     Take any action necessary to protect the Collateral or collect amounts owing on this Note.



       7.      WHEN FEDERAL LAW APPLIES:

                      When SBA is the holder, this Note will be interpreted and enforced under federal law, including SBA
                      regulations. Lender or SBA may use state or local procedures for filing papers, recording documents, giving
                      notice, foreclosing liens, and other purposes. By using such procedures, SBA does not waive any federal
                      immunity from state or local control, penalty, tax, or liability. As to this Note, Borrower may not claim or
                      assert against SBA any local or state law to deny any obligation, defeat any claim of SBA, or preempt
                      federal law.



       8.      SUCCESSORS AND ASSIGNS:

                      Under this Note, Borrower and Operating Company include the successors of each, and Lender includes its
                      successors and assigns.



       9.      GENERAL PROVISIONS:

                      A.     All individuals and entities signing this Note are jointly and severally liable.
                      B.     Borrower waives all suretyship defenses.
                      C.     Borrower must sign all documents necessary at any time to comply with the Loan Documents and to
                             enable Lender to acquire, perfect, or maintain Lender’s liens on Collateral.
                      D.     Lender may exercise any of its rights separately or together, as many times and in any order it
                             chooses. Lender may delay or forgo enforcing any of its rights without giving up any of them.
                      E.     Borrower may not use an oral statement of Lender or SBA to contradict or alter the written terms of this
                             Note.
                      F.     If any part of this Note is unenforceable, all other parts remain in effect.
                      G.     To the extent allowed by law, Borrower waives all demands and notices in connection with this Note,
                             including presentment, demand, protest, and notice of dishonor. Borrower also waives any defenses
                             based upon any claim that Lender did not obtain any guarantee; did not obtain, perfect, or maintain a
                             lien upon Collateral; impaired Collateral; or did not obtain the fair market value of Collateral at a sale.




                                                                                                                  USA-000632
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        10. STATE-SPECIFIC PROVISIONS:
            The following provision applies when a borrower is a resident of WISCONSIN: Each Borrower who is married
            represents that this obligation is incurred in the interest of his or her marriage or family.

              The following Confession of Judgment provision applies when a borrower is a resident of DELAWARE: WARRANT
              OF ATTORNEY/CONFESSION OF JUDGMENT. In addition to any other remedies Lender may possess,
              Borrower knowingly, voluntarily and intentionally authorizes any attorney to appear on behalf of Borrower,
              from time to time, in any court of record possessing jurisdiction over this Note and to waive issuance and
              service of process and to confess judgment in favor of Lender against Borrower, for the unpaid principal,
              accrued interest, accrued charges, reasonable attorney fees and court costs and such other amount due
              under this Note.

              The following Confession of Judgment provision applies when a borrower is a resident of MARYLAND: WARRANT
              OF ATTORNEY/CONFESSION OF JUDGMENT. Borrower authorizes an attorney to appear in a court of
              record and confess judgment, without process, against Borrower in favor of Lender for all indebtedness
              owed in connection with the loan, including but not limited to service charges, other charges and
              reasonable attorney's fees.

              The following Confession of Judgment provision applies when a borrower is a resident of OHIO: WARRANT OF
              ATTORNEY/CONFESSION OF JUDGMENT. In addition to any other remedies Lender may possess,
              Borrower knowingly, voluntarily and intentionally authorizes any attorney to appear on behalf of Borrower,
              from time to time, in any court of record possessing jurisdiction over this Note and to waive issuance and
              service of process and to confess judgment in favor of Lender against Borrower, for the unpaid principal,
              accrued interest, accrued charges, reasonable attorney fees and court costs and such other amount due
              under this Note. WARNING: BY SIGNING THIS PAPER YOU GIVE UP YOUR RIGHT TO NOTICE AND COURT
              TRIAL. IF YOU DO NOT PAY ON TIME, A COURT JUDGMENT MAY BE TAKEN AGAINST YOU WITHOUT
              YOUR PRIOR KNOWLEDGE AND THE POWERS OF THE COURT CAN BE USED TO COLLECT FROM YOU
              REGARDLESS OF ANY CLAIMS YOU MAY HAVE AGAINST THE CREDITOR WHETHER FOR RETURNED
              GOODS, FAULTY GOODS, FAILURE ON HIS PART TO COMPLY WITH THE AGREEMENT OR ANY OTHER
              CAUSE.

              The following Confession of Judgment provision applies when a borrower is a resident of PENNSYLVANIA:
              WARRANT OF ATTORNEY/CONFESSION OF JUDGMENT. Borrower irrevocably authorizes and empowers
              the prothonotary, any attorney or any clerk of any court of record, upon default, to appear for and confess
              judgment against Borrower for such sums as are due and/or may become due under this Note including
              costs of suit, without stay of execution, and for attorney's fees and costs as set forth in this Note and
              knowingly, voluntarily and intentionally waives any and all rights Borrower may have to notice and hearing
              under the state and federal laws prior to entry of a judgment. To the extent permitted by law, Borrower
              releases all errors in such proceedings. If a copy of this Note, verified by or on behalf of the holder shall
              have been filed in such action, it shall not be necessary to file the original Note as a warrant of attorney.
              The authority and power to appear for and confess judgment against Borrower shall not be exhausted by
              the initial exercise thereof and may be exercised as often as the holder shall find it necessary and desirable
              and this Note shall be a sufficient warrant for such authority and power.

              The following Confession of Judgment provision applies when a borrower is a resident of VIRGINIA: IMPORTANT
              NOTICE: THIS INSTRUMENT CONTAINS A CONFESSION OF JUDGMENT PROVISION WHICH
              CONSTITUTES A WAIVER OF IMPORTANT RIGHTS YOU MAY HAVE AS A DEBTOR AND ALLOWS
              CREDITOR TO OBTAIN A JUDGMENT AGAINST YOU WITHOUT ANY FURTHER NOTICE. WARRANT OF
              ATTORNEY/CONFESSION OF JUDGMENT.




                                                                                                    USA-000633
                  SBA Form
                      Case 147 1:23-cv-00129-MR
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  SBA 7A Promissory Note - DL4044                              Page 5 of 7
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              In addition to any other remedies Lender may possess, Borrower knowingly, voluntarily, and intentionally
              authorizes Lender to appear on behalf of Borrower, from time to time, in any court in Virginia having
              jurisdiction over this Note and to waive issuance and service of process and to confess judgment in favor
              of Lender against Borrower, for the unpaid principal, accrued interest, accrued charges, reasonable
              attorney fees and court costs and such other amount due under this Note.

              The following Oral Agreements Disclaimer provision applies when the borrower is a resident of MISSOURI: Oral
              or unexecuted agreements or commitments to loan money, extend credit or to forbear from enforcing
              repayment of a debt including promises to extend or renew such debt are not enforceable, regardless of
              the legal theory upon which it is based that is in any way related to the credit agreement. To protect you
              (Borrowers(s)) and us (Creditor) from misunderstanding or disappointment, any agreements we reach
              covering such matters are contained in this writing, which is the complete and exclusive statement of the
              agreement between us, except as we may later agree in writing to modify it.

              The following Oral Agreements Disclaimer provision applies when the borrower is a resident of OREGON: UNDER
              OREGON LAW, MOST AGREEMENTS, PROMISES AND COMMITMENTS MADE BY [BENEFICIARY]/ US
              CONCERNING LOANS AND OTHER CREDIT EXTENSIONS WHICH ARE NOT FOR PERSONAL, FAMILY, OR
              HOUSEHOLD PURPOSES OR SECURED SOLELY BY GRANTOR'S/ BORROWER'S RESIDENCE MUST BE
              IN WRITING, EXPRESS CONSIDERATION AND BE SIGNED BY [AN AUTHORIZED REPRESENTATIVE OF
              BENEFICIARY]/US TO BE ENFORCEABLE.

              The following Oral Agreements Disclaimer provision applies when the borrower is a resident of WASHINGTON:
              Oral agreements or oral commitments to loan money, extend credit, or to forbear from enforcing repayment
              of a debt are not enforceable under Washington law.

              The following provision applies when the borrower is a resident of ALASKA: The Mortgagor or Trustor (Borrower)
              is personally obligated and fully liable for the amount due under the Note. The Mortgagee or Beneficiary
              (Lender) has the right to sue on the Note and obtain a personal judgment against the Mortgagor or Trustor
              for the satisfaction of the amount due under the Note either before or after a judicial foreclosure of the
              Mortgage or Deed of Trust as under AS 09.45.170-09.45.220.

              The following Oral Agreements Disclaimer provision applies when the borrower is a resident of IOWA:
              IMPORTANT: READ BEFORE SIGNING. The terms of this agreement should be read carefully because only
              those terms in writing are enforceable. No other terms or oral promises not contained in this written
              contract may be legally enforced. You may change the terms of this agreement only by another written
              agreement.

              The following Oral Agreements Disclaimer provision applies when the borrower is a resident of UTAH: This is a
              final expression of the agreement between the creditor and debtor and the written agreement may not be
              contradicted by evidence of any alleged oral agreement.

              The following provision applies for all states, to the extent permitted by law:
              WAIVER OF JURY TRIAL. To the fullest extent permitted by law, all parties to this Note hereby knowingly
              and voluntarily waive any right to trial by jury of any dispute, whether in contract, tort, or otherwise, arising
              out of, in connection with, related to, or incidental to the relationship established between them in this Note
              or any other instrument, document, or agreement executed or delivered in connection with this Note.




                                                                                                      USA-000634
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       11. BORROWER’S NAME(S) AND SIGNATURE(S):
               By signing below, each individual or entity becomes obligated under this Note as Borrower.



                PRINCETON KY OPCO LLC




                SIMCHA HYMAN, Member



                NAFTALI ZANZIPER, Member




                                                                                                      USA-000635
                  SBA Form
                      Case 147 1:23-cv-00129-MR
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      RESOLUTION                                                                                        ConnectOne Bank
      LIMITED LIABILITY COMPANY                                                                        301 Sylvan Avenue
                                                                                       Englewood Cliffs, New Jersey 07632
                                                                                                            (201)816-8900




                          SBA LOAN NUMBER                               RESOLUTION DATE                           PRINCIPAL AMOUNT

                             6580538609                                     3/24/2021                                 $368,400.00


      LIMITED LIABILITY COMPANY INFORMATION


      PRINCETON KY OPCO LLC
      1333 W MAIN ST,
      PRINCETON,KY, 42445


      By signing below, I certify to ConnectOne Bank ("Lender") that: I am duly authorized by the members of the above named for profit Limited
      Liability Company ("Company") to manage this Company validly organized and operating under the laws of the Kentucky, and its articles were
      filed at the appropriate governmental office on 8/20/2019; the following is a true and complete copy of the Resolution, properly adopted at a duly
      called meeting held on 3/24/2021 by a quorum of all members as provided in the articles or certificate of organization or operating agreement;
      this Resolution is contained in the minutes of that meeting and that such Resolution is still in force and effect and has not been amended or
      rescinded, was and still is in accordance with the articles or certificate of organization or operating agreement of the Company; provided below
      are the correct titles and names and the genuine signatures of the persons authorized to exercise the powers provided in the Resolution ("Authorized
      Signers"); I have provided the Lender with a true and complete copy of the articles or certificate of organization or operating agreement as in
      effect as of the date of this Resolution; and that I have the power and authority to make this certification and to execute this Resolution.
      IT IS RESOLVED:
      The Authorized Signers shall possess the powers indicated as contained in this Resolution. Each power has a designated Authority Code
      that indicates the powers available to each Authorized Signer.

                    NAME/TITLE                                       SIGNATURE                               AUTHORITY CODE/LIMITATIONS

      SIMCHA HYMAN, Member                                                                            L1, L2, L3, L4, L5, L6, L7, L8



      NAFTALI ZANZIPER, Member                                                                        L1, L2, L3, L4, L5, L6, L7, L8




             BORROW MONEY. [Authority Code - L1] As in their judgment, to borrow from time to time from Lender, on such terms as may be
             agreed upon between the Company and Lender, such sum or sums of money without limitation. Number of signers required: 1
             EXECUTE NOTES. [Authority Code - L2] To execute and deliver to Lender the promissory note(s), or other evidence of credit
             accommodations of the Corporation, on Lender's forms, at such rates of interest and on such terms as may be agreed upon evidencing the
             sums of money so borrowed or any indebtedness of the Corporation to Lender, and also to execute and deliver to Lender one or more
             renewals, extensions, modifications, refinancing, consolidations, or substitutions for one or more of the notes, any portion of the notes, or
             any other evidence of credit accommodations. Number of signers required: 1
             GRANT SECURITY. [Authority Code - L3] To mortgage, pledge, transfer, endorse, hypothecate, or otherwise encumber and deliver to
             Lender, as security for the payment of any loans or credit accommodations so obtained, any promissory notes so executed including any
             amendments to or modifications, renewals, and extensions of such promissory notes, or any other or further indebtedness of the Corporation
             or any third party to Lender at any time owing, however the same may be evidenced, any property now or hereafter belonging to the
             Corporation or in which the Corporation now or hereafter may have an interest, including without limitation all real property and all
             personal property (tangible or intangible) of the Corporation. Such property may be mortgaged, pledged, transferred, endorsed,
             hypothecated, or encumbered at the time such loans are obtained or such indebtedness is incurred, or at any other time or times, and may
             be either in addition or in lieu of any property theretofore mortgaged, pledged, transferred, endorsed, hypothecated, or encumbered.
             Number of signers required: 1
             EXECUTE SECURITY DOCUMENTS. [Authority Code - L4] To execute and deliver to Lender the forms of mortgage, deed of trust,
             pledge, agreement, hypothecation agreement, and other security agreements and financing statements which may be submitted by Lender,
             and which shall evidence the terms and conditions under and pursuant to which liens and encumbrances, or any of them are given; and also
             to execute and deliver to Lender any authorizations and other written instruments, any chattel paper, or any other collateral, of any kind or
             nature, which they may at their discretion deem reasonably necessary or proper in connection with or pertaining to the giving and perfecting
             of liens and encumbrances. Number of signers required: 1
             NEGOTIATE ITEMS. [Authority Code - L5] To draw, endorse, and discount with Lender all drafts, trade acceptances, promissory
             notes, or other evidences of indebtedness payable to or belonging to the Corporation in which the Corporation may have an interest, and
             either to receive cash for the same or to cause such proceeds to be credited to the account of the Corporation with Lender, or to cause such
             other disposition of the proceeds derived therefrom as they may deem advisable.
             Number of signers required: 1
             ADVANCE UNDER LINE OF CREDIT. [Authority Code - L6] In the case of lines of credit, to designate additional or alternative
             individuals as being authorized to request advances thereunder, and in all cases, to perform such other acts and things, to pay any and all
             fees and costs, and to execute and deliver such other documents and agreements, (including agreements waiving the right to a trial by jury)
             as they may in their discretion deem reasonably necessary or proper in order to carry into effect the provisions of these Resolutions. The
             person indicated herein are currently authorized to request advances and authorize payments under the line of credit until Lender receives
             written notice or revocation of their authority. Number of signers required: 1

             GUARANTEE INDEBTEDNESS. [Authority Code - L7] To give the guarantee of this Corporation for the debts of the Guaranteed
             Borrower to Lender, from time to time, on Lender's forms and upon such terms as this Corporation, Guaranteed Borrower, and Lender may
             deem necessary.
                                                                                                                         USA-000636
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            Number of signers required: 1
            ENTER INTO LEASE AGREEMENTS. [Authority Code - L8] To enter into any form of personal property or fixture lease with Lender,
            upon such terms as this Corporation and Lender may agree. Number of signers required: 1


      IT IS FURTHER RESOLVED THAT:
            AUTHORIZED SIGNER'S POWERS. Authorized Signers are authorized to make any and all other contracts, agreements, stipulations,
            and orders which the Authorized Signers may deem advisable for the effective exercise of their powers.
            SIGNATURES. The Lender shall be indemnified and held harmless by the Company for any claims, expenses, damages or attorney fees
            resulting from the honoring of any signature, authorized by this Resolution, or refusing to honor any signature not so authorized, regardless
            of whether or not such signature was genuine, if such signature reasonably resembles the specimen provided to the Lender. The Lender
            shall also be permitted to rely upon non-signature security and verification codes which it provides to or receives from an Authorized Signer
            and shall be indemnified and held harmless by the Company for any claims, expenses, damages or attorney fees resulting from their use.
            IMPROPER ENDORSEMENT. Any negotiable instrument, check, draft, or order for the payment of moneys not clearly endorsed by the
            Authorized Signer may be returned to the Company by the Lender. The Lender, in its sole discretion, alternatively may endorse on behalf
            of the Company any negotiable instrument, check, draft, or order for the payment of money not clearly endorsed in order to facilitate
            collection. Lender shall have no liability for any delay in the presentment or return of any negotiable instrument, check, draft, or order for
            the payment of money which is not properly endorsed.
            DISPOSITION OF FUNDS. When withdrawal or transfer powers are granted to an Authorized Signer, the Lender is directed and
            authorized to act upon and honor withdrawal or transfer instructions issued and to honor, pay, transfer from and charge to any depository
            account(s) of the Company, all negotiable instruments, checks, drafts, or orders for the payment of money so drawn when signed consistent
            with the Resolution without inquiring as to the disposition of the proceeds or the circumstances surrounding the issuance of the negotiable
            instrument, check or order for the payment of money involved, whether such negotiable instruments, checks, drafts, or orders for the
            payment of money are payable to the order of, or endorsed or negotiated by any Authorized Signer signing them or any Authorized Signer
            in their individual capacities or not, and whether they are deposited to the individual credit of or tendered in payment of the individual
            obligation or account of any Authorized Signer signing them or of any other Authorized Signer.
            PRIOR ENDORSEMENTS. All negotiable instruments, checks, drafts, or orders for the payment of money deposited with prior
            endorsements are guaranteed by the Company.
            PRE-RESOLUTION TRANSACTIONS. All actions by Authorized Signers in accordance with this Resolution but before the adoption
            of this Resolution are approved, ratified, adopted and confirmed by the Company.
            WARRANTY. The Lender may rely upon the certification as to the authority of the Company to execute this Resolution and make the
            representations in this Resolution.
            NOTIFICATION OF CHANGES. The Company shall notify Lender in writing at its address shown above in advance of any changes
            which would affect the validity of any matter certified in this Resolution.
            REVOCATION AND MODIFICATION. An act ("Act") to modify, terminate, amend or replace this Resolution will not immediately
            affect the ability of the Lender to rely upon this Resolution. The Act shall not affect any action by the Lender in reliance on this Resolution
            before the date the Act becomes effective as set forth in the next sentence. An Act will not become effective until all of the following occur:
            (a) Lender receives written notification of the Act in form and substance satisfactory to Lender and (b) the Lender has had a reasonable
            period of time to act upon such notification. Until the Act is effective, this Resolution shall remain in full force and bind the Company, its
            legal representatives, heirs, successors and assigns.

            FACSIMILE SIGNATURES. The Lender shall be entitled to honor and charge the Company for all such negotiable instrument, checks,
            drafts, or other orders for payment of money drawn in the name of the Company, on its regular accounts, including an order for electronic
            debit, whether by electronic tape or otherwise, regardless of by whom or by what means facsimile signatures or other non-manual signature
            (collectively, "Facsimile Signatures") may have been affixed, or electronically communicated, if such Facsimile Signatures resembles the
            specimens duly certified to or filed with the Lender for any of the named Authorized Signers, regardless of whether any misuse is with or
            without the negligence of the Company. The Company agrees that the duty of maintaining the security of any such Facsimile Signatures
            or device by which it is affixed is solely that of the Company.
      IN WITNESS WHEREOF, we have hereunto subscribed our names as Members and hereby acknowledge that the above Authorized
      Signers have authority to exercise the powers provided in this Resolution on 3/24/2021.




                                                3/24/2021                                                                            3/26/2021

        SIMCHA HYMAN, Member                                 Date                         NAFTALI ZANZIPER, Member                                 Date




                                                                                                                         USA-000637
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                                                                                                                  OMB Control No.: 3245-0407
                                                                                                                    Expiration Date: 01/31/2022
                                                   Paycheck Protection Program
                              PPP Loan Forgiveness Application Form 3508EZ Revised July 30, 2021


                         Business Legal Name (“Borrower”)                                 DBA or Tradename, if applicable
  PRINCETON KY OPCO LLC
                          Business Address                      NAICS Code      Business TIN (EIN, SSN)              Business Phone
1333 W MAIN ST                                                     623110                                     2019287807
PRINCETON, KY 42445                                                                Primary Contact                   E-mail Address
                                                                             SIMCHA HYMAN                    simcha@theportopiccologro
                                                                                                             up.com

First Draw PPP Loan  Second Draw PPP Loan (check one)
SBA PPP Loan Number: 6580538609                             Lender PPP Loan Number: 43936300100


PPP Loan Amount: $368,400.00                                PPP Loan Disbursement Date: 3/24/2021
Amount of PPP Loan Increase (if applicable): $ Date of PPP Loan Increase (if applicable):


Employees at Time of Loan Application: 100                  Employees at Time of Forgiveness Application: 84


Covered Period: 3/24/2021 to 9/8/2021


Forgiveness Amount Calculation:

Payroll and Nonpayroll Costs
Line 1. Payroll Costs:                                                                                 $466,284.73


Line 2. Business Mortgage Interest Payments:                                                              $144,800.00

Line 3. Business Rent or Lease Payments:                                                                  $0.00

Line 4. Business Utility Payments:                                                                        $0.00


Line 5. Covered Operations Expenditures:                                                              $0.00

Line 6. Covered Property Damage Costs:                                                                 $0.00

Line 7. Covered Supplier Costs:                                                                           $0.00

Line 8. Covered Worker Protection Expenditures:                                                           $0.00

Potential Forgiveness Amounts
Line 9. Sum the amounts on lines 1 through 8:                                                             $611,084.73

Line 10. PPP Loan Amount:                                                                                 $368,400.00

Line 11.   Payroll Cost 60% Requirement (divide Line 1 by 0.60):                                          $777,141.22

Forgiveness Amount
Line 12. Forgiveness Amount (enter the smallest of Lines 9, 10, and 11):                                  $368,400.00

                                                                                                        USA-000638
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                                                                                                                     OMB Control No.: 3245-0407
                                                                                                                       Expiration Date: 1/31/2022
                                                     Paycheck Protection Program
                                PPP Loan Forgiveness Application Form 3508EZ Revised July 30, 2021

                                       PPP Borrower Demographic Information Form (Optional)

Instructions

      1.   Purpose. Veteran/gender/race/ethnicity data is collected for program reporting purposes only.
      2.   Description. This form requests information about each of the Borrower’s Principals. Add additional sheets if necessary.
      3.   Definition of Principal. The term “Principal” means:
           • For a self-employed individual, independent contractor, or a sole proprietor, the self-employed individual, independent
               contractor, or sole proprietor.
           • For a partnership, all general partners and all limited partners owning 20% or more of the equity of the Borrower, or any
               partner that is involved in the management of the Borrower’s business.
           • For a corporation, all owners of 20% or more of the Borrower, and each officer and director.
           • For a limited liability company, all members owning 20% or more of the Borrower, and each officer and director.
           • Any individual hired by the Borrower to manage the day-to-day operations of the Borrower (“key employee”).
           • Any trustor (if the Borrower is owned by a trust).
           • For a nonprofit organization, the officers and directors of the Borrower.
      4.   Principal Name. Insert the full name of the Principal.
      5.   Principal Position. Identify the Principal’s position; for example, self-employed individual; independent contractor; sole
           proprietor; general partner; owner; officer; director; member; or key employee.

 Principal Name                                                            Principal Position
SIMCHA HYMAN
 Veteran           1=Non-Veteran; 2=Veteran; 3=Service-Disabled Veteran; 4=Spouse of Veteran; X=Not
                   Disclosed
 Gender            M=Male; F=Female; X=Not Disclosed
 Race (more than 1 1=American Indian or Alaska Native; 2=Asian; 3=Black or African-American; 4=Native
 may be selected) Hawaiian or Pacific Islander; 5=White; X=Not Disclosed
 Ethnicity         H=Hispanic or Latino; N=Not Hispanic or Latino; X=Not Disclosed


                             Disclosure is voluntary and will have no bearing on the loan forgiveness decision


 By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
 The Authorized Representative of the Borrower certifies to all of the below by initialing next to each one. The terms “payroll” and
 “payroll costs” as used in the below certifications include proprietor expenses (business expenses plus owner compensation) for
 Borrowers that applied for loans using SBA Form 2483-C or 2483-SD-C.
 SH        The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
                   • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage
                       interest payments; business rent or lease payments; business utility payments; covered operations expenditures;
                       covered property damage costs; covered supplier costs; or covered worker protection expenditures);
                   • includes payroll costs equal to at least 60% of the forgiveness amount; and
                   • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner, does
                       not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan amount,
                       capped at $20,833 per individual in total across all businesses.
SH         I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery of
              loan amounts and/or civil or criminal fraud charges.
SH         The Borrower did not reduce salaries or hourly wages of any employee by more than 25 percent for any employee during the
              Covered Period compared to the most recent quarter before the Covered Period. For purposes of this certification, the term
              “employee” includes only those employees that did not receive, during any single period during 2019, wages or salary at an
              annualized rate of pay in an amount more than $100,000.
SH          The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
              requesting forgiveness.
SH         I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service (as
              applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease payments,
                                                                                                            USA-000639
SBA Form 3508EZ
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                                                                                                                   Expiration Date: 1/31/2022
                                                 Paycheck Protection Program
                             PPP Loan Forgiveness Application Form 3508EZ Revised July 30, 2021
            business utility payments, covered operations expenditures, covered property damage costs, covered supplier costs, and
            covered worker protection expenditures.
 SH      If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts on
            eligible expenses prior to disbursement of the Second Draw PPP Loan.
 SH      The information provided in this application and the information provided in all supporting documents and forms is true and
            correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an SBA-
            guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years
            and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more
            than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not more than
            thirty years and/or a fine of not more than $1,000,000.
 SH      The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has submitted or
            will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the Lender
            can share the tax information with SBA’s authorized representatives, including authorized representatives of the SBA
            Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA reviews.
 SH      I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
            Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
            requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
            Borrower’s loan forgiveness application.
In addition, the Authorized Representative of the Borrower must certify by initialing at least ONE of the following two items:
SH          The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020 and
            the end of the Covered Period (other than any reductions that arose from an inability to rehire individuals who were
            employees on February 15, 2020, if the Borrower was unable to hire similarly qualified employees for unfilled positions on
            or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, before the last day of the Covered Period),
            and reductions in an employee’s hours that a borrower offered to restore and were refused).
 SH         The Borrower was unable to operate between February 15, 2020, and the end of the Covered Period at the same level of
            business activity as before February 15, 2020 due to compliance with requirements established or guidance issued between
            March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or
            guidance issued before the last day of the Covered Period), by the Secretary of Health and Human Services, the Director of
            the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
            maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
            COVID-19.
The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
determines that the Borrower was ineligible for the PPP loan.




                                                                                                        USA-000640
SBA Form 3508EZ
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                                                                                                  Expiration Date: 1/31/2022
                                              Paycheck Protection Program
                           PPP Loan Forgiveness Application Form 3508EZ Revised July 30, 2021

Simcha Hyman
Signature of Authorized Representative of Borrower                             Date 7/8/2022
Simcha Hyman
Print Name                                                                     Title




                                                                                             USA-000641
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                                                        Paycheck Protection Program
                                PPP Loan Forgiveness Application Form 3508EZ Revised July 30, 2021




Paperwork Reduction Act – You are not required to respond to this collection of information unless it displays a currently valid OMB Control
Number. The estimated time for completing this application, including gathering data needed, is 30 minutes. Comments about this time or the
information requested should be sent to Small Business Administration, Director, Records Management Division, 409 3rd St., SW, Washington DC
20416, and/or SBA Desk Officer, Office of Management and Budget, New Executive Office Building, Washington DC 20503. PLEASE DO NOT
SEND FORMS TO THESE ADDRESSES.
                              LOAN FORGIVENESS APPLICATION FORM 3508EZ INSTRUCTIONS FOR BORROWERS

                                                         Checklist for Using SBA Form 3508EZ

  You (the Borrower) can apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) Loan using this SBA
  Form 3508EZ if your PPP loan amount is more than $150,000 and you can check at least one of the two boxes below. If your loan
  amount is $150,000 or less, please use SBA Form 3508S. Do not submit this Checklist with your SBA Form 3508EZ. Each PPP loan
  must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness of both a First Draw PPP Loan
  and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must submit a loan forgiveness application for
  your First Draw PPP Loan before or simultaneously with the loan forgiveness application for your Second Draw PPP Loan, even if the
  calculated amount of forgiveness on your First Draw PPP Loan is zero.
                 The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the
                  Covered Period compared to the most recent full quarter before the Covered Period. (For purposes of this
                  statement, “employees” means only those employees that did not receive, during any single period during 2019,
                  wages or salary at an annualized rate of pay in an amount more than $100,000.);
                                                AND
                  The Borrower did not reduce the number of employees or the average paid hours of employees between January
                  1, 2020 and the end of the Covered Period.
                       • Ignore reductions that arose from an inability to rehire individuals who were employees on February
                           15, 2020 if the Borrower was unable to hire similarly qualified employees for unfilled positions on or
                           before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of the
                           Covered Period).
                       • Also ignore reductions in an employee’s hours that the Borrower offered to restore and the employee
                           refused. See 85 FR 33004, 33007 (June 1, 2020) for more details.
                    -------------------------------------------------------------------------------------------------------
                 The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the
                  Covered Period compared to the most recent full quarter before the Covered Period. (For purposes of this
                  statement, “employees” means only those employees that did not receive, during any single period during 2019,
                  wages or salary at an annualized rate of pay in an amount more than $100,000,);
                                                AND
                                                                                                                         USA-000642
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                                                 Paycheck
                The Borrower was unable to operate            Protection
                                                      during the          Program
                                                                 Covered Period  at the same level of business activity as before
                February 15,PPP  Loan
                              2020, dueForgiveness
                                        to complianceApplication   Form 3508EZ
                                                        with requirements         Revised
                                                                          established       July 30,issued
                                                                                       or guidance    2021 between March 1, 2020
                and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance
                issued between March 1, 2020 and the last day of the Covered Period) by the Secretary of Health and Human
                Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
                Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or
                customer safety requirement related to COVID-19.


 If you can check at least one of the two boxes above, complete this SBA Form 3508EZ in accordance with the instructions below, and
 submit it to your Lender (or the Lender that is servicing your loan). Borrowers may also complete this application electronically
 through their Lender. If your loan is for more than $150,000 and you are unable to check one of the boxes above, you cannot use SBA
 Form 3508EZ and instead you must apply for forgiveness of your PPP loan using SBA Form 3508.

 If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is required to
 submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the Lender not later than 30 days
 after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on January 6, 2021 (86 FR
 3692).



                               Instructions for PPP Loan Forgiveness Calculation Form 3508EZ

 Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN, ITIN): Enter the same
 information as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, SBA Form 2483-C, SBA Form 2483-
 SD-C, or lender’s equivalent).

 Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
 Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
 Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.




                                                                                                       USA-000643
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                                                                                                                            P t ti
 First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
 for. If you only have one PPP loan, select First Draw PPP Loan.

 SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
 Lender if necessary.

 Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

 PPP Loan Amount: Enter the original disbursed principal amount of the PPP loan (the original loan amount you received from
 the Lender).

 PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
 received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized increase
 on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original disbursement of
 your PPP loan proceeds.

 Amount of PPP Loan Increase: Enter the disbursed amount of an authorized increase on your First Draw PPP Loan received
 after December 27, 2020 (if applicable).

 Date of PPP Loan Increase: Enter the date that you received the proceeds of the authorized increase on your First Draw PPP
 Loan from the Lender (if applicable).

 Employees at Time of Loan Application: Enter the total number of employees (including owners/partners) at the time of the
 PPP loan application.

 Employees at Time of Forgiveness Application: Enter the total number of employees (including owners/partners) at the time the
 Borrower is applying for loan forgiveness.

 Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
 Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
 disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
 Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
 Sunday, June 14, 2020 and Sunday, October 4, 2020.

 Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

 Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, add the following:

       Cash Compensation: The sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
       medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for
       dismissal or separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in
       determining (a) the Employee Retention Credit under section 2301 of the CARES Act, as amended by sections 206 and 207
       of the Taxpayer Certainty and Disaster Tax Relief Act of 2020; (b) the Employee Retention Credit under section 3134 of the
       Internal Revenue Code of 1986, as enacted by the American Rescue Plan Act of 2021; and (c) the disaster credit under
       section 303 of the Taxpayer Certainty and Disaster Tax Relief Act of 2020. For each individual employee, the total amount
       of cash compensation eligible for forgiveness may not exceed an annual salary of $100,000, as prorated for the Covered
       Period. For example, for an 8-week Covered Period, the maximum is $15,385, for a 24-week Covered Period, the
       maximum is $46,154. You can only include compensation of employees who were employed by the Borrower at any point
       during the Covered Period and whose principal place of residence is in the United States.

       Employee Benefits: The total amount paid by the Borrower for:
          1. Employer contributions for employee group health, life, disability, vision, or dental insurance, including employer
              contributions to a self-insured, employer-sponsored group health plan, but excluding any pre-tax or after-tax
              contributions by employees. Do not add contributions for these benefits made on behalf of a self-employed
              individual, general partners, or owner-employees of an S-corporation, because such payments are already included
              in their compensation. Additionally, do not add premiums for COBRA continuation coverage taken into account in
              determining the credit under section 6432 of the Internal Revenue Code of 1986.




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                                                                                                                            Paycheck
                                                                                                                            P t ti
            2.   Employer contributions to employee retirement plans, excluding any pre-tax or after-tax contributions by
                 employees. Do not add employer retirement contributions made on behalf of a self-employed individual or general
                 partners, because such payments are already included in their compensation.
            3.   Employer state and local taxes paid by the borrower and assessed on employee compensation (e.g., state
                 unemployment insurance tax), excluding any taxes withheld from employee earnings.

       Owner Compensation: Any amounts paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
       employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
       (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
       compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower. If Borrower
       applied for the loan using SBA Form 2483-C or 2483-SD-C, owner compensation includes proprietor expenses (business
       expenses plus owner compensation). Proprietor expenses equal the difference between the Borrower’s gross income and
       employee payroll costs. The Borrower’s proprietor expenses are capped at (a) $20,833 (the 2.5-month equivalent of
       $100,000 per year), or (b) the 2.5-month equivalent of the borrower’s gross income in the year that was used to calculate the
       loan amount (2019 or 2020), whichever is lower.


 Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
 mortgage obligation on real or personal property in force before February 15, 2020. Do not include prepayments.

 Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
 Period, pursuant to lease agreements in force before February 15, 2020.

 Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period for business utilities for which
 service began before February 15, 2020.

 Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

 Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

 Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
 shall have been in effect before or at any time during the Covered Period).

 Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

 NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

 Line 9: Add lines 1 through 8 enter the total.

 Line 10: Enter the PPP Loan Amount.

 Line 11: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
 forgiveness amount was used for payroll costs.

 Line 12: Enter the smallest of lines 9, 10, or 11.

 Summary of Costs Eligible for Forgiveness:

 Borrowers are eligible for loan forgiveness for the following costs:
  1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
       during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
       the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
      pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
      for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
       Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
       annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
       once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
       on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692), as amended by
       SBA’s interim final rule posted on March 18, 2021 (86 FR 15083). For information on what qualifies as payroll costs for a
       Borrower that applied for the loan using SBA Form 2483-C or 2483-SD-C, see SBA’s interim final rule       on loan amount
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                                                                                                                             Paycheck
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         calculation and eligibility posted on March 3, 2021 (86 FR 13149), as amended by SBA’s interim final rule posted on
         March 18, 2021 (86 FR 15083).

    2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
             (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
             on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
             interest payments”);
             (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
             force before February 15, 2020 (“business rent or lease payments”);
             (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water,
             telephone, transportation, or internet access for which service began before February 15, 2020 (“business utility
             payments”);
             (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
             business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
             resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
             (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
             that occurred during 2020 that were not covered by insurance or other compensation;
             (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
             operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
             purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
             purchase order may have been in effect before or at any time during the Covered Period); and
             (g) covered worker protection expenditures: operating or capital expenditures that facilitate the adaptation of the business
             activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
             Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
             equivalent requirements established or guidance issued by a State or local government, during the period starting March
             1, 2020 and ending on the date on which the national emergency declared by the President with respect to the
             Coronavirus Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any
             other worker or customer safety requirement related to COVID-19, but does not include residential real property or
             intangible property.

         Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost either must be paid
         during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date, even if
         the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

            Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application Form 3508EZ

PPP Loan Forgiveness Calculation Form 3508EZ

Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting
of each of the following:
     a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
         to employees.
     b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered Period:
              i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
              ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                   or that will be reported, to the relevant state.
     c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
         employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
         forgiveness amount.
     d. If you checked only the first box on the checklist on page 1 of these instructions, the average number of full-time equivalent
         employees on payroll employed by the Borrower on January 1, 2020 and at the end of the Covered Period.

Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for all
categories, eligible payments from the Covered Period.
    a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
         eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
         Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
    b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
         payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
         one month after the end of the Covered Period verifying eligible payments.
                                                                                                            USA-000646
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                                                    Paycheck Protection Program                                          OMB Control No.: 3245-0407
                                                                                                                      Expiration Date: 7/31/2021
    c.                      PPP Loan
         Business utility payments:     Forgiveness
                                     Copy  of invoicesApplication Form
                                                       from February    3508EZ
                                                                      2020        Revised
                                                                           and those       January
                                                                                      paid during the19, 2021 Period and
                                                                                                      Covered
         receipts, cancelled checks, or account statements verifying those eligible payments.
    d.   Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
         receipts,cancelled checks, or account statements verifying those eligible payments.
    e.   Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and
         receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the costs
         were related toproperty damage and vandalism or looting due to public disturbances that occurred during 2020 and
         such costs were not covered by insurance or other compensation.
    f.   Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period
         (exceptfor perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and
         receipts, cancelled checks, or account statements verifying those eligible payments.
    g.   Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period
         and receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the
         expenditureswere used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.


                          Documents that Each Borrower Must Maintain but is Not Required to Submit

Documentation supporting the certification that annual salaries or hourly wages were not reduced by more than 25 percent
during theCovered Period relative to the most recent full quarter before the Covered Period. This documentation must include
payroll records that separately list each employee and show the amounts paid to each employee during the most recent full
quarter before the Covered Period, and the amounts paid to each employee during the Covered Period.

Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions in hours, firings for
cause,voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire
similarly qualifiedemployees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December
27, 2020, the last day of the Covered Period).

Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the
average paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that
arose from an inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire
similarly qualified employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December
27, 2020, the last day of the Covered Period). This documentation must include payroll records that separately list each
employee and show the amounts paid to each employee between January 1, 2020 and the end of the Covered Period.

Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020
and the end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with
requirements established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after
December 27, 2020, requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by
the Secretary of Health andHuman Services, the Director of the Centers for Disease Control and Prevention, or the
Occupational Safety and Health Administration, related to the maintenance of standards of sanitation, social distancing, or any
other work or customer safety requirement related to COVID-19. This documentation must include copies of the applicable
requirements for each borrower location and relevant borrower financial records.

All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application,
documentation supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan
(including the Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation
necessary to support theBorrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material
compliance with PPP requirements.

Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the
loan isforgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of
Inspector General, to access such files upon request. The Borrower must provide documentation independently to a lender to
satisfy relevant Federal, State, local or other statutory or regulatory requirements or in connection with an SBA loan review or
audit.




                                                                                                              USA-000647
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                                                                   X


                                                                        The Palace Healthcare &           2019-11-01
                                                                        Rehabilitation Center




                                                                        623110-Nursing Care
      Red Boiling Springs TN Opco LLC                                   Facilities (Skilled
                                                                        Nursing Facilities)
                                                                                                      X

      440 Sylvan Ave Suite 240                                                                        718-551-8491
      Englewood Cliffs
      NJ                07632                                           Marc Elias                    marc@theportopiccologroup.com


                             150259.17                                  375647.92                                60



                             X                     X                       X                              X




     Simcha Hyman                          Manager            50
     Naftali Zanziper                      Manager            50




    Simcha Hyman                                              Manager



                             Non-Veteran


                             Male

                             White


                            Not Hispanic or Latino




                                                                                                        USA-000648
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                                                                                                        No



                                                                                                        No



                                                                                                         Yes


                                                                                                        No


                                                                                                        No




                                                                                                        No



                                                                                                        Yes
                                                                                                        No
                                                                                                        No




                                                                                           USA-000649
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                                                                            3/26/2021


                   Simcha Hyman




                                                                                           USA-000651
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                                                                                           USA-000654
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                                                                                                                     OMB Control No.: 3245-0407
                                                                                                                       Expiration Date: 7/31/2021
                                                      Paycheck Protection Program
                              PPP Loan Forgiveness Application Form 3508EZ Revised January 19, 2021

                           Business Legal Name (“Borrower”)                                   DBA or Tradename, if applicable
    RED BOILING SPRINGS TN OPCO LLC
                            Business Address                           NAICS Code   Business TIN (EIN, SSN)               Business Phone
                                                                   623110-Nurs                                  718 551-8491
    440 SYLVAN AVE
                                                                   ing Care                                      (    )         -
     ENGLEWOOD CLIFFS, NJ, 07632, US                               Facilities        Primary Contact                      E-mail Address
                                                                   (Skilled    Simcha Hyman                     ishulman@axgsolutions.com
                                                                   Nursing
    X First Draw PPP Loan ☐ Second Draw PPP Loan (check one)
    ☐                                                              Facilities)

                                                                                                 ACBS0001347713
                                1993548705
    SBA PPP Loan Number: ________________________                 Lender PPP Loan Number: __________________________
                                                                                                    2021-04-13
    PPP Loan Amount: _____________________________
                     375647.92                                    PPP Loan Disbursement Date: ________________________
                                                 60                                                                        56
    Employees at Time of Loan Application: ___________            Employees at Time of Forgiveness Application: __________
                        2021-04-13                        2021-09-27
    Covered Period: ________________________ to ________________________

    If Borrower (Together with Affiliates, if Applicable) Received First Draw PPP Loans of $2 million or More or Second Draw
    PPP Loans of $2 Million or More, check here: ☐  X


    Forgiveness Amount Calculation:

    Payroll and Nonpayroll Costs                                                                       458476.23
    Line 1. Payroll Costs:                                                                            _____________________

                                                                                                       150259.17
    Line 2. Business Mortgage Interest Payments:                                                      _____________________

                                                                                                       0
    Line 3. Business Rent or Lease Payments:                                                          _____________________
                                                                                                       0
    Line 4. Business Utility Payments:                                                                _____________________

                                                                                                       .00
    Line 5. Covered Operations Expenditures:                                                          _____________________
                                                                                                      .00

    Line 6. Covered Property Damage Costs:                                                            _____________________
                                                                                                      .00

    Line 7. Covered Supplier Costs:                                                                   _____________________
                                                                                                     .00
    Line 8. Covered Worker Protection Expenditures:                                                   _____________________

    Potential Forgiveness Amounts                                                                     608735.40
    Line 9. Sum the amounts on lines 1 through 8:                                                     _____________________
                                                                                                     375647.92
    Line 10. PPP Loan Amount:                                                                         _____________________
                                                                                                       764127.05
    Line 11.   Payroll Cost 60% Requirement (divide Line 1 by 0.60):                                  _____________________

    Forgiveness Amount                                                                                 375647.92

    Line 12. Forgiveness Amount (enter the smallest of Lines 9, 10, and 11):                          _____________________




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                                                      Paycheck Protection Program
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     By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
     The Authorized Representative of the Borrower certifies to all of the below by initialing next to each one.
     _____     The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
                    • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage
                         interest payments; business rent or lease payments; business utility payments; covered operations expenditures;
                         covered property damage costs; covered supplier costs; or covered worker protection expenditures);
                    • includes payroll costs equal to at least 60% of the forgiveness amount; and
                    • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner, does
                         not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan amount,
                         capped at $20,833 per individual in total across all businesses.
     _____     I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
               of loan amounts and/or civil or criminal fraud charges.
     _____     The Borrower did not reduce salaries or hourly wages of any employee by more than 25 percent for any employee during the
               Covered Period compared to the most recent quarter before the Covered Period. For purposes of this certification, the term
               “employee” includes only those employees that did not receive, during any single period during 2019, wages or salary at an
               annualized rate of pay in an amount more than $100,000.
     _____     The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
               requesting forgiveness.
     _____     I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
               (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease payments,
               business utility payments, covered operations expenditures, covered property damage costs, covered supplier costs, and
               covered worker protection expenditures.
     ______ If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts on
               eligible expenses prior to disbursement of the Second Draw PPP Loan.
     _____     The information provided in this application and the information provided in all supporting documents and forms is true and
               correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an SBA-
               guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years
               and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more
               than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not more than
               thirty years and/or a fine of not more than $1,000,000.
     _____     The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has submitted
               or will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the
               Lender can share the tax information with SBA’s authorized representatives, including authorized representatives of
               the SBA Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA
               reviews.
     _____     I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
               Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
               requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
               Borrower’s loan forgiveness application.
    In addition, the Authorized Representative of the Borrower must certify by initialing at least ONE of the following two items:
    _____      The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020 and
               the end of the Covered Period (other than any reductions that arose from an inability to rehire individuals who were
               employees on February 15, 2020, if the Borrower was unable to hire similarly qualified employees for unfilled positions on
               or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, before the last day of the Covered Period),
               and reductions in an employee’s hours that a borrower offered to restore and were refused).
     _____     The Borrower was unable to operate between February 15, 2020, and the end of the Covered Period at the same level of
               business activity as before February 15, 2020 due to compliance with requirements established or guidance issued between
               March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or
               guidance issued before the last day of the Covered Period), by the Secretary of Health and Human Services, the Director of
               the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
               maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
               COVID-19.
    The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
    through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
    determines that the Borrower was ineligible for the PPP loan.
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                                                                                          7/26/2022
    _____________________________________________________                         ____________________________
    Signature of Authorized Representative of Borrower                            Date
                                                                                          Authorized Representative
    _____________________________________________________
       Simcha Hyman                                                               ____________________________
    Print Name                                                                    Title




                                                                                                USA-000657
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                         PPP LOAN FORGIVENESS APPLICATION FORM 3508EZ INSTRUCTIONS FOR BORROWERS

                                                   Checklist for Using SBA Form 3508EZ

      You (the Borrower) can apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) Loan using this
      SBA Form 3508EZ if your PPP loan amount is more than $150,000 and you can check at least one of the two boxes below. If
      your loan amount is $150,000 or less, please use SBA Form 3508S. Do not submit this Checklist with your SBA Form 3508EZ.
      Each PPP loan must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness of both a
      First Draw PPP Loan and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must submit a loan
      forgiveness application for your First Draw PPP Loan before or simultaneously with the loan forgiveness application for your
      Second Draw PPP Loan, even if the calculated amount of forgiveness on your First Draw PPP Loan is zero.

          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000.);
                                                                       AND
            The Borrower did not reduce the number of employees or the average paid hours of employees between January 1, 2020
            and the end of the Covered Period.
                        • Ignore reductions that arose from an inability to rehire individuals who were employees on February 15,
                             2020 if the Borrower was unable to hire similarly qualified employees for unfilled positions on or before
                             December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of the Covered
                             Period).
                        • Also ignore reductions in an employee’s hours that the Borrower offered to restore and the employee
                             refused. See 85 FR 33004, 33007 (June 1, 2020) for more details.
                      -----------------------------------------------------------------------------------------------------------------
          ☐ The Borrower did not reduce annual salary or hourly wages of any employee by more than 25 percent during the Covered
            Period compared to the most recent full quarter before the Covered Period. (For purposes of this statement, “employees”
            means only those employees that did not receive, during any single period during 2019, wages or salary at an annualized
            rate of pay in an amount more than $100,000,);
                                                                       AND
               The Borrower was unable to operate during the Covered Period at the same level of business activity as before February
               15, 2020, due to compliance with requirements established or guidance issued between March 1, 2020 and December 31,
               2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance issued between March 1,
               2020 and the last day of the Covered Period) by the Secretary of Health and Human Services, the Director of the Centers
               for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the maintenance of
               standards of sanitation, social distancing, or any other work or customer safety requirement related to COVID-19.

      If you can check at least one of the two boxes above, complete this SBA Form 3508EZ in accordance with the instructions below,
      and submit it to your Lender (or the Lender that is servicing your loan). Borrowers may also complete this application
      electronically through their Lender. If your loan is for more than $150,000 and you are unable to check one of the boxes above,
      you cannot use SBA Form 3508EZ and instead you must apply for forgiveness of your PPP loan using SBA Form 3508.

      If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is
      required to submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the Lender not
      later than 30 days after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on
      January 6, 2021 (86 FR 3692).

                                    Instructions for PPP Loan Forgiveness Calculation Form 3508EZ

      Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN): Enter the same information
      as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, or lender’s equivalent).

      Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
      Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
      Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.

      First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
      for. If you only have one PPP loan, select First Draw PPP Loan.                                    USA-000658
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                                                                                                                                                       No Yes
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      SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
      Lender if necessary.

      Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

      PPP Loan Amount: Enter the disbursed principal amount of the PPP loan (the total loan amount you received from the Lender).

      PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
      received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized increase
      on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original disbursement of
      your PPP loan proceeds.

      Employees at Time of Loan Application: Enter the total number of employees at the time of the PPP loan application.

      Employees at Time of Forgiveness Application: Enter the total number of employees at the time the Borrower is applying for
      loan forgiveness.

      Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
      Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
      disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
      Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
      Sunday, June 14, 2020 and Sunday, October 4, 2020.

      If Borrower, Together with Affiliates, if Applicable, Received First Draw PPP Loans of $2 Million or More or Second
      Draw PPP Loans of $2 Million or More: Check the box if the Borrower, together with its affiliates (to the extent required
      under subsection D.3. of SBA’s interim final rule posted on January 6, 2021 (86 FR 3692) and not waived under 15 U.S.C.
      636(a)(36)(D)(iv)), received (a) First Draw PPP Loans with an original principal amount of $2 million or more (if this is a
      First Draw PPP Loan forgiveness application), or (b) Second Draw PPP Loans with an original principal amount of $2
      million or more (if this is a Second Draw PPP Loan forgiveness application).

      Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

      Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, add the following:

            Cash Compensation: The sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
            medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for
            dismissal or separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in
            determining the Employer Retention Credit. For each individual employee, the total amount of cash compensation eligible
            for forgiveness may not exceed an annual salary of $100,000, as prorated for the Covered Period. For example, for an 8-
            week Covered Period, the maximum is $15,385, for a 24-week Covered Period, the maximum is $46,154. You can only
            include compensation of employees who were employed by the Borrower at any point during the Covered Period and whose
            principal place of residence is in the United States.

            Employee Benefits: The total amount paid by the Borrower for:
               1. Employer contributions for employee group health, life, disability, vision, or dental insurance, including employer
                   contributions to a self-insured, employer-sponsored group health plan, but excluding any pre-tax or after-tax
                   contributions by employees. Do not add contributions for these benefits made on behalf of a self-employed
                   individual, general partners, or owner-employees of an S-corporation, because such payments are already included
                   in their compensation.
               2. Employer contributions to employee retirement plans, excluding any pre-tax or after-tax contributions by
                   employees. Do not add employer retirement contributions made on behalf of a self-employed individual or general
                   partners, because such payments are already included in their compensation.
               3. Employer state and local taxes paid by the borrower and assessed on employee compensation (e.g., state
                   unemployment insurance tax), excluding any taxes withheld from employee earnings.

            Owner Compensation: Any amounts paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
            employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
            (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
            compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower.

      Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
                                                                                                             USA-000659
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      mortgage obligation on real or personal property in force before February 15, 2020. Do not include prepayments.

      Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
      Period, pursuant to lease agreements in force before February 15, 2020.

      Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period for business utilities for which
      service began before February 15, 2020.

      Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

      Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

      Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
      purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
      shall have been in effect before or at any time during the Covered Period).

      Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

      NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

      Line 9: Add lines 1 through 8 enter the total.

      Line 10: Enter the PPP Loan Amount.

      Line 11: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
      forgiveness amount was used for payroll costs.

      Line 12: Enter the smallest of lines 9, 10, or 11.

      Summary of Costs Eligible for Forgiveness:

      Borrowers are eligible for loan forgiveness for the following costs:
       1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
           during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
           the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
           pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
           for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
           Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
           annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
           once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
           on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692).

        2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
                 (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
                 on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
                 interest payments”);                                                                                                        Yes
                 (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
                 force before February 15, 2020 (“business rent or lease payments”);
                 (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water,
                 telephone, transportation, or internet access for which service began before February 15, 2020 (“business utility
                 payments”);
                 (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
                 business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
                 resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
                 (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
                 that occurred during 2020 that were not covered by insurance or other compensation;
                 (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
                 operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
                 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
                 purchase order may have been in effect before or at any time during the Covered Period); and
                 (g) covered worker protection expenditures: operating or capital expenditures that facilitate the USA-000660
                                                                                                                    adaptation of the business
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                 activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
                 Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
                 equivalent requirements established or guidance issued by a State or local government, during the period starting March
                 1, 2020 and ending on the date on which the national emergency declared by the President with respect to the
                 Coronavirus Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any
                 other worker or customer safety requirement related to COVID-19, but does not include residential real property or
                 intangible property.

             Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost either must be paid
             during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date, even if
             the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

                Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application Form 3508EZ

    PPP Loan Forgiveness Calculation Form 3508EZ

    Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting
    of each of the following:
         a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
             to employees.
         b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered Period:
                  i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
                  ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                       or that will be reported, to the relevant state.
         c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
             employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
             forgiveness amount.
         d. If you checked only the second box on the checklist on page 1 of these instructions, the average number of full-time
             equivalent employees on payroll employed by the Borrower on January 1, 2020 and at the end of the Covered Period.

    Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for all
    categories, eligible payments from the Covered Period.
        a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
             eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
             Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
        b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
             payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
             one month after the end of the Covered Period verifying eligible payments.
        c. Business utility payments: Copy of invoices from February 2020 and those paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        d. Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments.
        e. Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
             cancelled checks, or account statements verifying those eligible payments, and documentation that the costs were related to
             property damage and vandalism or looting due to public disturbances that occurred during 2020 and such costs were not
             covered by insurance or other compensation.
        f. Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period (except
             for perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and receipts, cancelled
             checks, or account statements verifying those eligible payments.
        g. Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
             receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the expenditures
             were used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.

                              Documents that Each Borrower Must Maintain but is Not Required to Submit

    Documentation supporting the certification that annual salaries or hourly wages were not reduced by more than 25 percent during the
    Covered Period relative to the most recent full quarter before the Covered Period. This documentation must include payroll records
    that separately list each employee and show the amounts paid to each employee during the most recent full quarter before the
    Covered Period, and the amounts paid to each employee during the Covered Period.

    Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions inUSA-000661
                                                                                                                  hours, firings for cause,
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    voluntary resignations, written requests by any employee for reductions in work schedule, and any inability to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period).

    Documentation supporting the certification, if applicable, that the Borrower did not reduce the number of employees or the average
    paid hours of employees between January 1, 2020 and the end of the Covered Period, other than any reductions that arose from an
    inability to rehire individuals who were employees on February 15, 2020, if the Borrower was unable to hire similarly qualified
    employees for unfilled positions on or before December 31, 2020 (or, for a PPP loan made after December 27, 2020, the last day of
    the Covered Period). This documentation must include payroll records that separately list each employee and show the amounts paid
    to each employee between January 1, 2020 and the end of the Covered Period.

    Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020 and the
    end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with requirements
    established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27, 2020,
    requirements established or guidance issued between March 1, 2020 the last day of the Covered Period) by the Secretary of Health and
    Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational Safety and Health
    Administration, related to the maintenance of standards of sanitation, social distancing, or any other work or customer safety
    requirement related to COVID-19. This documentation must include copies of the applicable requirements for each borrower location
    and relevant borrower financial records.

    All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
    supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
    Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
    Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
    requirements.

    Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan is
    forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector General,
    to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant Federal,
    State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




                                                                                                             USA-000662
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       Check One: Limited Liability Company                                                              DBA or Tradename (if Applicable)



                                    Business Legal Name                                          NAICS Code                 Year of Establishment (if applicable)

                 ACCORDIUS HEALTH AT RIVER POINTE LLC                                              623110                                 7/1/2019
                                       Business Address                                            Applicant (including affiliates, if applicable)
              (Street, City, State, Zip Code - No P.O. Box addresses allowed)                           Meets Size Standard (check one):

                                  4142 BONNEY ROAD                                                        SBA alternative size standard
                                   VIRGINIA BEACH,
                                          VA,
                                         23452
         Business TIN (EIN,                         Business Phone                               Primary Contact                           Email Address
               SSN)
                                                                                                                                    marc@theportopiccologrou
                                                   (201) 928-7800                               SIMCHA HYMAN
                                                                                                                                            p.com

                                                             x 2.5 + EIDL (Do Not
                                                             Include Any EIDL
       Average Monthly                                                                                        Number of
                                       $224,545.00           Advance) equals               $561,300.00                                               52
       Payroll:                                                                                               Employees:
                                                             Loan Request
                                                             Amount:

                                     Payroll Costs;Rent / Mortgage Interest;Utilities;Covered Operations Expenditures;Covered Property Damage;Covered
       Purpose of loan
                                     Suppliers Cost;Covered Worker Protection Expenditures
       (select all that apply):
                                     Other:


                                                                    Applicant Ownership
                           List all owners of 20% or more of the equity of the Applicant. Attach a separate sheet if necessary.

                     Owner Name                             Title               Ownership %               TIN (EIN, SSN)                         Address


                 SIMCHA HYMAN                            Owner                   50.000%




               NAFTALI ZANZIPER                        Co-Owner                  50.000%




           If questions (1) or (2) below are answered “Yes,” the loan will not be approved.

                                                                     Question                                                                        Yes      No
        1. Is the Applicant or any owner of the Applicant presently suspended, debarred, proposed for debarment, declared ineligible,
           voluntarily excluded from participation in this transaction by any Federal department or agency, or presently involved in any
           bankruptcy?                                                                                                                                          X

        2. Has the Applicant, any owner of the Applicant, or any business owned or controlled by any of them, ever obtained a
           direct or guaranteed loan from SBA or any other Federal agency that is (a) currently delinquent, or (b) has defaulted in
           the last 7 years and caused a loss to the government?                                                                                                X

        3. Is the Applicant or any owner of the Applicant an owner of any other business, or have common management (including a
           management agreement) with any other business? If yes, list all such businesses (including their TINs if available) and describe
           the relationship on a separate sheet identified as addendum A.
                                                                                                                                                       X

                                                                                                                          USA-000663
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        4. Did the Applicant receive an SBA Economic Injury Disaster Loan between January 31, 2020 and April 3, 2020? If yes,
           provide details on a separate sheet identified as addendum B.
                                                                                                                                                               X



        If questions (5) or (6) are answered “Yes,” the loan will not be approved.

                                                                        Question                                                                     Yes      No
        5. Is the Applicant (if an individual) or any individual owning 20% or more of the equity of the Applicant presently incarcerated                     X
           or, for any felony, presently subject to an indictment, criminal information, arraignment, or other means by which formal
           criminal charges are brought in any jurisdiction?

        Initial here to confirm your response to question 5 →




        6. Within the last 5 years, for any felony involving fraud, bribery, embezzlement, or a false statement in a loan application or an                   X
           application for federal financial assistance, or within the last year, for any other felony, has the Applicant (if an individual) or
           any owner of the Applicant 1) been convicted; 2) pleaded guilty; 3) pleaded nolo contendere; or 4) commenced any form of
           parole or probation (including probation before judgment)?

        Initial here to confirm your response to question 6 →




        7. Is the United States the principal place of residence for all employees included in the Applicant’s payroll calculation above?
                                                                                                                                                     X

        8. Is the Applicant a franchise?
                                                                                                                                                              X


               9. Is the franchise listed in the SBA’s Franchise Directory? If yes, enter the SBA Franchise Identifier Code:




                                                                                                                           USA-000664
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    By Signing Below, You Make the Following Representations, Authorizations, and Certifications

    CERTIFICATIONS AND AUTHORIZATIONS
    I certify that:
           •     I have read the statements included in this form, including the Statements Required by Law and Executive Orders, and I
                 understand them.
           •     The Applicant is eligible to receive a loan under the rules in effect at the time this application is submitted that have been issued by
                 the Small Business Administration (SBA) and the Department of the Treasury (Treasury) implementing the Paycheck Protection
                 Program under Division A, Title I of the Coronavirus Aid, Relief, and Economic Security Act (CARES Act) and the Economic
                 Aid to Hard-Hit Small Businesses, Nonprofits, and Venues Act (the Paycheck Protection Program Rules).
           •     The Applicant, together with its affiliates (if applicable), (1) is an independent contractor, self-employed individual, or sole
                 proprietor with no employees; (2) if not a housing cooperative, eligible 501(c)(6) organization, or eligible destination marketing
                 organization, employs no more than the greater of 500 employees or, if applicable, the size standard in number of employees
                 established by SBA in 13 C.F.R. 121.201 for the Applicant’s industry; (3) if a housing cooperative, eligible 501(c)(6) organization,
                 or eligible destination marketing organization, employs no more than 300 employees; (4) if NAICS 72, employs no more than 500
                 employees per physical location; (5) if a news organization that is majority owned or controlled by a NAICS code 511110 or 5151
                 business or a nonprofit public broadcasting entity with a trade or business under NAICS code 511110 or 5151, employs no more
                 than 500 employees (or, if applicable, the size standard in number of employees established by SBA in 13 C.F.R. 121.201 for the
                 Applicant’s industry) per location; or (6) is a small business under the applicable revenue-based size standard established by SBA
                 in 13 C.F.R. 121.201 for the Applicant’s industry or under the SBA alternative size standard.
           •     I will comply, whenever applicable, with the civil rights and other limitations in this form.
           •     All loan proceeds will be used only for business-related purposes as specified in the loan application and consistent with the
                 Paycheck Protection Program Rules including the prohibition on using loan proceeds for lobbying activities and expenditures. If
                 Applicant is a news organization that became eligible for a loan under Section 317 of the Economic Aid to Hard-Hit Small
                 Businesses, Nonprofits, and Venues Act, proceeds of the loan will be used to support expenses at the component of the business
                 concern that produces or distributes locally focused or emergency information
           •      I understand that SBA encourages the purchase, to the extent feasible, of American-made equipment and products.
           •      The Applicant is not engaged in any activity that is illegal under federal, state or local law.
           •      Any EIDL loan received by the Applicant (Section 7(b)(2) of the Small Business Act) between January 31, 2020 and April 3,
                  2020 was for a purpose other than paying payroll costs and other allowable uses for loans under the Paycheck Protection Program
                  Rules.


    For Applicants who are individuals: I authorize the SBA to request criminal record information about me from criminal justice agencies for the purpose
    of determining my eligibility for programs authorized by the Small Business Act, as amended.



    CERTIFICATIONS
    The authorized representative of the Applicant must certify in good faith to all of the below by initialing next to each one:

      The Applicant was in operation on February 15, 2020, has not permanently closed, and was either an eligible self-employed individual,
    independent contractor, or sole proprietorship with no employees, or had employees for whom it paid salaries and payroll taxes or paid
    independent contractors, as reported on Form(s) 1099-MISC.

      Current economic uncertainty makes this loan request necessary to support the ongoing operations of the Applicant

      The funds will be used to retain workers and maintain payroll; or make payments for mortgage interest, rent, utilities, covered operations
    expenditures, covered property damage costs, covered supplier costs, and covered worker protection expenditures as specified under the
    Paycheck Protection Program Rules; I understand that if the funds are knowingly used for unauthorized purposes, the federal government may
    hold me legally liable, such as for charges of fraud

      I understand that loan forgiveness will be provided for the sum of documented payroll costs, covered mortgage interest payments, covered rent
    payments, covered utilities, covered operations expenditures, covered property damage costs, covered supplier costs, and covered worker
    protection expenditures, and not more than 40% of the forgiven amount may be for non-payroll costs. If required, the Applicant will provide to
    the Lender and/or SBA documentation verifying the number of full-time equivalent employees on the Applicant’s payroll as well as the dollar
    amounts of eligible expenses for the covered period following this loan.
                                                                                                                            USA-000665
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      The Applicant has not and will not receive another loan under the Paycheck Protection Program, section 7(a)(36) of the Small Business Act (15
    U.S.C. 636(a)(36)) (this does not include Paycheck Protection Program second draw loans, section 7(a)(37) of the Small Business Act (15 U.S.C.
    636(a)(37)).


     The Applicant has not and will not receive a Shuttered Venue Operator grant from SBA.


      The President, the Vice President, the head of an Executive department, or a Member of Congress, or the spouse of such person as determined
    under applicable common law, does not directly or indirectly hold a controlling interest in the Applicant, with such terms having the meanings
    provided in Section 322 of the Economic Aid to Hard-Hit Small Businesses, Nonprofits, and Venues Act.

      The Applicant is not an issuer, the securities of which are listed on an exchange registered as a national securities exchange under section 6 of
    the Securities Exchange Act of 1934 (15 U.S.C. 78f).

      I further certify that the information provided in this application and the information provided in all supporting documents and forms is true
    and accurate in all material respects. I understand that knowingly making a false statement to obtain a guaranteed loan from SBA is punishable
    under the law, including under 18 U.S.C. 1001 and 3571 by imprisonment of not more than five years and/or a fine of up to $250,000; under 15
    U.S.C. 645 by imprisonment of not more than two years and/or a fine of not more than $5,000; and, if submitted to a federally insured
    institution, under 18 U.S.C. 1014 by imprisonment of not more than thirty years and/or a fine of not more than $1,000,000.

      I acknowledge that the Lender will confirm the eligible loan amount using required documents submitted. I understand, acknowledge, and
    agree that the Lender can share any tax information that I have provided with SBA’s authorized representatives, including authorized
    representatives of the SBA Office of Inspector General, for the purpose of compliance with SBA Loan Program Requirements and all SBA
    reviews.


    ___________________________________________
    Signature of Authorized Representative of Borrower                                                    Date 3/16/2021 8:12 PM
    Print Name: Simcha Hyman                                                                              Title Manager




                                                                                                                          USA-000666
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     Purpose of this form:

     This form is to be completed by the authorized representative of the Applicant and submitted to your SBA Participating Lender. Submission of the
     requested information is required to make a determination regarding eligibility for financial assistance. Failure to submit the information would
     affect that determination.

     Instructions for completing this form:

     With respect to “purpose of the loan,” payroll costs consist of compensation to employees (whose principal place of residence is the United States)
     in the form of salary, wages, commissions, or similar compensation; cash tips or the equivalent (based on employer records of past tips or, in the
     absence of such records, a reasonable, good-faith employer estimate of such tips); payment for vacation, parental, family, medical, or sick leave
     (except those paid leave amounts for which a credit is allowed under FFCRA Sections 7001 and 7003); allowance for separation or dismissal;
     payment for the provision of employee benefits (including insurance premiums) consisting of group health care coverage, group life, disability,
     vision, or dental insurance, and retirement benefits; payment of state and local taxes assessed on compensation of employees; and, for an
     independent contractor or sole proprietor, wage, commissions, income, or net earnings from self-employment or similar compensation.

     For purposes of calculating “Average Monthly Payroll,” most Applicants will use the average monthly payroll for 2019 or 2020, excluding costs
     over $100,000 on an annualized basis, as prorated for the period during which the payments are made or the obligation to make the payments is
     incurred, for each employee. For seasonal businesses, the Applicant may elect to instead use average total monthly payroll for any twelve-week
     period selected by the Applicant between February 15, 2019 and February 15, 2020, excluding costs over $100,000 on an annualized basis, as
     prorated for the period during which the payments are made or the obligation to make the payments is incurred, for each employee. For new
     businesses, average monthly payroll may be calculated using the time period from January 1, 2020 to February 29, 2020, excluding costs over
     $100,000 on an annualized basis, as prorated for the period during which the payments are made or the obligation to make the payments is incurred,
     for each employee. For farmers and ranchers that operate as a sole proprietorship or as an independent contractor, or who are eligible self-employed
     individuals and report farm income or expenses on a Schedule F (or any equivalent successor IRS form), payroll costs are computed using eligible
     payroll costs for employees, if any, plus the lesser of $100,000 and the difference between gross income and any eligible payroll costs for
     employees, as reported on a Schedule F. For Applicants that file IRS Form 1040, Schedule C, payroll costs are computed using line 31 net profit
     amount, limited to $100,000, plus any eligible payroll costs for employees. For Applicants that are partnerships, payroll costs are computed using
     net earnings from self-employment of individual general partners, as reported on IRS Form 1065 K-1, reduced by section 179 expense deduction
     claimed, unreimbursed partnership expenses claimed, and depletion claimed on oil and gas properties, multiplied by 0.9235, that is not more than
     $100,000, plus any eligible payroll costs for employees.

     For purposes of reporting Number of Employees, sole proprietors, self-employed individuals, and independent contractors should include
     themselves as employees (i.e., the minimum number in the box Number of Employees is one).

     For purposes of reporting Year of Establishment, self-employed individuals and independent contractors may enter “NA”.

     For purposes of reporting NAICS Code, applicants must match the business activity code provided on their IRS income tax filings, if applicable.

     If Applicant is refinancing an Economic Injury Disaster Loan (EIDL): Add the outstanding amount of an EIDL made between January 31, 2020 and
     April 3, 2020 to Loan Request as indicated on the form. Do not add the amount of any EIDL Advance.

     All parties listed below are considered owners of the Applicant, as well as “principals”:

         For a sole proprietorship, the sole proprietor;

         For a partnership, all general partners, and all limited partners owning 20% or more of the equity of the firm;

         For a corporation, all owners of 20% or more of the corporation;

         For limited liability companies, all members owning 20% or more of the company; and

         Any Trustor (if the Applicant is owned by a trust).

     Paperwork Reduction Act – You are not required to respond to this collection of information unless it displays a currently valid OMB Control
     Number. The estimated time for completing this application, including gathering data needed, is 8 minutes. Comments about this time or the
     information requested should be sent to: Small Business Administration, Director, Records Management Division, 409 3rd St., SW, Washington
     DC 20416, and/or SBA Desk Officer, Office of Management and Budget, New Executive Office Building, Washington DC 20503. PLEASE
     DO NOT SEND FORMS TO THESE ADDRESSES.


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     Privacy Act (5 U.S.C. 552a) – Under the provisions of the Privacy Act, you are not required to provide your social security number. Failure to
     provide your social security number may not affect any right, benefit or privilege to which you are entitled. (But see Debt Collection Notice
     regarding taxpayer identification number below.) Disclosures of name and other personal identifiers are required to provide SBA with sufficient
     information to make a character determination. When evaluating character, SBA considers the person’s integrity, candor, and disposition toward
     criminal actions. Additionally, SBA is specifically authorized to verify your criminal history, or lack thereof, pursuant to section 7(a)(1)(B), 15
     U.S.C. Section 636(a)(1)(B) of the Small Business Act
     Disclosure of Information – Requests for information about another party may be denied unless SBA has the written permission of the
     individual to release the information to the requestor or unless the information is subject to disclosure under the Freedom of Information Act.
     The Privacy Act authorizes SBA to make certain “routine uses” of information protected by that Act. One such routine use is the disclosure of
     information maintained in SBA’s system of records when this information indicates a violation or potential violation of law, whether civil,
     criminal, or administrative in nature. Specifically, SBA may refer the information to the appropriate agency, whether Federal, State, local or
     foreign, charged with responsibility for, or otherwise involved in investigation, prosecution, enforcement or prevention of such violations.
     Another routine use is disclosure to other Federal agencies conducting background checks but only to the extent the information is relevant to
     the requesting agencies’ function. See, 74 F.R. 14890 (2009), and as amended from time to time for additional background and other routine
     uses. In addition, the CARES Act, requires SBA to register every loan made under the Paycheck Protection Program using the Taxpayer
     Identification Number (TIN) assigned to the borrower.
     Debt Collection Act of 1982, Deficit Reduction Act of 1984 (31 U.S.C. 3701 et seq. and other titles) – SBA must obtain your taxpayer
     identification number when you apply for a loan. If you receive a loan, and do not make payments as they come due, SBA may: (1) report the
     status of your loan(s) to credit bureaus, (2) hire a collection agency to collect your loan, (3) offset your income tax refund or other amounts due
     to you from the Federal Government, (4) suspend or debar you or your company from doing business with the Federal Government, (5) refer
     your loan to the Department of Justice, or (6) take other action permitted in the loan instruments.
     Right to Financial Privacy Act of 1978 (12 U.S.C. 3401) – The Right to Financial Privacy Act of 1978, grants SBA access rights to financial
     records held by financial institutions that are or have been doing business with you or your business including any financial institutions
     participating in a loan or loan guaranty. SBA is only required provide a certificate of its compliance with the Act to a financial institution in
     connection with its first request for access to your financial records. SBA’s access rights continue for the term of any approved loan guaranty
     agreement. SBA is also authorized to transfer to another Government authority any financial records concerning an approved loan or loan
     guarantee, as necessary to process, service or foreclose on a loan guaranty or collect on a defaulted loan guaranty.
     Freedom of Information Act (5 U.S.C. 552) – This law provides, with some exceptions, that SBA must supply information reflected in agency
     files and records to a person requesting it. Information about approved loans that is generally released includes, among other things, statistics
     on our loan programs (individual borrowers are not identified in the statistics) and other information such as the names of the borrowers, the
     amount of the loan, and the type of the loan. Proprietary data on a borrower would not routinely be made available to third parties. All requests
     under this Act are to be addressed to the nearest SBA office and be identified as a Freedom of Information request.

     Occupational Safety and Health Act (15 U.S.C. 651 et seq.) – The Occupational Safety and Health Administration (OSHA) can require
     businesses to modify facilities and procedures to protect employees. Businesses that do not comply may be fined and required to abate the
     hazards in their workplaces. They may also be ordered to cease operations posing an imminent danger of death or serious injury until employees
     can be protected. Signing this form is certification that the applicant, to the best of its knowledge, is in compliance with the applicable OSHA
     requirements, and will remain in compliance during the life of the loan.
     Civil Rights (13 C.F.R. 112, 113, 117) – All businesses receiving SBA financial assistance must agree not to discriminate in any business
     practice, including employment practices and services to the public on the basis of categories cited in 13 C.F.R., Parts 112, 113, and 117 of
     SBA Regulations. All borrowers must display the "Equal Employment Opportunity Poster" prescribed by SBA.
     Equal Credit Opportunity Act (15 U.S.C. 1691) – Creditors are prohibited from discriminating against credit applicants on the basis of race,
     color, religion, national origin, sex, marital status or age (provided the applicant has the capacity to enter into a binding contract); because all
     or part of the applicant’s income derives from any public assistance program; or because the applicant has in good faith exercised any right
     under the Consumer Credit Protection Act.
     Debarment and Suspension Executive Order 12549; (2 CFR Part 180 and Part 2700) – By submitting this loan application, you certify that
     neither the Applicant or any owner of the Applicant have within the past three years been: (a) debarred, suspended, declared ineligible or
     voluntarily excluded from participation in a transaction by any Federal Agency; (b) formally proposed for debarment, with a final determination
     still pending; (c) indicted, convicted, or had a civil judgment rendered against you for any of the offenses listed in the regulations or (d)
     delinquent on any amounts owed to the U.S. Government or its instrumentalities as of the date of execution of this certification.




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                                          PPP Borrower Demographic Information Form (Optional)
     Instructions
     1. Purpose. Veteran/gender/race/ethnicity data is collected for program reporting purposes only.
     2. Description. This form requests information about each of the Borrower’s Principals. Add additional sheets if necessary.
     3. Definition of Principal. The term “Principal” means:
              For a self-employed individual, independent contractor, or a sole proprietor, the self-employed individual, independent contractor,
               or sole proprietor.
              For a partnership, all general partners and all limited partners owning 20% or more of the equity of the Borrower, or any partner that
               is involved in the management of the Borrower’s business.
              For a corporation, all owners of 20% or more of the Borrower, and each officer and director.
              For a limited liability company, all members owning 20% or more of the Borrower, and each officer and director.
              Any individual hired by the Borrower to manage the day-to-day operations of the Borrower (“key employee”).
              Any trustor (if the Borrower is owned by a trust).
              For a nonprofit organization, the officers and directors of the Borrower.
     4. Principal Name. Insert the full name of the Principal.
     5. Position. Identify the Principal’s position; for example, self-employed individual; independent contractor; sole proprietor; general partner;
        owner; officer; director; member; or key employee.


        Principal Name                                                         Position
         SIMCHA HYMAN                                                           Manager

                                        1=Non-Veteran;                         1=Non-Veteran
                                        2=Veteran;
                                        3=Service-Disabled
        Veteran
                                        Veteran; 4=Spouse
                                        of Veteran; X=Not
                                        Disclosed
                                        M=Male; F=Female;                      M=Male
        Gender
                                        X=Not Disclosed
                                        1=American Indian                      5=White
                                        or Alaska Native;
                                        2=Asian; 3=Black
                                        or African-
        Race
                                        American; 4=Native
                                        Hawaiian or Pacific
                                        Islander; 5=White;
                                        X=Not Disclosed
                                        H=Hispanic or                          N=Not Hispanic or Latino
                                        Latino; N=Not
        Ethnicity
                                        Hispanic or Latino;
                                        X=Not Disclosed




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                       United States Small Business Administration
                             Office of Hearings and Appeals


   PAYCHECK PROTECTION
   PROGRAM APPEAL OF:
                                                             Issued: January 3, 2023
   Accordius Health at Asheville LLC et al.
                                                             Docket No. PPP-4336458510
       APPELLANT

   Appealed from:

   SBA PPP Loan Number 4336458510

              ORDER - STIPULATIONS & CONSENT ADMINISTRATIVE RECORD

      On January 3, 2023, an Order was issued providing that in the interest of judicial
economy, this and the 37 appeals set forth in the attached Exhibit A were consolidated for
the purpose of the filing of any party motions or briefs, and for any Orders issued by the
undersigned. This appeal, Accordius Health at Asheville LLC PPP No. 4336458510, was
ordered the “lead case” for any motions, briefs, and/or Orders.

        On February 6, 2023, the Parties filed Consent Stipulations, as follows:

        1) SBA denied Appellants’ loan forgiveness applications finding, in part, that each
            of the Appellants “is part of a corporate group [that] has received more than
            $20,000,000 of First Draw PPP loans in the aggregate.” (Decision Letter)
        2) Appellants’ appeals of the denial decisions were timely filed.
        3) 84 entities, owned equally by individuals Simcha Hyman and Naftali Zanziper,
            received first-draw PPP loans.
        4) The SBA forgave the first-draw PPP loans for 36 of these entities.
        5) The SBA denied forgiveness for the first-draw PPP loans of the 48 other
            entities. 1
        6) Appellants disclosed their ownership by Simcha Hyman and Naftali Zanziper
            in their Paycheck Protection Program Borrower applications.
        7) Appellants complied with SBA’s requests for information.
        8) Whether Appellants satisfied SBA’s alternative size standard is not at issue in
            this appeal.
        9) The parties have agreed to submission of a limited record in this consolidated
            appeal.

1 The 48 appeals were apportioned between two Administrative Law Judges: 38 were assigned to ALJ Haring,

and
10 were assigned to ALJ Trunick.


                                                                                      USA-000728
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         The undersigned acknowledges and ACCEPTS the Parties Stipulations, as set forth
above.

       On February 6, 2023, the Parties filed a joint Motion for leave to file a stipulated,
limited Administrative Record in this consolidated appeal. The parties agree the proposed
limited Administrative Record does not contain all documents pertaining to the Appellants,
it does contain the documents SBA considered when making its final loan review decisions
pursuant to 13 C.F.R. § 134.1207(b) that are relevant to the issue in this consolidated appeal.

        Based upon the requirements set forth in 13 C.F.R. § 134.1207(b) and the agreement
of the Parties, the Administrative Record proposed by the Parties is ACCEPTED. SBA shall
file the proposed Administrative Record within the OHA on-line portal under Docket No.
PPP-4336458510. The Administrative Record filed therein shall apply as the Administrative
Record in the 37 appeals set forth in the attached Exhibit A.


                                                      SO ORDERED.



                                                       BRIAN J. HARING
                                                       U.S. Administrative Law Judge




                                                                              USA-000729
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                                                               Docket No. PPP-4336458510

                                 EXHIBIT A

                                                        PPP Loan No./
        APPELLANT                                       OHA Docket No. PPP-
 Accordius Health at Bay Pointe LLC                     3123528607
 Accordius Health at Brevard LLC                        8306238609
 Accordius Health at Charlotte LLC                      3200798601
 Accordius Health at Concord LLC                        3015918609
 Accordius Health at Greensboro LLC                     3124028601
 Accordius Health at Hendersonville LLC                 5169688603
 Accordius Health at Lynchburg LLC                      5975278603
 Accordius Health at Midwood LLC                        5035908602
 Accordius Health at Monroe LLC                         8192158610
 Accordius Health at Mooresville LLC                    8162528602
 Accordius Health at River Pointe LLC                   6531908606
  Accordius Health at Rose Manor LLC                    6327628608
  Accordius Health at Statesville LLC                   8074818606
  Accordius Health at Wilkesboro LLC                    1946638705
  Accordius Health at Wilson LLC                        1825438708
  Accordius Health at Winston Salem LLC                 7988958604
  Anderson SC OPCO LLC                                  2869798805
  Carolina Pines at Asheville LLC                       3383808800
  Caroline Pines at Greensboro LLC                      3097548608
  Covington TN OPCO LLC                                 4967028604
  Farthing Mayfield KY OPCO LLC                         2971158808
  Greenville KY OPCO LLC                                2614148709
  Hopkinsville KY OPCO LLC                              2614318701
  Knoxville OPCO LLC                                    7659928605
  Leitchfield KY OPCO LLC                               2617258702
  Loudon OPCO LLC                                       1383928704
  Madisonville Health and Rehabilitation LLC            1472948701
  Maryville Fairpark OPCO LLC                           1470638709
  Maryville Jamestown OPCO LLC                          2382638703
  Mayfield KY OPCO LLC                                  1635078706
  Mount Pleasant TN OPCO LLC                            1703648703
  Paducah Center for Health and Rehabilitation          1299808700
  Pelican Health Randolph LLC                           1535178704
  Pelican Health Reidsville LLC                         1581268708
  Pelican Health Thomasville LLC                        1935708707
  Princeton KY OPCO LLC                                 6580538609
  Red Boiling Springs TN OPCO LLC                       1993548705

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                       United States Small Business Administration
                             Office of Hearings and Appeals


   PAYCHECK PROTECTION
   PROGRAM APPEAL OF:
                                                             Issued: February 6, 2023
   Accordius Health at Asheville LLC et al.
                                                             Docket No. PPP-4336458510
       APPELLANT

   Appealed from:

   SBA PPP Loan Number 4336458510

              ORDER - STIPULATIONS & CONSENT ADMINISTRATIVE RECORD

      On January 3, 2023, an Order was issued providing that in the interest of judicial
economy, this and the 37 appeals set forth in the attached Exhibit A were consolidated for
the purpose of the filing of any party motions or briefs, and for any Orders issued by the
undersigned. This appeal, Accordius Health at Asheville LLC PPP No. 4336458510, was
ordered the “lead case” for any motions, briefs, and/or Orders.

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        1) SBA denied Appellants’ loan forgiveness applications finding, in part, that each
            of the Appellants “is part of a corporate group [that] has received more than
            $20,000,000 of First Draw PPP loans in the aggregate.” (Decision Letter)
        2) Appellants’ appeals of the denial decisions were timely filed.
        3) 84 entities, owned equally by individuals Simcha Hyman and Naftali Zanziper,
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        5) The SBA denied forgiveness for the first-draw PPP loans of the 48 other
            entities. 1
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        7) Appellants complied with SBA’s requests for information.
        8) Whether Appellants satisfied SBA’s alternative size standard is not at issue in
            this appeal.
        9) The parties have agreed to submission of a limited record in this consolidated
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1 The 48 appeals were apportioned between two Administrative Law Judges: 38 were assigned to ALJ Haring,

and
10 were assigned to ALJ Trunick.


                                                                                      USA-000731
    Case 1:23-cv-00129-MR            Document 24-3         Filed 11/28/23       Page 231 of 300
         The undersigned acknowledges and ACCEPTS the Parties Stipulations, as set forth
above.

       On February 6, 2023, the Parties filed a joint Motion for leave to file a stipulated,
limited Administrative Record in this consolidated appeal. The parties agree the proposed
limited Administrative Record does not contain all documents pertaining to the Appellants,
it does contain the documents SBA considered when making its final loan review decisions
pursuant to 13 C.F.R. § 134.1207(b) that are relevant to the issue in this consolidated appeal.

        Based upon the requirements set forth in 13 C.F.R. § 134.1207(b) and the agreement
of the Parties, the Administrative Record proposed by the Parties is ACCEPTED. SBA shall
file the proposed Administrative Record within the OHA on-line portal under Docket No.
PPP-4336458510. The Administrative Record filed therein shall apply as the Administrative
Record in the 37 appeals set forth in the attached Exhibit A.

THIS ORDER IS AMENDED TO REFLECT THE CORRECT DATE OF ISSUANCE. The prior
Order incorrectly listed the same as January 3, 2023.

                                                      SO ORDERED.



                                                       BRIAN J. HARING
                                                       U.S. Administrative Law Judge




                                                                              USA-000732
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                                                               Docket No. PPP-4336458510

                                 EXHIBIT A

                                                        PPP Loan No./
        APPELLANT                                       OHA Docket No. PPP-
 Accordius Health at Bay Pointe LLC                     3123528607
 Accordius Health at Brevard LLC                        8306238609
 Accordius Health at Charlotte LLC                      3200798601
 Accordius Health at Concord LLC                        3015918609
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  Accordius Health at Winston Salem LLC                 7988958604
  Anderson SC OPCO LLC                                  2869798805
  Carolina Pines at Asheville LLC                       3383808800
  Caroline Pines at Greensboro LLC                      3097548608
  Covington TN OPCO LLC                                 4967028604
  Farthing Mayfield KY OPCO LLC                         2971158808
  Greenville KY OPCO LLC                                2614148709
  Hopkinsville KY OPCO LLC                              2614318701
  Knoxville OPCO LLC                                    7659928605
  Leitchfield KY OPCO LLC                               2617258702
  Loudon OPCO LLC                                       1383928704
  Madisonville Health and Rehabilitation LLC            1472948701
  Maryville Fairpark OPCO LLC                           1470638709
  Maryville Jamestown OPCO LLC                          2382638703
  Mayfield KY OPCO LLC                                  1635078706
  Mount Pleasant TN OPCO LLC                            1703648703
  Paducah Center for Health and Rehabilitation          1299808700
  Pelican Health Randolph LLC                           1535178704
  Pelican Health Reidsville LLC                         1581268708
  Pelican Health Thomasville LLC                        1935708707
  Princeton KY OPCO LLC                                 6580538609
  Red Boiling Springs TN OPCO LLC                       1993548705

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                         OFFICE OF HEARINGS AND APPEALS

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PAYCHECK PROTECTION PROGRAM                                    )
APPEAL OF:                                                     )
                                                               )
Accordius Health at Asheville LLC et al.                       ) Docket No. PPP-4336458510
                                                               )
         Appellant                                             )
                                                               )
Appealed from                                                  )
SBA PPP Loan No. 4336458510                                    )
                                                               )


       U.S. SMALL BUSINESS ADMINISTRATION’S RESPONSE TO APPEAL OF
                 ACCORDIUS HEALTH AT ASHEVILLE LLC et al.

         COMES NOW, the United States Small Business Administration (“SBA”), by and

through its undersigned counsel, and pursuant to the Notice and Order entered January 3, 2023,

(“Order”) responds to the consolidated appeals (“Appeals”) filed by the appellants identified in

the attached Exhibit A (“Appellants”). As demonstrated below, Appellants failed to meet their

burden of proof to demonstrate that the final SBA loan review decisions (“Final Decisions”)

were based on a clear error of fact or law. Therefore, OHA should affirm SBA’s Final

Decisions. In support thereof, SBA submits as follows:

                                    PROCEDURAL BACKGROUND

         SBA denied Appellants’ loan forgiveness applications, finding that Appellants were

ineligible for loan forgiveness because Appellants were “part of a corporate group” that received

“more than $20,000,000 of First Draw PPP loans in the aggregate.” 1 (Decision Letter) 2

         Appellants timely filed appeals from the Final Decisions. SBA filed a consent motion to

consolidate the appeals, which was granted. (ORDER- Consolidation)

1
 The Final Decisions are identical among all consolidated appeals.
2
 All citations are to the docket of the lead case, Accordius Health at Asheville, LLC. The citations are to the name
of the document as reflected in the OHA Portal.


                                                                                                USA-0007341
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        SBA timely filed a stipulated Administrative Record (“Record” or “AR”) on February 6,

2023. (Stipulated AR) Simultaneously with the Record, the parties also filed a joint stipulation to

certain facts. (Joint Stipulation + Motion) Appellants did not object to the Record, and the time

to object has expired.

                                      FACTUAL BACKGROUND

        On March 27, 2020, the Coronavirus Aid, Recovery and Economic Security Act

(“CARES Act”) became law. P.L.116-136 (March 27, 2020). The Economic Aid to Hard-Hit

Small Businesses, Nonprofits, and Venues Act (“EAA”) became law on December 27, 2020.

P.L.116-260 (December 27, 2020). Appellants applied for and received PPP loans between

February 23, 2021 and April 12, 2021. (Stipulated AR 2-638) 3 Between June 28, 2022 and

September 7, 2022, Appellants executed PPP Loan Forgiveness Applications requesting

forgiveness of the full amount of their loans. (Id.) SBA reviewed Appellants’ loans to determine

whether Appellants were part of a corporate group that received more than $20,000,000 in PPP

loans, the maximum allowed aggregate loan amount for a corporate group. (Stipulated AR 693)

During SBA’s review, Appellants complied with SBA’s requests for additional information.

(Joint Stipulation + Motion)

        After reviewing the information provided by Appellants, SBA determined that Appellants

were affiliated with 343 other entities commonly owned, directly or indirectly, by Simcha

Hyman (“Hyman”) and Naftali Zanziper (“Zanziper”) (collectively “common parent

Hyman/Zanziper”). (Stipulated AR 649) SBA further determined that although this affiliated

group exceeded the employee-based size standard of 500 employees, it met the alternative size

standard requirement to be eligible for a PPP loan. (Stipulated AR 649-50) Nevertheless, SBA


3
  The Administrative Record that has been filed with OHA in PDF format begins with a Table of Contents listing the
location of each document for the reader’s convenience. As the pages of the record are not numbered, citations to
the Administrative Record herein will be to the PDF viewing page.


                                                                                             USA-0007352
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concluded that Appellants were ineligible for PPP loan forgiveness because they were part of a

corporate group, with the common parent Hyman/Zanziper, and all of Appellants’ loans funded

after the corporate group had reached the $20 million limit. (Stipulated AR 651-52) In other

words, when the PPP loans for each of the Appellants funded, other entities within the corporate

group had already received more than $20 million in PPP loans. Appellants timely filed their

appeals.

                                   STANDARD OF REVIEW

       Title 13 C.F.R. § 134.1210, Standard of review, is whether the final SBA loan review

decisions were based on clear error of fact or law. Appellants have the burden of proof. Id.

                                          ARGUMENT

       The Record, Appeal, and applicable authorities demonstrate that (1) SBA had the

authority to limit the amount of PPP funds a “corporate group” could obtain; (2) Appellants were

part of a corporate group with common parent Hyman/Zanziper that received over $20 million in

PPP loans in the aggregate, (3) Appellants’ loans funded after the January 2021 IFR and after

other borrowers within the corporate group had already received more than $20 million in PPP

loans; and (4) Appellants were thus ineligible for PPP loan forgiveness. Therefore, OHA should

affirm the SBA Final Decisions.

       A. The CARES Act and EAA Provided SBA Authority to Make Rules and
          Regulations to Implement the PPP Loan Program

       Congress has given SBA broad authority to make rules and regulations, to take actions

that “are necessary or desirable in making . . . loans,” 15 U.S.C. § 634(b)(6)-(7), and to establish

general policies to “govern the granting and denial of applications for financial assistance by the

Administration,” id. § 633(d). That background authority naturally extends to the PPP lending

program. See Camelot Banquet Rooms, Inc., et al. v. SBA, No. 21-2589, 2022 WL 221616 (7th

Cir. 2022) (noting that first round PPP legislation “gave the SBA considerable discretion to

                                                                                   USA-0007363
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decide eligibility for the Program.”)

       SBA’s policy of limiting the amount of PPP loans to borrowers in a single corporate

group is wholly consistent with the CARES and EAA Acts and their aims. While there is no

question that Congress wanted to protect American workers from unemployment through the

CARES and EAA Acts, it does not follow that Congress expected that objective to be pursued to

the exclusion of all other considerations and lending criteria. Indeed, the CARES Act made the

PPP part of SBA’s 7(a) Loan Program and subject to the policies and regulations applicable to

the 7(a) Loan Program (see CARES Act § 1102, 134 Stat. at 287 (codified at 15 U.S.C. §

636(a)(36)(B)), which excludes businesses from participation for many reasons, including, for

example, the nature of the business, or the existence of prior defaulted federal loans (see 13

C.F.R. § 120.110).

       Pursuant to her authority under the CARES Act, the Administrator determined that to

“preserve the limited resources available to the PPP program” and in light of “the high demand

for PPP loans,” businesses that are part of a single corporate group could not receive over

$20,000,000 in PPP loans in the aggregate:

       The Administrator, in consultation with the Secretary, determined that limiting the
       amount of PPP loans that a single corporate group may receive will promote the
       availability of PPP loans to the largest possible number of borrowers, consistent
       with the CARES Act. The Administrator has concluded that a limitation of
       $20,000,000 strikes an appropriate balance between broad availability of PPP
       loans and program resource constraints.

85 Fed. Reg. at 26325.

       The Administrator applied this same rationale in promulgating the IFR issued on January

14, 2021, following the enactment of the EAA, explaining that “To preserve finite appropriations

for PPP loans and ensure broad access for eligible borrowers, the Administrator, in consultation

with the Secretary, has determined that an aggregate limitation on loans to a single corporate

group is necessary and appropriate.” 86 Fed. Reg. at 3702, fn 59.

                                                                                  USA-0007374
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       Appellants argue that the IFRs cannot serve as a basis to impose limits on the amount of

PPP funds a corporate group could receive because they did not comply with the notice and

comment procedures set forth in the Administrative Procedure Act. However, Appellants

overlook the fact that the CARES Act and the EAA explicitly allowed the SBA to dispense with

notice requirements in promulgating regulations to carry out Title I of the Act, which created the

PPP. CARES Act § 1114, 134 Stat. at 312; EAA, § 303, 134 Stat. at 1993. Specifically, section

303 of the EAA, titled “Emergency Rulemaking Authority” states that “[n]ot later than 10 days

after the date of enactment of this Act, the Administrator shall issue regulations to carry out this

Act and the amendments made by this Act without regard to the notice requirements under

section 553(b) of title 5, United States Code.” Id. (emphasis added); see also 86 Fed. Reg. at

3694 (setting forth a good cause justification for immediate implementation and stating “This

interim final rule is being issued without advance notice and public comment because section

303 of the Economic Aid Act authorizes SBA to issue regulations to implement the Economic

Aid Act without regard to notice requirements.”)

       In any event, Administrative Law Judges (ALJs) are bound by SBA regulation and

interpretation of its governing statutes and regulations as they do not have constitutionally based

judicial power. See Ramspeck v. Federal Trial Examiners Conference, 345 U.S. 128, 132-33

(1953) OHA has recognized the limited scope of its authority and has repeatedly held that it “is

not the proper forum for a challenge to the validity of a regulation.” Matter of Cognitive

Professional Services, Inc., Case No. BDPE-545 at *3 (March 10, 2015) (“Questions about the

validity or constitutionality of regulations do not fall within the jurisdiction of the Office of

Hearings and Appeals, and I may not consider them. See 13 C.F.R. § 134.102.”)

       Based on the above, OHA should uphold SBA’s decision to limit the amount of PPP

funds available to a single corporate group. SBA’s Final Decisions denying Appellants’



                                                                                     USA-0007385
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forgiveness requests are consistent with Congressional intent, the plain language of the CARES

Act and the EAA, and the regulations and rules promulgated thereunder.

         B. Appellants Are Members of a Corporate Group That Received More Than
            $20,000,000 in PPP Funds and Appellants’ Loans Funded After the Corporate
            Group Reached That Limit.

         The applicable IFR of January 14, 2021 (“January 2021 IFR”) 4 provides that,

         businesses that are part of a single corporate group shall in no event receive more
         than $20,000,000 of PPP loans in the aggregate. For purposes of this limit,
         businesses are part of a single corporate group if they are majority owned,
         directly or indirectly, by a common parent.

86 Fed Reg. 3702. 5 (Emphasis added.)

         Appellants have two owners, each owning 50%: Simcha Hyman and Naftali Zanziper.

(Joint Stipulation + Motion). Hyman and Zanziper (combined), are also majority owners of 343

other entities, 84 of which received PPP loans totaling $44,983,180.44 – more than double the

corporate group limit. (Stipulated AR 639; Joint Stipulation + Motion) Hyman and Zanziper are

the common parent for this corporate group of 343 entities, which includes Appellants. While

Appellants contend that a common parent is limited to a corporation or holding company, no

such limitation appears in the regulations, and Appellants offer no support for that position. A

plain reading of common parent encompasses a situation like this where two individuals own a

majority of 343 entities and improperly obtained $44,983,180.44 in PPP funds.

         SBA issued the January 2021 IFR to address the exact issued raised by Appellants’

corporate group. The Administrator wanted “[t]o preserve finite appropriations for PPP loans and

ensure broad access for eligible borrowers” so “in consultation with the Secretary, [she] has

determined that an aggregate limitation on loans to a single corporate group is necessary and


4
  SBA published multiple IFRs that are not relevant here. https://home.treasury.gov/policy-
issues/coronavirus/assistance-for-small-businesses/paycheck-protection-program
5
  A subsequent IFR was implemented for loans approved on or after March 11, 2021 and that IFR made revisions consistent with
the American Rescue Plan Act, but did not alter the Corporate Group limitation. See 86 FR 15083 (March 22, 2021)


                                                                                                      USA-0007396
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appropriate.” 86 Fed. Reg. at 3702, fn 59. The Administrator did not want the Hyman/Zanziper

corporate group to obtain $44,983,180.44 in finite PPP funds and thus deplete available funds for

other small businesses. The Administrator, in her broad discretion, determined that a limit of

$20,000,000 in PPP for any corporate group, including the corporate group with common parent

Hyman/Zanziper, was reasonable. Therefore, because Appellants’ PPP loans funded after this

corporate group had already received more than $20 million in PPP loans and well after SBA

issued the January 2021 IFR, Appellants’ loans are not eligible for forgiveness. (Stipulated AR

2-638)

         Another way to look at the Hyman/Zanziper common parent issue, which ALJs Mehle

and Sturek adopted when affirming SBA’s final loan decisions on the common parent issue in

other PPP appeals, is to find that Hyman and Zanziper are partners-in-fact. Hyman and

Zanziper, both residents of New York (Stipulated AR 2), are partners-in-fact because they are

two persons associating to carry on as co-owners of a business for profit. See Uniform

Partnership Act of 1914, Part II, § 6; Hammond v. Smith, 151 A.D.3d 1896, 1897 (N.Y. 2017)

(defining partnership). The de facto Hyman and Zanziper partnership is the common parent of

the 343 entity corporate group, which includes Appellants.

         The 84 PPP loans made to this corporate group total $44,983,180.44 in the aggregate,

more than double the $20,000,000 limit. (Stipulated AR 639) As members of this corporate

group, Appellants were subject to the January 2021 IFR and are ineligible for PPP loan

forgiveness because their loans funded after the corporate group reached the $20 million limit

and after the January 2021 IFR.

         C. Appellants Are Ineligible For PPP Loan Forgiveness.




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       Appellants’ membership in a single corporate group and receipt of PPP loans after the

corporate group reached the $20 million limit rendered them ineligible for PPP loan forgiveness.

The January 2021 IFR provides that:

       It is the responsibility of an applicant for a PPP loan to notify the lender if
       the applicant has applied for or received PPP loans in excess of the amount
       permitted by this interim final rule and withdraw or request cancellation of
       any pending PPP loan application or approved PPP loan not in compliance
       with the limitation set forth in this rule. Failure by the applicant to do so will
       be regarded as a use of PPP funds for unauthorized purposes, and the loan
       will not be eligible for forgiveness.

86 Fed Reg. 3702. Prior to the disbursement of Appellants’ loans, entities in the Hyman/Zanziper

corporate group had already obtained at least 36 loans totaling more than the $20,000,000

limitation. (Stipulated AR 639-44) Therefore, Appellants, as part of a corporate group that had

already received more than $20,000,000 in aggregate PPP loans, were required to notify their

Lenders of the excess amount and request cancellation of their pending PPP loan applications

and all other pending PPP loan applications for the corporate group. Appellants did not do that.

Therefore, in accordance with the January 2021 IFR, the use of PPP funds for these PPP loans

was for unauthorized purposes, and the loans are not eligible for forgiveness in accordance with

the January 2021 IFR.

                                          CONCLUSION

       Appellants failed to meet their burden to show that SBA’s Final Decisions denying

forgiveness were a clear error of law or fact. Thus, OHA should affirm the decisions.



                                               Respectfully submitted,




                                               Sameena Nabijee
                                               Attorney for SBA



                                                                                     USA-0007418
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                 UNITED STATES SMALL BUSINESS ADMINISTRATION
                        OFFICE OF HEARINGS AND APPEALS

                                                      )
PAYCHECK PROTECTION PROGRAM                           )
APPEAL OF:                                            )
                                                      )
Accordius Health at Asheville LLC et al.              ) Docket No. PPP-4336458510
                                                      )
          Appellant                                   )
                                                      )
Appealed from                                         )
SBA PPP Loan No. 4336458510                           )
                                                      )

                                  CERTIFICATE OF SERVICE

          I certify that on March 3, 2023, I filed a copy of the above response in the OHA Case

Portal.



                                                      Respectfully submitted,




                                                      Sameena Nabijee
                                                      Attorney for SBA
                                                      U.S. Small Business Administration
                                                      332 S. Michigan Ave., Suite 600
                                                      Chicago, IL 60604
                                                      Phone: (312) 353-8614




                                                                                   USA-0007429
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               APPELLANT                      DOCKET NUMBER

       Accordius Health at Asheville      4336458510
       LLC
       Accordius Health at Bay Pointe     3123528607
       LLC
       Accordius Health at Brevard        8306238609
       LLC
       Accordius Health at Charlotte      3200798601
       LLC
       Accordius Health at Concord        3015918609
       LLC
       Accordius Health at Greensboro     3124028601
       LLC
       Accordius Health at                5169688603
       Hendersonville LLC
       Accordius Health at Lynchburg      5975278603
       LLC
       Accordius Health at Midwood        5035908602
       LLC
       Accordius Health at Monroe         8192158610
       LLC
       Accordius Health at Mooresville    8162528602
       LLC
       Accordius Health at River Pointe   6531908606
       LLC
       Accordius Health at Rose Manor     6327628608
       LLC
       Accordius Health at Statesville    8074818606
       LLC
       Accordius Health at Wilkesboro     1946638705
       LLC
       Accordius Health at Wilson LLC     1825438708

       Accordius Health at Winston        7988958604
       Salem LLC
       Anderson SC OPCO LLC               2869798805

       Carolina Pines at Asheville LLC    3383808800

       Caroline Pines at Greensboro       3097548608
       LLC
       Covington TN OPCO LLC              4967028604

       Farthing Mayfield KY OPCO          2971158808
       LLC


                                                                     USA-000743
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       Greenville KY OPCO LLC           2614148709

       Hopkinsville KY OPCO LLC         2614318701

       Knoxville OPCO LLC               7659928605

       Leitchfield KY OPCO LLC          2617258702

       Loudon OPCO LLC                  1383928704

       Madisonville Health and          1472948701
       Rehabilitation LLC
       Maryville Fairpark OPCO LLC      1470638709

       Maryville Jamestown OPCO         2382638703
       LLC
       Mayfield KY OPCO LLC             1635078706

       Mount Pleasant TN OPCO LLC       1703648703

       Paducah Center for Health and    1299808700
       Rehabilitation
       Pelican Health Randolph LLC      1535178704

       Pelican Health Reidsville LLC    1581268708

       Pelican Health Thomasville LLC   1935708707

       Princeton KY OPCO LLC            6580538609

       Red Boiling Springs TN OPCO      1993548705
       LLC




                                                                   USA-000744
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                    United States Small Business Administration
                          Office of Hearings and Appeals


   PAYCHECK PROTECTION
   PROGRAM APPEAL OF:
                                                           Issued: March 8, 2023
   Accordius Health at Asheville LLC et al.
                                                           Decision No. PPP-4336458510
      APPELLANTS

   Appealed from:

  SBA PPP Loan Number 4336458510
Appearances:
 Frederick N. Widen, Joshua Klarfeld, & Sara S. Dorland, Ulmer & Berne LLP, for Appellants.
 Sameena Nabijee, Attorney for the Small Business Administration.

                               CONSOLIDATED DECISION

    After carefully considering the evidence and arguments presented in the Administrative
Records, the appeal petitions of Accordius Health at Asheville LLC, et. al. (Appellants) are
DENIED. For the reasons discussed below, the final SBA loan review decisions are AFFIRMED.

                                 PROCEDURAL HISTORY

    The Appellants (Borrowers) submitted Paycheck Protection Program (PPP) Borrower
Applications. The Appellants were approved for individual First Draw PPP loans through
authorized PPP lenders (Lender) and received the loan proceeds. The Appellants submitted PPP
Loan Forgiveness Applications through the Lender that subsequently issued lender decisions
concerning loan forgiveness.

    The U.S. Small Business Administration (SBA) Office of Capital Access issued final PPP
loan review decisions finding Appellants ineligible for their respective PPP loans and any
subsequent loan forgiveness.

     On December 6 & 7, 2022, the Appellants filed appeal Petitions from the final SBA loan
review decisions. Appellants argue the final SBA loan review decisions are clearly erroneous, and
request the Office of Hearings and Appeals (OHA) reverse them, and find the Appellants eligible
for PPP loan forgiveness.

    On December 13, 2022, Notice and Orders were issued under their individual appeals
requiring the filing of the Administrative Records (AR) by January 3, 2023, providing for the
Appellants to file Objections to the same by January 12, 2023, and allowing for SBA to file
Responses to the Petitions by January 27, 2023.


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                                                                           Docket No. PPP-4336458510 et al.


     On December 22, 2022, SBA filed a Consent Motion to consolidate the Appellant’s Petitions,
as set forth in the attached and incorporated Exhibit A and designate appeal PPP-4336458519 as
the “lead case”. The Motion further sought an extension of time to file the ARs, Objections, and
Responses.

    On January 3, 2023, an Order of Consolidation was issued naming Accordius Health at
Asheville LLC PPP No. 4336458510, as the “lead case” for any motions, briefs, and orders.

     On January 13, 2023, an Amended Notice and Order was issued requiring the filing of the
ARs by February 6, 2023, providing for the Appellants to file Objections to the same by February
17, 2023, and allowing for SBA to file Responses to the Petitions by March 3, 2023

     On February 6, 2023, SBA filed Joint Stipulation and Motion for Leave to File Consolidated
Administrative Record, an Order and Amended Order were issued granting the parties Joint
Motion for Leave to File the Stipulations and limited AR for the consolidated appeal, and the AR
was filed. The Appellants did not file an Objection to the AR and SBA did not file a Response to
the Petitions. The AR was closed on March 3, 2023.

                                            ISSUES

   Whether the final SBA loan review decisions contain clear errors of law or fact to allow
Appellants PPP loan forgiveness?

                             APPLICABLE LAW AND POLICY

   I.      Paycheck Protection Program

    PPP is a temporary SBA 7(a) Loan Program designed to provide emergency assistance to
certain small businesses during the COVID-19 crisis, for the purposes of helping businesses keep
their workers paid and employed. PPP was established under section 1102 of the Coronavirus Aid,
Relief, and Economic Security Act (CARES Act) (Pub. L. 116–136), which was signed into law
on March 27, 2020, and subsequently was revised and expanded by other statutes. In general, PPP
was open to all American small businesses with 500 or fewer employees, including sole
proprietorships, independent contractors, and self-employed individuals.          15 U.S.C. §
636(a)(36)(D).

    Under PPP, borrowers obtain loans through an SBA-approved lender, rather than from SBA
itself, and the lender services the PPP loan. SBA implements the program and guarantees 100%
of PPP loans in the event of default. As a condition for obtaining a PPP loan, a borrower was
required to certify that PPP funds would be used to retain workers and maintain payroll or to make
mortgage, lease, and utility payments. PPP funds could not be used for compensation of employees
whose principal place of residence was outside the United States. Further, salary expenditures
were capped at no more than $100,000 annually per employee. 15 U.S.C. § 636(a)(36)(G) and
(A)(viii)(II).




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     Generally, a small-business concern shall be deemed to be one which is independently owned
and operated and which is not dominant in its field of operation. In addition to the criteria specified
in 15 U.S.C. § 632(a)(1), the Administrator may specify detailed definitions or standards by which
a business concern may be determined to be a small business concern for the purposes of the Small
Business Act or any other act. The standards specified by the Administrator may utilize number
of employees, dollar volume of business, net worth, net income, a combination thereof, or other
appropriate factors. 15 U.S.C. § 632(a)(1) and (2)(A)&(B).

    SBA established its initial small business size standards on January 1, 1957. 21 Fed. Reg.
9709-9714, December 7, 1956.

    Except for small agricultural cooperatives, a business concern eligible for assistance from SBA
as a small business is a business entity organized for profit, with a place of business located in the
United States, and which operates primarily within the United States or which makes a significant
contribution to the U.S. economy through payment of taxes or use of American products, materials
or labor. A business concern may be in the legal form of an individual proprietorship, partnership,
limited liability company, corporation, joint venture, association, trust or cooperative, except that
where the form is a joint venture there can be no more than 49 percent participation by foreign
business entities in the joint venture. 13 C.F.R. § 121.105(a)(1) and (b).

     The Administrator has established SBA's size standards to define whether a business entity is
small and, thus, eligible for Government programs and preferences reserved for “small business”
concerns. Size standards have been established for types of economic activity, or industry,
generally under the North American Industry Classification System (NAICS). NAICS is described
in the North American Industry Classification Manual-United States, which is available from the
National Technical Information Service, 5285 Port Royal Road, Springfield, VA 22161; by calling
1(800)      553-6847        or    1(703)    605-6000;       or     via    the      Internet     at
http://www.ntis.gov/products/naics.aspx. The manual includes definitions for each industry, tables
showing relationships between 1997 NAICS and 1987 SICs, and a comprehensive index. NAICS
assigns codes to all economic activity within twenty broad sectors. A full table matching a size
standard with each NAICS Industry or U.S. Industry code is also published annually by SBA in
the Federal Register. 13 C.F.R. § 121.101(a-b).

    SBA size standards are expressed either in number of employees or annual receipts in millions
of dollars, unless otherwise specified. The number of employees or annual receipts indicates the
maximum allowed for a concern and its affiliates to be considered small. 13 C.F.R. § 121.201.

    Except for the Business Loan and Disaster Loan Programs, a business concern's average annual
receipts are calculated by determining the total receipts of the concern over its most recently
completed 5 fiscal years divided by 5, or over its most recently completed 3 fiscal years divided
by 3. 13 C.F.R. § 121.104(c)(1). For the Business Loan and Disaster Loan Programs, annual
receipts of a concern that has been in business for three or more completed fiscal years means the
total receipts of the concern over its most recently completed three fiscal years divided by three.
The Business Loan Programs consist of the 7(a) Loan Program. 13 C.F.R. § 121.104(c)(4).
Completed fiscal year means a taxable year including any short year. “Taxable year” and “short
year” have the meanings attributed to them by the IRS. 13 C.F.R. § 121.104(b).



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    The Federal income tax return and any amendments filed with the IRS on or before the date of
self-certification must be used to determine the size status of a concern. SBA will not use tax
returns or amendments filed with the IRS after the initiation of a size determination. When a
concern has not filed a Federal income tax return with the IRS for a fiscal year which must be
included in the period of measurement, SBA will calculate the concern's annual receipts for that
year using any other available information, such as the concern's regular books of account, audited
financial statements, or information contained in an affidavit by a person with personal knowledge
of the facts. 13 C.F.R. § 121.104(a)(1-2).

     Section 1116 of the Small Business Jobs Act of 2010 directed SBA to establish a new
temporary 1 alternative size standard based on tangible net worth and net income for determining
size eligibility for its 7(a) and 504 loan programs, as follows: The Administrator shall establish an
alternative size standard for applicants for business loans under section 636(a) of this title that uses
maximum tangible net worth and average net income as an alternative to the use of industry
standards. See 15 U.S.C. § 632(a)(5)(A).

    This alternative size standard provides a business concern is a small business , if: 1) The
maximum tangible net worth of the business concern is not more than $15,000,000; and 2) The
average net income after Federal income taxes (excluding any carry-over losses) of the business
concern for the 2 full fiscal years before the date of the application is not more than $5,000,000.
15 U.S.C. § 632(a)(5)(B)(i-ii).

     Effective September 27, 2010, the new statutory alternative size standard replaced and
superseded the existing alternative size standard, based on tangible net worth and net income, for
SBA’s 7(a) and 504 loan programs set forth in 13 C.F.R. § 121.301(b)(2). This new statutory
alternative size standard is effective until such time as SBA establishes a permanent alternative
size standard for the 7(a) and 504 loan programs through the rulemaking authority granted the
Administrator under §636(a) of the Small Business Act.

    A business concern is eligible for a First or Second Draw PPP loan if, on its own, it meets the
size standard (employee-based or receipts-based) established by SBA for the NAICS code
applicable to its primary industry, AND together with its affiliates, it meets the size standard
(employee-based or receipts-based) established by SBA for the NAICS code applicable to either
its primary industry or the primary industry of itself and its affiliates on a combined basis,
whichever standard is higher. See 13 C.F.R. § 121.301(a and f) and SBA FAQ Questions 2, 4, 5,
and/or 63 (in relevant part, below).

                         PAYCHECK PROTECTION PROGRAM LOANS
                                  Frequently Asked Questions (FAQs) 2
        2. Question: Are small business concerns (as defined in section 3 of the Small Business Act,
           15 U.S.C. 632) required to have 500 or fewer employees to be eligible borrowers for First
           Draw PPP Loans? 3

1 https://www.sba.gov/sites/default/files/files/bank_5000-1175_0.pdf
2
    https://home.treasury.gov/system/files/136/Paycheck-Protection-Program-Frequently-Asked-Questions.pdf
3
    Question 2 published April 6, 2020 and revised March 3, 2021 to reflect the consolidated interim final rule


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           Answer: No. Small business concerns can be eligible borrowers for First Draw PPP Loans
           even if they have more than 500 employees, as long as they satisfy the existing statutory
           and regulatory definition of a “small business concern” under section 3 of the Small
           Business Act, 15 U.S.C. 632. A business can qualify if it meets the SBA employee-based
           or revenue-based size standard corresponding to its primary industry. Go to
           www.sba.gov/size for the industry size standards.
           Additionally, a business can qualify for a First Draw PPP Loan as a small business
           concern if it met both tests in SBA’s “alternative size standard” as of March 27, 2020:
           (1) maximum tangible net worth of the business is not more than $15 million; and (2) the
           average net income after Federal income taxes (excluding any carry-over losses) of the
           business for the two full fiscal years before the date of the application is not more than $5
           million. (Emphasis added)….

      4. Question: Are lenders required to make an independent determination regarding
         applicability of affiliation rules under 13 C.F.R. 121.301(f) to borrowers? 4
         Answer: No. It is the responsibility of the borrower to determine which entities (if any)
         are its affiliates and determine the employee headcount of the borrower and its affiliates.
         Lenders are permitted to rely on borrowers’ certifications….

      5.    Question: Are borrowers required to apply SBA’s affiliation rules under 13 C.F.R.
           121.301(f)? 5
           Answer: Yes. Borrowers must apply the affiliation rules, including any applicable
           exceptions or affiliation waivers, set forth in SBA’s Interim Final Rule on Affiliation,
           Interim Final Rule on Treatment of Entities with Foreign Affiliates, the consolidated
           interim final rule implementing updates to the PPP, and the interim final rule for Second
           Draw PPP Loans. A borrower must certify on the applicable Borrower Application Form
           that the borrower is eligible to receive a PPP loan. For a First Draw PPP Loan, that
           certification means that the borrower has no more than 500 employees, is a small business
           concern as defined in section 3 of the Small Business Act (15 U.S.C. 632) that meets the
           applicable SBA employee-based or revenue-based size standard, or meets the tests in
           SBA’s alternative size standard, after applying the affiliation rules, if applicable.
           (Emphasis added).

      63. Question: May applicants use SBA’s established size standards (either revenue-based or
          employee-based) or SBA’s alternative size standard to qualify for a Second Draw PPP
          Loan?
          Answer: No. Applicants may not use SBA’s established size standards (either revenue
          based or employee-based) or the alternative size standard to qualify for a Second Draw
          PPP Loan. In general, the size eligibility requirement for Second Draw PPP Loans are
          narrower than the size eligibility requirement for First Draw PPP Loans. With some

implementing updates to the PPP. This FAQ applies only to First Draw PPP Loans. Different eligibility
requirements apply to Second Draw PPP Loans. See FAQ #63 and subsection (c) of the interim final rule for
Second Draw PPP Loans.
4
  Question 4 published April 6, 2020.
5 Question 5 published April 6, 2020 and revised March 3, 2021 to conform to subsections B.1.g.v., B.1.g.vii., and

B.1.g.viii of the consolidated interim final rule implementing updates to the PPP and subsection (c) of the interim
final rule on Second Draw PPP Loans.


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         exceptions, an applicant is eligible for a Second Draw PPP Loan only if it, together with
         its affiliates (if applicable), employs no more than 300 employees. The only exceptions
         are if an Applicant:
         • Is assigned a NAICS code beginning with 72 and employs no more than 300 employees
         per physical location, or
         • Is a news organization that is majority owned or controlled by a business concern that is
         assigned NAICS code 511110 or a NAICS code beginning with 5151 or is a nonprofit
         public broadcasting entity with a trade or business under NAICS code 511110 or 5151,
         and, in either case, employs no more than 300 employees per physical location.

   The size status of an applicant for SBA financial assistance is determined as of the date the
application for financial assistance is accepted for processing by SBA. 13 C.F.R. § 121.302.

    On May 4, 2020, SBA issued Interim Final Rule #7 (IFR #7), which provides that in order to
“preserve the limited resources available to the PPP program, and in light of the previous lapse of
PPP appropriations and the high demand for PPP loans, businesses that are part of a single
corporate group shall in no event receive more than $20,000,000 of PPP loans in the aggregate.
For purposes of this limit, businesses are part of a single corporate group if they are majority
owned, directly or indirectly, by a common parent. This limitation shall be immediately effective
with respect to any loan that has not yet been fully disbursed as of April 30, 2020.” 85 Fed. Reg.
26324, 26325 (May 4, 2020).

    On December 27, 2020, the Economic Aid to Hard-Hit Small Businesses, Nonprofits, and
Venues Act (Economic Aid Act) P.L.116-260, was enacted, extending the authority to make PPP
loans through March 31, 2021, revising certain PPP requirements, and permitting Second Draw
PPP Loans. 86 Fed. Reg. 8283. Businesses applying for a second PPP loan were required to
demonstrate at least a 25% reduction in gross receipts between comparable quarters in 2019 and
2020. 15 U.S.C. § 636(a)(37)(A)(iv).


   II.     PPP Loan Forgiveness

     PPP loans could be used for payroll and employee benefits costs, as well as other operating
expenses, including mortgage interest payments (not principal), rent and lease payments, and
utilities. 15 U.S.C. § 636(a)(36)(F).

    To seek loan forgiveness, a PPP borrower must submit a Loan Forgiveness Application (Form
3508) to its lender, with supporting documentation of its expenditures. Within the application, the
borrower must certify that PPP funds were utilized for authorized purposes, and that all
documentation provided is true and correct. Forgiveness is prohibited without appropriate
supporting documentation, or without the required certification. In general, a PPP borrower may
obtain forgiveness, up to the full amount of its loan, for eligible expenses made during the loan’s
“covered period” (typically, 24 weeks from the date of loan origination). 15 U.S.C. § 636m(e), §
636m(e)(3), § 636m(f), and § 636m(b).




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    To be eligible for loan forgiveness, at least 60 percent of the PPP loan must have been used to
fund payroll and employee benefits costs. The remaining portion (up to 40 percent) of the loan
may have been used for mortgage interest, rent, and other eligible expenses. Subject to certain
exceptions, the amount that can be forgiven may be reduced in proportion to any reductions in the
number of full-time equivalent employees, or if employee salary or wages were reduced by more
than 25%. 15 U.S.C. § 636m(d)(8) and § 636m(d)(2-3).

   The lender reviews the application and makes an initial decision regarding loan forgiveness.
15 U.S.C. § 636m(g).

    Following issuance of an initial decision, Office of Capital Access may issue a final SBA loan
review decision, which is an official written decision issued by the SBA Office of Capital Access
which reviews the PPP loan and finds a borrower: 1) Was ineligible for a PPP loan; 2) Was
ineligible for the PPP loan amount received or used PPP loan proceeds for unauthorized uses; 3)
Is ineligible for PPP loan forgiveness in the amount determined by the lender in its full approval
or partial approval decision issued to the SBA; and/or, 4) Is ineligible for PPP loan forgiveness in
any amount when the lender issued a full denial decision to SBA. The Lender must provide a copy
of the final SBA loan review decision to the borrower within five (5) business days of the date of
the decision (SBA Procedural Notice #5000-20077, effective January 15, 2021 6. 13 C.F.R.
§134.1201(b)(1)-(4).

    OHA conducts PPP appeals under the authority of 13 C.F.R. part 134 Subpart L. The Appellant
has the burden of proving all elements of the appeal. Specifically, the Appellant must prove the
final SBA loan review decision was based upon a clear error of fact or law. Only a borrower on a
loan, or its legal successor in interest, has standing to appeal a final SBA loan review decision. 13
C.F.R. § 134.1210 and 13 C.F.R. § 134.1203.

                               FINDINGS OF FACT AND ANALYSIS

     After careful consideration of the entire AR and pleadings, a preponderance of the evidence
establishes:

     The parties jointly stipulate the following facts:

        1) SBA denied Appellants’ loan forgiveness applications finding, in part, that each of
            the Appellants “is part of a corporate group [that] has received more than
            $20,000,000 of First Draw PPP loans in the aggregate.”
        2) Appellants’ appeals of the denial decisions were timely filed.
        3) 84 entities, owned equally by individuals Simcha Hyman and Naftali Zanziper,
            received first-draw PPP loans.
        4) The SBA forgave the first-draw PPP loans for 36 of these entities.
        5) The SBA denied forgiveness for the first-draw PPP loans of the 48 other entities. 7

6
  SBA PPP lender notices are available from SBA.gov at https://www.sba.gov/funding-programs/loans/covid-19-relief-
options/paycheck-protection-program/ppp-lender-information#section-header-4.
7
 The 48 appeals were apportioned between two Administrative Law Judges: 38 were assigned to ALJ Haring, and
10 were assigned to ALJ Trunick.


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       6) Appellants disclosed their ownership by Simcha Hyman and Naftali Zanziper in
           their Paycheck Protection Program Borrower applications.
       7) Appellants complied with SBA’s requests for information.
       8) Whether Appellants satisfied SBA’s alternative size standard is not at issue in this
           appeal.
       9) The parties have agreed to submission of a limited record in this consolidated
           appeal. (Joint Stipulations).

     On March 27, 2020, the CARES Act became law. P.L.116-136. On or about March of 2021,
the Appellants submitted First Draw PPP Borrower Application Forms 2483 to the Lender.
(Petitions – Denial Justification Document).

    The Appellants are owned equally by Simcha Hyman and Naftali Zanziper. The Appellants
were approved for PPP loans by the Lender and received the loan proceeds. (Joint Stipulations and
Motion for Leave to File Consolidated Administrative Record).

     In general, a PPP borrower may obtain forgiveness, up to the full amount of its loan, for
eligible expenses made during the loan’s “covered period” (typically, 24 weeks from the date of
loan origination). 15 U.S.C. § 636m(b). To seek loan forgiveness, a PPP borrower must submit a
Loan Forgiveness Application (Form 3508) to its lender, with supporting documentation of its
expenditures. 15 U.S.C. § 636m(e). Within the application, the borrower must certify that PPP
funds were utilized for authorized purposes, and that all documentation provided is true and
correct. 15 U.S.C. § 636m(e)(3). Forgiveness is prohibited without appropriate supporting
documentation, or without the required certification. 15 U.S.C. § 636m(b), (e) and (f). Here, the
Appellants the same to the Lender.

     Next, the Lender must review the Loan Forgiveness Application Forms (SBA Form 3508)
and makes an initial decision regarding loan forgiveness. 15 U.S.C. § 636m(g). On or about June
29, 2022, the Lenders determined the Appellants should receive full loan forgiveness. (Petitions –
“Denial Justification Document”).

      Following issuance of a lender decision, the SBA Office of Capital Access may issue a final
SBA loan review decision, which is an official written decision issued by the SBA Office of
Capital Access which may find the Appellant was ineligible for the PPP loan amount received or
is ineligible for PPP loan forgiveness in the amount determined by the Lender in its full or partial
initial decision. 13 C.F.R. § 134.1201(b)(2)&(3).

    SBA notified the Lender it was reviewing the Appellants’ PPP loans. SBA requested the
documentation used to secure the loan and justify the Lender’s forgiveness decision. Appellants
complied with SBA’s requests for information. (Joint Stipulation and Motion for Leave to File
Consolidated Administrative Record).

     On or about November 11, 2022, SBA issued final loan review decisions providing the
Appellants with $0.00 of PPP loan forgiveness, finding the Appellants “part of a corporate group
[that] has received more than $20,000,000 of First Draw PPP loans in the aggregate.” This




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rendered the Appellants ineligible for the PPP loans and precluded them from loan forgiveness.
(Joint Stipulation and Motion for Leave to File Consolidated Administrative Record).

     The parties agree and stipulate that SBA determined the Appellants (including the 10 entities
with appeals pending before OHA Judge Trunick) were small-business concerns eligible to receive
the PPP loans under SBA’s alternative size standard test. Based upon the same, the Appellants’
small business status is not at issue. (Joint Stipulation and Motion for Leave to File Consolidated
Administrative Record).

    Unless otherwise provided by 15 U.S.C. § 636(a)(36), SBA guarantees covered PPP loans
under the same terms, conditions, and processes as other 7(a) loans. 15 U.S.C. § 636(a)(36)(B).

     The CARES Act set forth the following definitions: ‘Covered Loan’ means a loan made under
the PPP; ‘Covered Period’ means the period beginning on February 15, 2020 and ending on June
30, 2021; & ‘Eligible Recipient’ means an individual or entity eligible to receive a covered loan.
15 U.S.C. § 636(a)(36)(A)(ii-iv).

     The CARES Act provides forgiveness of both first and second draw PPP loans to an eligible
recipient on a covered loan in an amount equal to the sum of the costs incurred/payments as defined
by the CARES Act made during the covered period. 15 U.S.C. § 636(a)(36) & (37)(J).

     In general, a PPP borrower may obtain forgiveness, up to the full amount of its loan, for
eligible expenses made during the loan’s “covered period” (typically, 24 weeks from the date of
loan origination). 15 U.S.C. § 636m(b). PPP loan forgiveness is prohibited without appropriate
supporting documentation, or without the required certification. 15 U.S.C. § 636m(f).

     The Lender reviews the PPP loan forgiveness application and makes an initial decision
regarding loan forgiveness. 15 U.S.C. § 636m(g). Following issuance of an initial decision, the
SBA Office of Capital Access may issue a final SBA loan review decision, which is an official
written decision issued by the SBA Office of Capital Access which reviews the PPP loan and finds
a borrower was ineligible for the PPP loan amount received or used PPP loan proceeds for
unauthorized uses. 13 C.F.R. § 134.1201(b).

     Thus, the loan forgiveness process includes a dual SBA review of the Appellant’s underlying
loan eligibility during the covered period for the amount of PPP loan received and documentation
to support loan forgiveness.

     Through written statements, the Appellants argue in favor of full loan forgiveness, as follows:
Appellants are separate and distinct operating companies from each other. No Appellant is itself,
a holding or parent company. Each Appellant is owned by two individuals, Simcha Hyman and
Naftali Zanziper, neither of which holds a majority of the membership interests in any Appellant.
No Appellant has a parent company, thus, no Appellant can share a common parent company with
any of the other 47 Appellants for which SBA is denying PPP loan forgiveness. Because none of
the Appellants has a “common parent,” they are not a “single corporate group” for purposes of any
purported $20,000,000 limitation on PPP loans. The Appellant essentially argues clear error exists




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in the final SBA loan review decisions, as none of the Appellant entities was owned at any time
by a corporation or any other type of entity.

     The Appellants argue three points for the proposition: 1 ) SBA’s issuance of IFR #7 violates
the notice and comment rule-making requirement under the Administrative Procedure Act (APA);
2) Nothing in the CARES Act or the Economic Aid Act imposes a $20,000,000.00 PPP loan
limitation on corporate groups; and 3) Even if the rule-making requirements of the APA are
overlooked, SBA has not issued any guidance on how it interprets the $20,000,000.00 PPP loan
limitation, and more specifically, how SBA defines the terms ‘single corporate group”/”common
parent’. Each argument is individually below.

     All three arguments rely upon the language contained in SBA’s Interim Final Rule (Docket
Number SBA-2020-0023) of April 30, 2020 (IFR #7), which “placed a $20,000,000 limitation on
the amount of PPP loans that businesses in a single corporate group can receive”, as follows:

         To preserve the limited resources available to the PPP program, and in light of
         the previous lapse of PPP appropriations and the high demand for PPP loans,
         businesses that are part of a single corporate group shall in no event receive
         more than $20,000,000 of PPP loans in the aggregate. For purposes of this
         limit, businesses are part of a single corporate group if they are majority
         owned, directly or indirectly, by a common parent. (Emphasis added in
         Petition).
‘

Argument #1 - SBA’s issuance of IFR #7 violates the notice and comment rule-making
requirement under the Administrative Procedure Act (APA)

    The Appellants argue this provision cannot be used to deny any of the Appellants PPP Loan
Forgiveness Applications, as the same was issued outside of the APA’s statutorily mandated
processes.

    It is the declared policy of Congress that the Federal Government, through the SBA
Administrator, in cooperation with the Department of Commerce (DOC) and other relevant State
and Federal agencies, should aid and assist small business, as defined by the Small Business Act.
15 U.S.C. § 631(b)(1). SBA carries out the policies of the Small Business Act. 15 U.S.C. § 633(a).
The SBA Administrator makes rules and regulations to carry out the Small Business Act. 15 U.S.C.
§ 634(b)(6).

    Section 7(a) of the Small Business Act authorizes SBA to make loans to qualified small
businesses. 15 U.S.C. § 636(a). For the purposes of the Small Business Act, a small business
concern is one which is independently owned and operated, not dominant in its field of operation,
and meets the size standards set by the Administrator. 15 U.S.C. § 632(a)(1)-(2)(A)-(B); 15 U.S.C.
§ 636e(6); 13 C.F.R. §§ 121.101(a), 121.102(a) and 121.201.




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     Section 1102 of the CARES Act amended Section 7(a) of the Small Business Act to establish
the PPP and Section 1106 of the CARES Act amended Section 7 of the Small Business Act to
establish PPP loan forgiveness. P.L. 116-36, §§ 1102 and 1106.

    Section 1114 of the CARES Act grants the Administrator emergency rulemaking authority
and provides no later than fifteen (15) days after March 27, 2020, the Administrator shall issue
regulations to carry out the Act and amendments made to the Act without regard to the notice
requirements of 5 U.S.C. § 553(b). 15 U.S.C. § 9012.

    The APA is codified in 5 U.S.C. §§ 551–559 and applies to all agencies of the federal
government. The APA provides the general procedures for various types of rulemaking. Agencies
promulgate rules in a variety of methods that requiring notice-and-comment. 5 U.S.C. § 553.

     Congress has given SBA broad authority to make rules and regulations, to take actions that
“are necessary or desirable in making . . . loans,” 15 U.S.C. § 634(b)(6)-(7), and to establish general
policies to “govern the granting and denial of applications for financial assistance by the
Administration,” id. § 633(d). That background authority naturally extends to the PPP lending
program. See Camelot Banquet Rooms, Inc., et al. v. SBA, No. 21-2589, 2022 WL 221616 (7th
Cir. 2022). Section 1114 of the CARES Act required the SBA Administrator to issue regulations
to govern PPP and granted the SBA Administrator emergency rulemaking authority to carry out
PPP. The CARES Act specifically waived the SBA Administrators notice and comment
requirements under the APA. 15 U.S.C. § 9012. As such, the Appellants’ argument that SBA’s
issuance of the IFR #7 was in violation of the APA is without merit.


Argument #2 - Nothing in the CARES Act or the Economic Aid Act imposes a $20,000,000.00
PPP loan limitation on corporate groups

    The Appellants note the Administrator issued IFR #7 imposing a $20,000,000.00 limitation on
a corporate group, owned directly or indirectly, by a common parent, where the CARES Act (and
subsequent amendments) do not contain this limitation. The argument raised by the Appellants
concerns the Administrators authority to issue IFR #7.

    OHA assigns all cases subject to the Administrative Procedure Act (“APA”), 5 U.S.C. 551 et
seq., to an Administrative Law Judge (“ALJ”) and assigns all other cases before OHA to either an
ALJ or an Administrative Judge (“AJ”), or, if the AA of OHA is a duly licensed attorney, to himself
or herself. Except as otherwise limited by regulation or by statute, an ALJ, AJ, and the AA has
the authority to take all appropriate action to ensure the efficient, prompt, and fair determination
of a case. This authority includes, but is not limited to, the authority to administer oaths and
affirmations and to subpoena and examine witnesses. 13 C.F.R. § 134.218.

   ALJs have no constitutionally based judicial power, see Ramspeck v. Federal Trial Examiners
Conference, 345 U.S. 128, 132-33 (1953), but are employees of the executive branch department
or agency employing them. As such, ALJs are bound by all policy directives and rules
promulgated by their agency, including the agency’s interpretations of those policies and rules.
See Nash v. Bowen, 869 F.2d 675, 680 (2d Cir.), cert, denied, 493 U.S. 813 (1989); Mullen v.



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Bowen, 800 F.2d 535, 540- 41 n.5 (6th Cir. 1986); Brennan v. Department of Health and Human
Services, 787 F.2d 1559 (Fed. Cir.), cert, denied, 479 U.S. 985 (1986); Goodman v. Svahn, 614 F.
Supp. 726, 728 (D.D.C. 1985); Association of Administrative Law Judges, Inc. v. Heckler, 594 F.
Supp. 1132, 1141 (D.D.C. 1984); c f D'Amico v. Schweiker, 698 F.2d 903, 906 (7th Cir. 1983).
Accord 34 C.F.R. § 81.5(b) (embodying in Department regulations the requirement that ALJs
adhere to policies and rules of the agency).

    ALJs do not exercise the broadly independent authority of an Article III judge, but rather
operate as subordinate executive branch officials who perform quasi-judicial functions within their
agencies. In that capacity, they owe the same allegiance to the Secretary’s policies and regulations
as any other Department employee. The APA explicitly provides the power of employees
presiding at agency hearings is subject to the rules prescribed by the employing agency: 5 U.S.C.
§ 556(c).

    OHA ALJs are bound by SBA regulation and interpretation of its governing statutes and
regulations. OHA has consistently recognized such challenges as being improper and recognized
the limited scope of its authority. OHA has repeatedly held it “is not the proper forum for a
challenge to the validity of a regulation.” Matter of Cognitive Professional Services, Inc., Case
No. BDPE-545 at *3 (March 10, 2015) (“Questions about the validity or constitutionality of
regulations do not fall within the jurisdiction of the Office of Hearings and Appeals, and I may not
consider them. See 13 C.F.R. § 134.102.”); accord Jim Plunkett, Inc. re: E.S. Edwards & Sons,
Inc., SBA No. 3838 at *2 (October 4, 1993) (finding complaint challenging SBA’s regulations as
overly complex to be “beyond the jurisdiction of this Office.”); Nations Incorporated, Appellant
re: Technical and Management Services Corporation, SBA No. 3611 at *8 (April 24, 1992)
(“[A]ny question concerning the validity of a regulation is beyond this delegated authority.”);
International Ordinance, Inc., Appellant, SBA No. 3319 at *4 (August 6, 1990) (“The
constitutional challenge of these regulations by the Appellant is beyond the limited jurisdiction of
this Office.”)

    ALJs presiding over OHA PPP appeals on behalf of SBA are bound by SBA’s First IFR
available at the time, which states “Businesses that are not eligible for PPP loans are identified in
13 C.F.R. § 120.110 . . . .” 85 Fed. Reg. 20,812 (April 15, 2020), as well as SBA’s interpretation
that the CARES Act includes application of SBA regulation at 13 C.F.R. § 120.110. See CARES
Act § 1102, 134 Stat. at 287; 15 U.S.C. § 636(a)(36)(B).

    Section 1114 of the CARES Act waived the notice and comment requirement for the Interim
Final Rule. Thus, the Interim Final Rule has the force and effect of a Final Rule and Regulation.
See 5 U.S.C. § 553; “A Guide to the Rulemaking Process”, p. 8. Therefore, the CARES Act placed
the PPP within the SBA 7(a) Loan Program.

    The Administrator, in consultation with the Secretary of the Treasury, determined that limiting
the amount of PPP loans that a single corporate group may receive will promote the availability of
PPP loans to the largest possible number of borrowers, consistent with the CARES Act. The
Administrator concluded that a limitation of $20,000,000 strikes an appropriate balance between
broad availability of PPP loans and program resource constraints. The Appellants argument fails,




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as the Administrator has established a well-defined rule (IFR #7) and policy interpretation, for
which OHA and the undersigned are without authority to invalidate.


Argument #3 - Even if the rule-making requirements of the APA are overlooked, SBA has
not issued any guidance on how it interprets the $20,000,000.00 PPP loan limitation, and
more specifically, how SBA defines the terms ‘single corporate group”/”common parent’.

     As noted above, the Administrator, in consultation with Secretary of the Treasury, issued IFR
#7, which imposed a $20,000,000.00 PPP maximum loan limitation for any corporate group. The
Appellants, along with 46 other affiliated entities (84 PPP loans total) received $44,983,180.44 in
aggregate PPP loan proceeds. Prior to the disbursement of Appellants’ loans, entities affiliated
with the Appellants under 13 C.F.R. § 121.301 had already obtained funding for at least 36 PPP
loans totaling more than $20,000,000. (Stipulated AR pp. 639-44)

     Within IFR #7, the Administrator set forth the authority to create a corporate group maximum
loan limitation under the CARES Act grant of authority to create ‘‘such rules and regulations as
[the Administrator] deems necessary to carry out the authority vested in him by or pursuant to’’
15 U.S.C. Chapter 14A, including authorities established under section 1102 of the CARES Act.
The Administrator explained that Section 1102 of the CARES Act “provides that the Administrator
‘may’ guarantee loans under the terms and conditions set forth in section 7(a) of the Small Business
Act, and those conditions specify a ‘maximum’—but not a minimum—loan amount.” See 15
U.S.C. 636(a)(36)(B), (E); see also CARES Act section 1106(k) (authorizing SBA to issue
regulations to govern loan forgiveness).

     The Administrator further stated that in order to “preserve finite appropriations for PPP loans
and ensure broad access for eligible borrowers, the Administrator, in consultation with the
Secretary, has determined that an aggregate limitation on loans to a single corporate group is
necessary and appropriate.” (IFR #7, footnote 1).

     It became the responsibility of an applicant for a PPP loan to notify the lender if the applicant
applied for or received PPP loans in excess of the amount permitted by IFR #7 and withdraw or
request cancellation of any pending PPP loan application or approved PPP loan not in compliance
with the limitation set forth in this rule. SBA specifically stated that failure by a PPP applicant to
do would be regarded as a use of PPP funds for unauthorized purposes, and the loan will not be
eligible for forgiveness. Additionally, a PPP lender was authorized to rely on an PPP applicant’s
representation (certification within the PPP Borrower Application Form 2483) concerning the
applicant’s compliance with IFR #7.

     SBA has denied loan forgiveness finding the Appellants are part of a corporate group and the
recipients of PPP loan proceeds exceeding the $20,000,000.00 limitation. The Appellants argue
that they do not meet the definition of a corporate group, the $20,000,000.00 limitation does not
apply to them, and loan forgiveness is proper. The Appellants rely on Bostock v. Clayton Cnty.,
Georgia, 140 S. Ct. 1731, 1738 (2020) and Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc.,
467 U.S. 837, 843 (1984) to assert that due the CARES Act and IFR #7’s silence in defining
corporate group, the ordinary public meaning for the terms ‘corporate group’ and ‘common parent’



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must be applied. The Appellants focus on the term common parent and argue the ordinary public
meaning is “a common parent corporation or common parent holding company.” The Appellants
argue that none of Appellants are a common parent holding company and none have a common
parent corporation.

     SBA argues the AR, Petition, and applicable authorities demonstrate that (1) SBA had the
authority to limit the amount of PPP funds a “corporate group” could obtain; (2) Appellants were
part of a corporate group with common parent Hyman/Zanziper that received over $20 million in
PPP loans in the aggregate, (3) Appellants’ loans funded after the January 2021 IFR and after other
borrowers within the corporate group had already received more than $20 million in PPP loans;
and (4) Appellants were thus ineligible for PPP loan forgiveness. (SBA Response).

     The CARES Act subjected PPP borrowers to SBA’s 7(a) program affiliation rules, as set forth in 13
C.F.R. § 121.301(f).8 Of note, Section 1102(e) of the CARES Act permanently rescinded the SBA’s
February 2020 amendment to 13 C.F.R. § 121.301, thus PPP borrowers are subject to SBA’s 2019 version
of 13 C.F.R. § 121.301. (see 81 Fed. Reg. 41423).

      Each PPP applicant must aggregate its own number of employees or revenue with that of all of its
affiliates for the purposes of determining eligibility for a PPP loan. PPP applicants are eligible for a First
Draw PPP loan, when the applicant: (1) Qualifies as a small business concern as defined in section 3 of the
Small Business Act, 15 U.S.C. § 632; (2) Along with its affiliates, have 500 or fewer employees whose
principal place of residence is in the United States; (3) Along with its affiliates meet the SBA employee-
based size or revenue standards for the industry in which they operate, (including the “alternative standard”;
or (4) Is a nonprofit organization, veterans organization, or Tribal business concern as outlined in
Section 1102(a)(i) of the CARES Act.9

      The 2019 version of 13 C.F.R. § 121.301(f)(1-4) sets forth four principles that can establish an affiliate
relationship between a PPP borrower and another entity: 1) Equity ownership; 2) Stock options,
convertible securities, and agreements to merge; 3) Management; and 4) Identity of interest, as follows:

    1) Any entity that owns or has the power to control more than 50 percent of the borrower’s voting
       equity is considered an affiliate of the borrower. Further, SBA deems a minority shareholder
       exercises “negative control” if it has the ability, under the borrower’s charter, by-laws, or
       shareholder’s agreement, to prevent a quorum or otherwise block action by the board of directors
       or shareholders. If no such entity owns 50 percent of the equity, SBA will deem the Board of
       Directors, President, or CEO (or other officers, managing members, or partners who control the
       management of the concern) to be in control of the borrower. 13 C.F.R. § 121.301(f)(1).
    2) SBA will consider stock options, convertible securities, and agreements to merge, as though the
       rights granted have been exercised, for purposes of determining whether an entity owns 50 percent
       of the borrower,. 13 C.F.R. § 121.301(f)(2).

8
  PPP Loan FAQs, No. 5. While § 121.103 governs the SBA’s general principles of affiliation, § 121.103(a)(8) states
that “applicants in SBA’s Business Loan [including the PPP], Disaster Loan, and Surety Bond Guarantee Programs”
are to use “the size standards and bases for affiliation . . . set forth in § 121.301.”
9
  PPP Loan FAQs, No. 3. Our understanding of FAQ No. 3 is that it does not expand eligibility beyond the basic
eligibility requirements for all applicants for SBA business loans outlined in 13 C.F.R. § 120.100, but we await further
guidance clarifying this point.


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   3) Affiliation arises where the President or CEO (or other officers, managing members, or partners
      who control the management of the concern) of the PPP applicant also controls the management
      of one or more other concerns. Affiliation also arises where a single individual, concern, or entity
      that controls the Board of Directors or management of one concern also controls the Board of
      Directors or management of one of more other concerns. Affiliation also arises where a single
      individual, concern, or entity controls management of the borrower through a management
      agreement. 13 C.F.R. § 121.301(f)(3).
   4) Where close relatives share identical or substantially identical business or economic interests (such
      as where the close relatives operate concerns in the same or similar industry in the same geographic
      area), those concerns are affiliated. 13 C.F.R. § 121.301(f)(4).

     PPP’s affiliation rules provide direct policy interpretation concerning what entities are
associated with each and count towards the small-business concern size standard. Here, the parties
agree the affiliation rules associate the Appellants due to the common ownership existing for all
Appellants through Simcha Hyman and Naftali Zanziper. IFR #7 explicitly subjects corporate
groups to a $20,000,000.00 maximum loan limitation and takes care to note that this limitation
applies, even if, the businesses are eligible for the waiver-of-affiliation provision under the CARES
Act or are otherwise not considered to be affiliates under SBA’s affiliation rules.

      Under the Small Business Act, a small-business concern includes, but is not limited to,
enterprises that are engaged in the business of production of food and fiber, ranching and raising
of livestock, aquaculture, and all other farming and agricultural related industries, shall be deemed
to be one which is independently owned and operated and which is not dominant in its field of
operation. 15 U.S.C. § 632(a)(1).

     In addition to the criteria specified in 15 U.S.C. § 632(a)(1), the Administrator may specify
detailed definitions or standards by which a business concern may be determined to be a small
business concern for the purposes of the Small Business Act or any other act. The standards
specified by the Administrator may utilize number of employees, dollar volume of business, net
worth, net income, a combination thereof, or other appropriate factors. 15 U.S.C. §
632(a)(2)(A)&(B).

    SBA's size standards define whether a business entity is small and, thus, eligible for
Government programs and preferences reserved for “small business” concerns. Size standards
have been established for types of economic activity, or industry, generally under the North
American Industry Classification System (NAICS). NAICS is described in the North American
Industry Classification Manual-United States, which is available from the National Technical
Information Service, 5285 Port Royal Road, Springfield, VA 22161; by calling 1(800) 553-6847
or 1(703) 605-6000; or via the Internet at http://www.ntis.gov/products/naics.aspx. The manual
includes definitions for each industry, tables showing relationships between 1997 NAICS and 1987
SICs, and a comprehensive index. NAICS assigns codes to all economic activity within twenty
broad sectors. Section 121.201 provides a full table of small business size standards matched to
the U.S. NAICS industry codes. A full table matching a size standard with each NAICS Industry
or U.S. Industry code is also published annually by SBA in the Federal Register. 13 C.F.R. §
121.101(a-b).




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    A business is eligible for PPP loan if, on its own, it meets the size standard (employee-based
or receipts-based) established by SBA for the NAICS code applicable to its primary industry, AND
together with its affiliates, it meets the size standard (employee-based or receipts-based)
established by SBA for the NAICS code applicable to either its primary industry or the primary
industry of itself and its affiliates on a combined basis, whichever standard is higher. (Emphasis
added). See 13 C.F.R. § 121.301(a-b).

   The size status of an applicant for SBA financial assistance is determined as of the date the
application for financial assistance is accepted for processing by SBA. 13 C.F.R. § 121.302.

    SBA size standards are expressed either in number of employees or annual receipts in millions
of dollars, unless otherwise specified. The number of employees or annual receipts indicates the
maximum allowed for a concern and its affiliates to be considered small. The size standards
described in 13 C.F.R. § 121.201 apply to all SBA programs unless otherwise specified within
Title 13, Ch. 1, Part 121, Subpart A. 13 C.F.R. § 121.201.

    Concerns and entities are affiliates of each other when one controls or has the power to control
the other, or a third party or parties controls or has the power to control both. It does not matter
whether control is exercised, so long as the power to control exists. Affiliation under any of the
circumstances described in 13 C.F.R. § 121.301(f)(1-4) is sufficient to establish affiliation for
applicants for SBA's Business Loan Programs, which includes the 7(a) Loan Program. 13 C.F.R.
§ 121.301(f).

     It is the responsibility of the borrower to determine which entities (if any) are the borrower’s affiliates
and determine the employee headcount of the borrower and its affiliates. Lenders are permitted to rely on
borrowers’ certifications.10 Lenders may accept and rely on signatures from a single individual who is
authorized to sign on behalf of the borrower.11 Here, the Appellants certified their PPP eligibility on the
PPP Borrower Application Forms 2483 submitted to the Lender. (AR pp. 1-637).

    The joint stipulations of the parties reflect the collective Appellants were deemed a small-
business concern after application of SBA’s alternative size standards. This means the Appellants,
as a group, were eligible for one of SBA’s 7(a) loan programs, to-wit: PPP. The sole issue in
dispute is whether the $20,000,000.00 PPP corporate group maximum loan limitation is applicable
to the Appellants.

    On April 3, 2020, SBA published “Affiliation Rules Applicable to U.S. Small Business
Administration Paycheck Protection Program” to assist PPP applicants/borrowers in
understanding the application of SBA’s use of affiliation within PPP. 12 SBA explicitly noted the
four of the affiliation tests set forth in 13 C.F.R. § 121.301(f) “based on control apply to
participants” in PPP.13 It was clear, prior to submitting borrower applications, the Appellants were
subject to at least four of SBA’s 7(a) loan program affiliation rules.

10
   PPP Loan FAQs, No. 4.
11
   PPP Loan FAQs, No. 11.
12
   https://www.sba.gov/sites/default/files/2020-
06/Affiliation%20rules%20overview%20%28for%20public%29%20v2-508.pdf
13
   Of note, the four tests applicable to PPP are the same as appearing in 13 C.F.R. § 121.301(f)(1-4).


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    Since 1996, SBA policy has been that the aggregate amount of the SBA portions of all loans
to a single Borrower, including the Borrower's affiliates as defined in 13 C.F.R. § 121.301(f), must
not exceed a guaranty amount as otherwise authorized by statute for a specific program. 13 C.F.R.
§ 120.151 ( See 61 FR 3235, Jan. 31, 1996, as amended at 68 FR 51680, Aug. 28, 2003; 76 FR
63546, Oct. 12, 2011; 81 FR 41428, June 27, 2016). In furtherance of this policy, SBA’s SOP
(effective April 1, 2019) addresses how maximum loan limitation amounts are determined for a
small-business concern with affiliates. Specifically, SBA policy states: “If affiliation exists,
SBA’s loan maximums apply to the Applicant, including all affiliates, as if all were a single
business.” (Emphasis added). SOP 50 10 5(K), Part 2, Section B, Ch. 3, 2.a. 1415

      Here, the CARES Act created a general maximum loan limitation for individual borrowers,
but also authorized the Administrator to set SBA’s guaranty of PPP loans. It is important to note
that the Administrator’s express authority under Section 1102 of the CARES Act to guarantee PPP
loans is marked by the term “may”. The Administrator exercised this authority within IFR #7
and created a $20,000,000.00 corporate group maximum loan limitation, as otherwise authorized
by statute.

     SBA has denied the Appellants loan forgiveness applications by applying the existing 7(a)
loan program policy wherein applicants that are affiliated to meet the definition of a small-business
concern remain together, as a group, in applying a maximum loan limitation. Through IFR #7,
SBA has identified this grouping as a corporate group. The Appellants should have been aware,
through review of existing SBA 7(a) loan program regulations/policy, that by qualifying as a small-
business concern after application of the affiliation rules, the loan limitations set forth in IFR #7
would be applied to them, as a group. Here, that limitation was set at $20,000,000.00. As such,
the meaning of corporate group in IFR #7 has the same meaning as affiliate under existing 7(a)
loan program policy.

    The final SBA loan review decision relied upon this existing policy. Prior to issuing the
decision, SBA found “the ‘Naftali Simcha Family et al’ (Appellants) are one single corporate
group via the 100% common ownership of Naftali Zanziper and Simcha Hyman (50% for each
Appellant). SBA interpreted the term corporate group to mean where a majority ownership by a
common parent occurs either directly or indirectly. SBA finds that a common parent, for the
purposes of PPP financing, can be defined as a being a corporation, trust or person(s.) When a
corporation or trust has ownership, an in-depth review of the ownership of the corporation or trust
should be completed to determine if an individual(s) has an indirect ownership that establishes a
corporate group. Naftali Zanziper and Simcha Hyman each owns 50% of each business directly
or indirectly and combined they have a majority ownership for the corporate group which overlaps
in all 84 loans. While the affiliated group of Naftali Zanziper and Simcha Hyman are eligible for
PPP financing based on the Alternative Size Standard, they exceed the limit of $20,000,000 for a
single corporate group established in IFR #7 - Interim Final Rule on Corporate Groups and Non-
Bank and Nonlnsured Depository Institution Lenders.” (AR pg. 649).


14
   SBA’s Standard Operating Procedures (SOP) are issued and revised by SBA from time to time. SOPs are publicly
available on SBA's Web site at http://www.sba.gov. 13 C.F.R. § 120.10.
15
   https://www.sba.gov/sites/default/files/2019-
02/SOP%2050%2010%205%28K%29%20FINAL%202.15.19%20SECURED%20copy%20paste.pdf


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    The AR reflects the Appellants, as affiliated under 13 C.F.R. § 121.301(f) with 46 other entities
(84 PPP loans total) received $44,983,180.44 in aggregate PPP loan proceeds. Prior to the
disbursement of Appellants’ loans, entities affiliated with the Appellants had already obtained
funding of at least 36 PPP loans totaling more than $20,000,000. (AR pp. 639-644).

     As it directly relates to the Appellants argument, SBA did not explicitly define the term
corporate group within IFR #7 (or any other PPP related publication), but the meaning of the term
can easily be derived from other SBA 7(a) loan program policy existing prior to the Appellants
receipt of these PPP loans. This policy can be seen through a plain reading of SOP 50 10 5(K) and
Section 1102 of the CARES Act. When put together, the same clearly provide that when a 7(a)
loan program applicant is required to affiliate entities to meet the definition of a small-business
concern, the affiliated group of entities is carried forward when considering if any authorized
maximum loan limitation has been reached.

     Given the Appellants eligibility under affiliation rules, as defined in 13 C.F.R. § 121.301(f),
for these PPP loans, the aggregation of the Appellants, as affiliates, is carried forward in evaluating
whether the Appellants reached the $20,000,000.00 PPP corporate group maximum loan
limitation. The AR and Joint Stipulations reflect these Appellants had already received
$20,000,000.00 in PPP funds, thus were ineligible for the loans at issue.

    Overall, the Appellants are affiliates of each other, as defined by 13 C.F.R. § 121.301(f)(1-4).
As of the date of applying for the PPP loans at issue, together with its affiliates, the Appellants met
the small-business concern alternative size standard. 13 C.F.R. § 121.301(a-b). (Joint Stipulations).
The Administrator created a maximum loan limitation for PPP by limiting SBAs guarantee of PPP
loans exceeding $20,000,000.00 for corporate groups. Section 1102 of the CARES Act. As
affiliation exists among the Appellants, the PPP $20,000,000.00 corporate group maximum loan
limitation applies to each Appellant, as if all Appellants were a single business, to-wit: a corporate
group. SOP 50 10 5(K), Part 2, Section B, Ch 1: Basic 7(a) Loans, 1.c. At the time of applying
for the PPP loans, the aggregate amount of the SBA portions of all PPP loans to the Appellants,
including all affiliates as defined in 13 C.F.R. § 121.301(f), exceeded the $20,000,000.00
maximum loan limitation otherwise authorized by IFR #7. See 15 U.S.C. 636(a)(36)(E)(ii). The
Appellants are a corporate group and were ineligible for the PPP loans at issue.

      It was the responsibility of the Appellants to determine which entities (if any) were their affiliates and
certify the same to the Lender. The Appellants did determine its affiliates, certified the same to the Lender,
and met the definition of small-business concern. The Lender properly relied on the Appellants
certifications contained in the PPP Borrower Application Forms 2483 and 3508. Under IFR #7, it was also
the Appellants responsibility to notify the Lender if they had applied for or received PPP loans in
excess of the $20,000,000.00 maximum loan limitation. The Appellants determined the
$20,000,000.00 corporate group maximum loan limitation was not applicable. This led the
Appellant to not execute the options available under IFR #7 to withdraw or request cancellation of
any pending PPP loan applications or approved PPP loans not in compliance with the maximum
loan limitation. SBA specifically advised the Appellants that failure to do so would be regarded
as a use of PPP funds for unauthorized purposes, and the loan will not be eligible for forgiveness.




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     SBA regulations provide that an ineligible borrower would not receive loan forgiveness under
the CARES Act. See e.g. CARES Act § 1106(b), 134 Stat. at 298 (codified at 15 U.S.C. §
636(b))(“An eligible recipient shall be eligible for forgiveness . . . .); Paycheck Protection
Program-Requirements-Loan Forgiveness, 85 Fed. Reg. 33004, 33005 (May 28, 2020) (“If SBA
determines in the course of its review that the borrower was ineligible for the Wells Fargo Loan .
. . the loan will not be eligible for loan forgiveness.”); Paycheck Protection Program-Loan
Forgiveness Requirements and Loan Review Procedures as Amended by Economic Aid Act, 86
Fed. Reg. 8283, 8296 (February 3, 2021) (consolidates and restates multiple PPP Interim Final
Rules regarding forgiveness requirements, including requirement that ineligible borrowers will not
receive loan forgiveness).

     The final SBA loan review decision held the Appellants were ineligible for the PPP loans
received having exceeded the $20,000,000.00 PPP corporate maximum loan limitation and
precluded from loan forgiveness. Given the foregoing, the final SBA loan review decision did not
commit error in determining the Appellants were ineligible for the PPP loans and subsequently
precluded from loan forgiveness. SBA did not commit error in denying loan eligibility or
forgiveness. The final SBA loan review decisions are well supported by the records and devoid
of any clear errors of law or fact. As such, the final SBA loan review decisions are AFFIRMED.

                                   CONCLUSION OF LAW

        The Appellants are a corporate group that was ineligible for PPP Loan Numbers
3123528607, 8306238609, 3200798601, 3015918609, 3124028601, 5169688603, 5975278603,
5035908602, 8192158610, 8162528602, 6531908606, 6327628608, 8074818606, 1946638705,
1825438708, 7988958604, 2869798805, 3383808800, 3097548608, 4967028604, 2971158808,
2614148709, 2614318701, 7659928605, 2617258702, 1383928704, 1472948701, 1470638709,
2382638703, 1635078706, 1703648703, 1299808700, 1535178704, 1581268708, 1935708707,
6580538609, & 1993548705 at the time of applying for each PPP loan. The Appellants are
ineligible for PPP loan forgiveness. The final SBA loan review decision is not based on clear error
of fact or law.

                                            ORDER

     For the reasons discussed above, this appeal petition is DENIED. The Appellant is only
entitled to PPP loan forgiveness in the amount established by the final SBA loan review decisions.
I direct SBA to process the loan forgiveness requests in accordance with this decision.

                                                       SO ORDERED.



                                                       __________________________________
                                                         Brian J. Haring
                                                         U.S. Administrative Law Judge




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                                           EXHIBIT A
                 APPELLANT                              PPP Loan No./OHA Docket No. PPP-
Accordius Health at Bay Pointe LLC                                  3123528607
Accordius Health at Brevard LLC                                     8306238609
Accordius Health at Charlotte LLC                                   3200798601
Accordius Health at Concord LLC                                     3015918609
Accordius Health at Greensboro LLC                                  3124028601
Accordius Health at Hendersonville LLC                              5169688603
Accordius Health at Lynchburg LLC                                   5975278603
Accordius Health at Midwood LLC                                     5035908602
Accordius Health at Monroe LLC                                      8192158610
Accordius Health at Mooresville LLC                                 8162528602
Accordius Health at River Pointe LLC                                6531908606
Accordius Health at Rose Manor LLC                                  6327628608
Accordius Health at Statesville LLC                                 8074818606
Accordius Health at Wilkesboro LLC                                  1946638705
Accordius Health at Wilson LLC                                      1825438708
Accordius Health at Winston Salem LLC                               7988958604
Anderson SC OPCO LLC                                                2869798805
Carolina Pines at Asheville LLC                                     3383808800
Caroline Pines at Greensboro LLC                                    3097548608
Covington TN OPCO LLC                                               4967028604
Farthing Mayfield KY OPCO LLC                                       2971158808
Greenville KY OPCO LLC                                              2614148709
Hopkinsville KY OPCO LLC                                            2614318701
Knoxville OPCO LLC                                                  7659928605
Leitchfield KY OPCO LLC                                             2617258702
Loudon OPCO LLC                                                     1383928704
Madisonville Health and Rehabilitation LLC                          1472948701
Maryville Fairpark OPCO LLC                                         1470638709
Maryville Jamestown OPCO LLC                                        2382638703
Mayfield KY OPCO LLC                                                1635078706
Mount Pleasant TN OPCO LLC                                          1703648703
Paducah Center for Health and Rehabilitation                        1299808700
Pelican Health Randolph LLC                                         1535178704
Pelican Health Reidsville LLC                                       1581268708
Pelican Health Thomasville LLC                                      1935708707
Princeton KY OPCO LLC                                               6580538609
Red Boiling Springs TN OPCO LLC                                     1993548705


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                    NOTICE OF APPEAL RIGHTS AND PROCEDURES

An OHA INITIAL DECISION shall become the final decision of SBA 30 calendar days after
its service. Either SBA or the Appellant may request reconsideration of an initial decision by filing
with the Judge and serving a petition of reconsideration within ten (10) calendar days after service
of the initial decision. The Judge may also reconsider an initial decision on his or her own initiative
within 20 calendar days after service of the initial decision. 13 C.F.R. § 134.1211(b) and (c)(1-2).

A RECONSIDERED INITIAL DECISION becomes the FINAL DECISION of SBA 30 calendar
days after service unless the SBA Administrator decides to review or reverse the reconsidered
decision under 13 C.F.R. § 134.1211(d). 13 C.F.R. § 134.1211(c)(3).

In the event the SBA Administrator elects to review and/or reverse an initial OHA decision and a
timely reconsideration request is also filed by Appellant pursuant to 13 C.F.R. § 134.1211(c)(1),
the Administrator will consider the reconsideration request. 13 C.F.R. § 134.1211(d). The
discretionary authority of the SBA Administrator does not create any additional appeal rights for
Appellant not otherwise specified in the applicable SBA regulations at Title 13, Part 134, Subpart
L. 13 C.F.R. § 134.1211(c)(3).

Within 30 calendar days after service of an initial OHA decision or reconsidered initial OHA
decision, the SBA Administrator, solely within the Administrator’s discretion, may elect to review
and/or reverse an initial decision or reconsidered initial decision. 13 C.F.R. § 134.1211(d).




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                UNITED STATES SMALL BUSINESS ADMINISTRATION
                      OFFICE OF HEARINGS AND APPEALS


 In the Matte of the Application of:                )   Administrative Proceeding
                                                    )   SBA Loan No. 4336458510
 ACCORDIUS HEALTH AT ASHEVILLE                      )
 LLC                                                )
                                                    )
             Appellant                              )
                                                    )
 For Review of Decision by:                         )
                                                    )
 The U.S. Small Business Administration


                APPELLANT’S REQUEST FOR RECONSIDERATION OF
                           MARCH 8, 2023 DECISION

       Pursuant to 13 CFR § 134.1211(c), Appellant Accordius Health at Asheville LLC

(“Accordius”) requests reconsideration of the March 8, 2023 Consolidated Decision (the “March

8 Decision”). This request for reconsideration is brought within “10 calendar days after service of

the” March 8 Decision and, therefore, is timely pursuant to § 134.1211(c)(1). As grounds for this

request, Accordius states as follows:

       In the March 8 Decision, this Court stated that “[t]he sole issue in dispute is whether the

$20,000,000.00 PPP corporate group maximum loan limitation is applicable to the Appellants.”

(March 8 Decision, p. 16.) Consistent with that Decision, in an order dated March 15, 2023 (the

“March 15 Order”), in a related series of cases raising issues identical to those presented here,

Senior Administrative Law Judge John Trunick granted appellants leave to file a reply brief (and

SBA to file a sur-reply). (March 15 Order attached as Exhibit 1.) In that order, Judge Trunick

recognized as follows:

       The cases turn on whether the Appellants fall within the definition of a “corporate
       group” and thus have an aggregate maximum loan amount of $20,000,000 in PPP
       loans. The Final SBA Loan Review Decision identifies this as the critical issue.


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         However, this issue in turn may depend on whether ownership by two individuals
         satisfies the “common parent” definition of related Interim Final Rules. This
         particular matter is within the scope of the “corporate group” issue and the Final
         SBA Loan Review Decision, but is not specifically identified in the Final SBA
         Loan Review Decision but, rather, this narrow issue has become a focus of the case
         during the proceedings.

(Id.)

         The issue Judge Trunick identified in the cases pending before him is equally determinative

of the issue pending in these consolidated cases. For the same reasons appellants will present in

their forthcoming reply brief before Judge Trunick, Accordius respectfully requests that the March

8 Decision be reconsidered and reversed, as explained in more detail below.1

         Specifically, among other arguments here, SBA argued – and this Court agreed – that

Accordius is part of a “corporate group” and thus limited to $20,000,000 in PPP funds because a

“plain” reading of “common parent,” as set forth in Interim Final Rule #7 (the “IFR”) would apply

here to permit a finding that Accordius’ ownership by two individuals satisfies the “common

parent” requirement of the IFR.

         Respectfully, SBA’s argument, and the March 8 Decision is premised on a clearly

erroneous conclusion of law that is material to that Decision. Specifically, this Court erred in

applying SBA’s affiliation rules to the definition of “corporate parent.” Nothing in the IFR or other

guidance suggests that the affiliation rules apply to the IFR. Nor does the IFR or any related

guidance suggest that SBA’s Standard Operating Procedures 50 10 5 (f), Part 2, Section B, Ch. 3,

2.a. applies to the IFR (as the Court suggests in the March 8 Decision) or dictates that the affiliation

rules should apply in determining the definition of “common parent” here. It appears to be the

Court’s position that simply by virtue of the fact that Appellant had to apply the SBA’s affiliation


1
  To be clear, Appellants preserve for appeal all of the issue raised in their appellate petition in these cases, and intend
to raise all of them on appeal if the March 8 decision is not reversed by virtue of this request for reconsideration.
However, for expediency purposes, Appellants focus this request for reconsideration on that single issue.


                                                      2                                              USA-000767
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rules to meet the alternative size test somehow means that Appellant should have assumed the

affiliation rules would apply to the definition of “corporate group” as used in the IFR. In sum,

there is no guidance on the definition of “common parent” as used in the IFR.2 Nor for that matter,

is there any basis in law to conclude that two individuals each with 50% ownership interest in

multiple companies meets the definition of “common parent.” For the reasons set forth in

Accordius’ Appeal Petition, Appellant is not part of a “corporate group” with a “common parent”

and thus, not subject to the $20,000,000 limitation.

         For the foregoing reasons, Appellant Accordius Health at Asheville LLC respectfully

requests that the March 8 Decision be reconsidered and reversed.

                                                                  Respectfully submitted,

                                                                  /s/ Frederick N. Widen
                                                                  Frederick N. Widen (OH-0029223)
                                                                  Joshua A. Klarfeld (OH-0079833)
                                                                  Sara S. Dorland (OH-0095682)
                                                                  Skylight Office Tower
                                                                  1660 West 2nd Street, Suite 1100
                                                                  Cleveland, Ohio 44113
                                                                  (216) 583-7000 (Office)
                                                                  (216) 583-7001 (Fax)
                                                                  Email: fwiden@ulmer.com
                                                                  jklarfeld@ulmer.com
                                                                  sdorland@ulmer.com

                                                                  Attorneys for Appellant Accordius Health at
                                                                  Asheville LLC




2
  Nor is the SBA correct that ownership by two individuals constitutes a “de facto partnership” and that a de facto
partnership constitutes a “common parent” under the IFR. First, SBA failed to point to evidence to support the factors
a court considers in finding a de facto partnership—i.e., the intent of the parties, whether there was a sharing of profits
and losses, and whether there was joint control and management of the business. See Barone v. Barone, 54 Misc. 3d
1218(A), 54 N.Y.S.3d 609 (N.Y. Sup. 2017). Second, SBA failed to cite to any sources finding that a de facto
partnership is a “common parent” under the IFR.


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                              CERTIFICATE OF SERVICE

      I hereby certify that on March 17, 2023 I caused a copy of the foregoing to be uploaded to

the OHA Case Portal.


                                                   Respectfully submitted,

                                                   /s/ Frederick N. Widen
                                                   Frederick N. Widen (OH 0029223)


                                                   One of the Attorneys for Appellant




                                           4                                   USA-000769
   Case 1:23-cv-00129-MR         Document 24-3        Filed 11/28/23     Page 269 of 300
                     United States Small Business Administration
                           Office of Hearings and Appeals


 PETITION FOR RECONSIDERATION:

 Accordius Health at Asheville LLC                        Issued: March 20, 2023

        Petitioner                                        Docket No. PFR-4336458510

 RE: PPP Appeal of Accordius Health at
 Asheville LLC et al., SBA No. PPP-4336458510
 (2023)


                         NOTICE OF CONSOLIDATION & ORDER

       The U.S. Small Business Administration (SBA) Office of Hearings and Appeals (OHA)
hereby notifies all currently known parties that it received a Petition for Reconsideration (PFR) in
the above-captioned matter on March 17, 2023. The PFR was assigned to Administrative Law
Judge Brian J. Haring for adjudication. OHA conducts Paycheck Protection Program (PPP)
appeals under the authority of 13 C.F.R. part 134 subpart L.


                                     I. Notice to All Parties

         I find the PFR to have been timely filed following issuance of Decision No. PPP-
4336458510 on March 8, 2023. To prevail on a PFR, the petitioner must clearly show an error of
fact or law material to the decision. 13 C.F.R. § 134.1211(c).



                              II. Instructions to Respondent SBA

       SBA may respond to the PFR. Any such response must be filed and served no later than
April 4, 2023.



                              III. Filing and Service Instructions

       A party seeking to file and serve any pleading or other submission in a PPP case must do
so by utilizing the OHA Case Portal.




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    Case 1:23-cv-00129-MR          Document 24-3          Filed 11/28/23    Page 270 of 300
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                                   IV. Order of Consolidation

The undersigned notes that this matter was consolidated with 37 other PPP appeals and a
consolidated OHA Initial Decision issued. Further, all 38 Administrative Records were filed as
consent Administrative Records and the parties made joint stipulations of fact. All 38 appeals
have been assigned to the undersigned for reconsideration adjudication.

        In the interest of judicial economy, this and the 37 appeals set forth in the attached Exhibit
A are consolidated for the purpose of the filing of any party motions or briefs, any Orders, and
Decision issued by the undersigned. The consent Administrative Records and joint stipulations of
fact remain accepted.

        This appeal, Accordius Health at Asheville LLC PPP No. 4336458510, shall be treated as
the “lead case” for any motions, briefs, Orders, and Decision.



                                                      SO ORDERED.



                                                      ______________________________
                                                       BRIAN J. HARING
                                                       Administrative Law Judge




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                                                                       Docket No. PFR-4336458510

                                      EXHIBIT A
                                                              PPP Loan No./
        APPELLANT                                             OHA Docket No. PFR-
Accordius Health at Bay Pointe LLC                            3123528607
Accordius Health at Brevard LLC                               8306238609
Accordius Health at Charlotte LLC                             3200798601
Accordius Health at Concord LLC                               3015918609
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Accordius Health at River Pointe LLC                          6531908606
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Knoxville OPCO LLC                                                7659928605
Leitchfield KY OPCO LLC                                           2617258702
Loudon OPCO LLC                                                   1383928704
Madisonville Health and Rehabilitation LLC                        1472948701
Maryville Fairpark OPCO LLC                                       1470638709
Maryville Jamestown OPCO LLC                                      2382638703
Mayfield KY OPCO LLC                                              1635078706
Mount Pleasant TN OPCO LLC                                        1703648703
Paducah Center for Health and Rehabilitation                      1299808700
Pelican Health Randolph LLC                                       1535178704
Pelican Health Reidsville LLC                                     1581268708
Pelican Health Thomasville LLC                                    1935708707
Princeton KY OPCO LLC                                             6580538609
Red Boiling Springs TN OPCO LLC                                   1993548705

                                   Page 3 of 3
                                                                          USA-000772
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                     UNITED STATES SMALL BUSINESS ADMINISTRATION
                           OFFICE OF HEARINGS AND APPEALS

                                                                 )
PAYCHECK PROTECTION PROGRAM                                      )
APPEAL OF:                                                       )
                                                                 )
Accordius Health at Asheville LLC et al.                         ) Docket No. PPP-4336458510
                                                                 )
           Appellant                                             )
                                                                 )
Appealed from                                                    )
SBA PPP Loan No. 4336458510                                      )
                                                                 )

                 U.S. SMALL BUSINESS ADMINISTRATION’S RESPONSE
           TO PETITION FOR RECONSIDERATION OF ACCORDIUS HEALTH AT
                                ASHEVILLE LLC et al.

           COMES NOW, the United States Small Business Administration (“SBA”), by and

through its undersigned counsel, and pursuant to the Notice and Order issued on March 20, 2023,

(“Order”) timely responds to the Petitions for Reconsideration (“Petitions”) filed by the

appellants in these consolidated appeals (“Appellants”), seeking review of the Initial

Consolidated Decision issued by the Office of Hearings and Appeals (“OHA”) on March 8,

2023. In the Initial Consolidated Decision, OHA correctly upheld SBA’s final agency loan

review decisions (“FLRDs” or “Final Decisions”) to deny forgiveness of Appellants’ PPP loans

finding that Appellants had not met their burden to prove that the Final Decisions were based on

a clear error or fact or law. (Decision) 1 For the reasons set forth below, OHA should affirm its

Initial Consolidated Decision.

                                       PROCEDURAL BACKGROUND

           Following briefing by both parties, OHA issued its Initial Consolidated Decision on

March 8, 2023. (Decision) On March 17, 2023, Appellants filed the Petitions. On March 20,



1
    Citations to the docket are to the name of the document as reflected in the OHA Portal.


                                                                                                    USA-0007731
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2023, OHA issued the Order setting an April 4, 2023 deadline for SBA to file an optional

response to the Petitions.

                                   STANDARD OF REVIEW

       Title 13 C.F.R. § 134.1211(c)(1) requires Appellants to clearly show an error of fact or

law material to the Initial Consolidated Decision to prevail on its Petition for Reconsideration.

This is a rigorous standard. See Size Appeal of Envtl. Prot. Certification Co., Inc., SBA No. SIZ-

4935 at 2 (2008). Appellants have not met their burden. Importantly, a petition for

reconsideration is not intended to give an additional opportunity for an unsuccessful party to

argue its case. Matter of Hazzard's Excavating and Trucking Co., SBA No. BDP-364, at 2

(2010). A petition for reconsideration is “appropriate only in limited circumstances, such as

situations where OHA has misunderstood a party, or has made a decision outside the adversarial

issues presented by the parties.” Size Appeal of KVA Elec, Inc., SBA No. SIZ-5057 at 2 (2009).

A petitioner will not prevail on a motion for reconsideration if it merely repeats arguments OHA

already considered in the original decision, or seeks rehearing based upon evidence previously

presented. Size Appeal of Luke & Assocs., Inc., SBA No. SIZ-4993 at 2 (2008). CVE Protest of

Alpha4 Solutions, LLC, (PFR), SBA No. CVE-137-P, at 3 (2019)

                                           ARGUMENT

       Appellants concede that OHA identified the correct legal issue in the Initial Consolidated

Decision, they just don’t like the result, which is not grounds for a successful petition for

reconsideration. Appellants quoted OHA’s statement that “[t]he sole issue in dispute is whether the

$20,000,000.00 PPP corporate group maximum loan limitation is applicable to the Appellants” and

don’t dispute the accuracy of that statement. (Accordius Asheville Appeal Petition) Appellants’

issue is with OHA’s interpretation of “common parent” as used in Interim Final Rule #7. SBA

argued that the plain meaning of “common parent” can include two individuals who together



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own a majority of a group of entities. Appellants, without any citation to support its position,

argue that the plain meaning of “common parent” is limited to a “common parent corporation” or

“common holding company.” (Accordius Asheville Appeal Petition at p.7) When faced with two

competing arguments as to the “plain” meaning of “common parent” OHA did its job. It

considered Appellants’ arguments and found that the rationale in SBA’s FLRDs and Stipulated

AR was not clear error material to the decision.

       More importantly, it is improper for Appellants to attempt to relitigate this issue on a

petition for reconsideration. Appellants made their unsupported argument setting forth an

unreasonably narrow interpretation of “common parent” to solely include a corporation or

holding company, without any support or explanation of how such a narrow interpretation could

have supported the stated goal of Interim Final Rule #7 to “preserve the limited resources available

to the PPP program.” OHA correctly found that SBA’s plain reading of “common parent” to include

two individuals who together own a majority of a group of entities is appropriate within the

context and goal of Interim Final Rule #7 – to preserve limited PPP fund resources.

       Here, OHA neither misunderstood the issue nor made a decision outside the issue

presented by the parties. There was no clear error material to OHA’s decision. At issue was

whether Appellants were part of a corporate group that received over the regulatory limit in PPP

funds. OHA answered that question in the affirmative, finding that Appellants were majority

owned by the common parent Hyman and Zanziper, and as such, were part of a corporate group.

Appellants have not shown that this finding was based upon a manifest error of law or fact.

       For these reasons, OHA did not clearly err in finding that SBA correctly concluded that

Appellants were part of a corporate group, with the common parent Hyman and Zanziper, that

received double the $20,000,000 corporate group limit in finite First Draw PPP funds.

                                         CONCLUSION



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       Based on the foregoing, Appellants clearly failed to show an error of fact or law material

to the Initial Consolidated Decision. To the contrary, the Stipulated AR and all material

evidence show that OHA’s Initial Consolidated Decision should be upheld. Therefore, OHA

should deny Appellants’ Petitions.



                                             Respectfully submitted,




                                             Sameena Nabijee
                                             Attorney for SBA




                                                                                 USA-0007764
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                                                       )
PAYCHECK PROTECTION PROGRAM                            )
APPEAL OF:                                             )
                                                       )
Accordius Health at Asheville LLC et al.               ) Docket No. PPP-4336458510
                                                       )
          Appellant                                    )
                                                       )
Appealed from                                          )
SBA PPP Loan No. 4336458510                            )
                                                       )


                                  CERTIFICATE OF SERVICE

          I certify that on April 4, 2023, I filed a copy of the above response in the OHA Case

Portal.



                                                       Respectfully submitted,




                                                       Sameena Nabijee
                                                       Attorney for SBA
                                                       U.S. Small Business Administration
                                                       332 S. Michigan Ave., Suite 600
                                                       Chicago, IL 60604
                                                       Phone: (312) 353-8614




                                                                                    USA-0007775
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                  United States Small Business Administration
                        Office of Hearings and Appeals


 PAYCHECK PROTECTION PROGRAM
 APPEAL OF:
                                                       Issued: April 10, 2023
 Accordius Health at Asheville LLC et al.
                                                       Decision No. PFR-4336458510
        Petitioners

 RE: PPP Appeal of Accordius Health at Asheville
 LLC et al., SBA No. PPP-4336458510 et al.
 (2023)

Appearances:
 Frederick N. Widen, Joshua Klarfeld, & Sara S. Dorland, Ulmer & Berne LLP, for Appellants.
 Sameena Nabijee, Attorney for the Small Business Administration.


                           RECONSIDERATION DECISION

   After carefully considering the evidence and arguments presented in the Administrative
Records, Requests for Reconsideration, and Consolidated Decision No. PPP-4336458510, the
appeal petitions of Accordius Health at Asheville LLC et al. (Petitioners/Appellants) remain
DENIED. For the reasons discussed below, Petitioners are not entitled to loan forgiveness.

                                 PROCEDURAL HISTORY

   The Petitioners (Borrowers/Appellants) submitted Paycheck Protection Program (PPP)
Borrower Applications, which were approved for individual First Draw PPP loans through
authorized PPP lenders (Lender) and each received their respective loan proceeds. The
Petitioners submitted PPP Loan Forgiveness Applications through the Lender that received
individual lender decisions concerning loan forgiveness.

   The U.S. Small Business Administration (SBA) Office of Capital Access issued final PPP
loan review decisions finding Petitioners ineligible for their respective PPP loans and any
precluded from loan forgiveness.

    On December 6 & 7, 2022, the Petitioners filed appeal Petitions from their final SBA loan
review decisions. Petitioners argued the final SBA loan review decisions were clearly
erroneous, and requested the Office of Hearings and Appeals (OHA) reverse them, and find
the Petitioners eligible for PPP loan forgiveness.



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   On December 13, 2022, Notice and Orders were issued under their individual appeals
requiring the filing of the Administrative Records (AR) by January 3, 2023, providing for the
Petitioners to file Objections to the same by January 12, 2023, and allowing for SBA to file
Responses to the Petitions by January 27, 2023.

   On December 22, 2022, SBA filed a Consent Motion to consolidate the Petitioner’s
Petitions, as set forth in the attached and incorporated Exhibit A and designate appeal PPP-
4336458519 as the “lead case”. The Motion further sought an extension of time to file the
ARs, Objections, and Responses.

   On January 3, 2023, an Order of Consolidation was issued naming Accordius Health at
Asheville LLC PPP No. 4336458510, as the “lead case” for any motions, briefs, and orders.

   On January 13, 2023, an Amended Notice and Order was issued requiring the filing of the
ARs by February 6, 2023, providing for the Petitioners to file Objections to the same by
February 17, 2023, and allowing for SBA to file Responses to the Petitions by March 3, 2023

    On February 6, 2023, SBA filed Joint Stipulation and Motion for Leave to File Consolidated
Administrative Record, for which an Order and Amended Order were issued granting the
parties Joint Motion for Leave to File the Stipulations and limited AR for the consolidated
appeal. The Consolidated AR was then received. The Petitioners did not file an Objection to
the AR and SBA did not file a Response to the Petitions. The AR was closed at 5:00 PM Eastern
on March 3, 2023.

   On March 8, 2023, a Consolidated OHA Initial Decision was issued affirming the final SBA
loan review decisions for each Petitioner.

   On March 17, 2023, the Petitioner filed a Request for Reconsideration alleging errors of
both fact and law in Consolidated Decision No. PPP-4336458510 et al.

    On March 20, 2023, the undersigned issued a Notice of Consolidation & Order allowing
for SBA to file a response to the Request for Reconsideration no later than April 4, 2023. The
Order further consolidated the Petitioner’s Petitions for Reconsideration for the filing of any
party motions or briefs, any Orders, and Decision issued by the undersigned.

   SBA filed a Response on April 4, 2023, and the AR was closed at 5:00 PM Eastern that day.


                                           ISSUES

    Whether the final SBA loan review decision and/or OHA Decision No. PPP-4336458510
et al. contains clear error of law or fact to allow the Petitioners their requested PPP loan
forgiveness?




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                              APPLICABLE LAW AND POLICY

   I.     Paycheck Protection Program

   PPP is a temporary SBA 7(a) Loan Program designed to provide emergency assistance to
certain small businesses during the COVID-19 crisis, for the purposes of helping businesses
keep their workers paid and employed. PPP was established under section 1102 of the
Coronavirus Aid, Relief, and Economic Security Act (CARES Act) (Pub. L. 116–136), which
was signed into law on March 27, 2020, and subsequently was revised and expanded by
other statutes. In general, PPP was open to all American small businesses with 500 or fewer
employees, including sole proprietorships, independent contractors, and self-employed
individuals. 15 U.S.C. § 636(a)(36)(D).

   Under PPP, borrowers obtain loans through an SBA-approved lender, rather than from
SBA itself, and the lender services the PPP loan. SBA implements the program and
guarantees 100% of PPP loans in the event of default. As a condition for obtaining a PPP
loan, a borrower was required to certify that PPP funds would be used to retain workers and
maintain payroll or to make mortgage, lease, and utility payments. PPP funds could not be
used for compensation of employees whose principal place of residence was outside the
United States. Further, salary expenditures were capped at no more than $100,000 annually
per employee. 15 U.S.C. § 636(a)(36)(G) and (A)(viii)(II).

     Generally, a small-business concern shall be deemed to be one which is independently
owned and operated and which is not dominant in its field of operation. In addition to the
criteria specified in 15 U.S.C. § 632(a)(1), the Administrator may specify detailed definitions
or standards by which a business concern may be determined to be a small business concern
for the purposes of the Small Business Act or any other act. The standards specified by the
Administrator may utilize number of employees, dollar volume of business, net worth, net
income, a combination thereof, or other appropriate factors. 15 U.S.C. § 632(a)(1) and
(2)(A)&(B).

   SBA established its initial small business size standards on January 1, 1957. 21 Fed. Reg.
9709-9714, December 7, 1956.

    Except for small agricultural cooperatives, a business concern eligible for assistance from
SBA as a small business is a business entity organized for profit, with a place of business
located in the United States, and which operates primarily within the United States or which
makes a significant contribution to the U.S. economy through payment of taxes or use of
American products, materials or labor. A business concern may be in the legal form of an
individual proprietorship, partnership, limited liability company, corporation, joint venture,
association, trust or cooperative, except that where the form is a joint venture there can be
no more than 49 percent participation by foreign business entities in the joint venture. 13
C.F.R. § 121.105(a)(1) and (b).

     The Administrator has established SBA's size standards to define whether a business
entity is small and, thus, eligible for Government programs and preferences reserved for


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“small business” concerns. Size standards have been established for types of economic
activity, or industry, generally under the North American Industry Classification System
(NAICS). NAICS is described in the North American Industry Classification Manual-United
States, which is available from the National Technical Information Service, 5285 Port Royal
Road, Springfield, VA 22161; by calling 1(800) 553-6847 or 1(703) 605-6000; or via the
Internet at http://www.ntis.gov/products/naics.aspx. The manual includes definitions for
each industry, tables showing relationships between 1997 NAICS and 1987 SICs, and a
comprehensive index. NAICS assigns codes to all economic activity within twenty broad
sectors. A full table matching a size standard with each NAICS Industry or U.S. Industry code
is also published annually by SBA in the Federal Register. 13 C.F.R. § 121.101(a-b).

     SBA size standards are expressed either in number of employees or annual receipts in
millions of dollars, unless otherwise specified. The number of employees or annual receipts
indicates the maximum allowed for a concern and its affiliates to be considered small. 13
C.F.R. § 121.201.

    Except for the Business Loan and Disaster Loan Programs, a business concern's average
annual receipts are calculated by determining the total receipts of the concern over its most
recently completed 5 fiscal years divided by 5, or over its most recently completed 3 fiscal
years divided by 3. 13 C.F.R. § 121.104(c)(1). For the Business Loan and Disaster Loan
Programs, annual receipts of a concern that has been in business for three or more
completed fiscal years means the total receipts of the concern over its most recently
completed three fiscal years divided by three. The Business Loan Programs consist of the
7(a) Loan Program. 13 C.F.R. § 121.104(c)(4). Completed fiscal year means a taxable year
including any short year. “Taxable year” and “short year” have the meanings attributed to
them by the IRS. 13 C.F.R. § 121.104(b).

   The Federal income tax return and any amendments filed with the IRS on or before the
date of self-certification must be used to determine the size status of a concern. SBA will not
use tax returns or amendments filed with the IRS after the initiation of a size determination.
When a concern has not filed a Federal income tax return with the IRS for a fiscal year which
must be included in the period of measurement, SBA will calculate the concern's annual
receipts for that year using any other available information, such as the concern's regular
books of account, audited financial statements, or information contained in an affidavit by a
person with personal knowledge of the facts. 13 C.F.R. § 121.104(a)(1-2).

     Section 1116 of the Small Business Jobs Act of 2010 directed SBA to establish a new
temporary 1 alternative size standard based on tangible net worth and net income for
determining size eligibility for its 7(a) and 504 loan programs, as follows: The Administrator
shall establish an alternative size standard for applicants for business loans under section
636(a) of this title that uses maximum tangible net worth and average net income as an
alternative to the use of industry standards. See 15 U.S.C. § 632(a)(5)(A).



1
    https://www.sba.gov/sites/default/files/files/bank_5000-1175_0.pdf


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    This alternative size standard provides a business concern is a small business , if: 1) The
maximum tangible net worth of the business concern is not more than $15,000,000; and 2)
The average net income after Federal income taxes (excluding any carry-over losses) of the
business concern for the 2 full fiscal years before the date of the application is not more than
$5,000,000. 15 U.S.C. § 632(a)(5)(B)(i-ii).

    Effective September 27, 2010, the new statutory alternative size standard replaced and
superseded the existing alternative size standard, based on tangible net worth and net
income, for SBA’s 7(a) and 504 loan programs set forth in 13 C.F.R. § 121.301(b)(2). This
new statutory alternative size standard is effective until such time as SBA establishes a
permanent alternative size standard for the 7(a) and 504 loan programs through the
rulemaking authority granted the Administrator under §636(a) of the Small Business Act.

    A business concern is eligible for a First or Second Draw PPP loan if, on its own, it meets
the size standard (employee-based or receipts-based) established by SBA for the NAICS code
applicable to its primary industry, AND together with its affiliates, it meets the size standard
(employee-based or receipts-based) established by SBA for the NAICS code applicable to
either its primary industry or the primary industry of itself and its affiliates on a combined
basis, whichever standard is higher. See 13 C.F.R. § 121.301(a and f) and SBA FAQ Questions
2, 4, 5, and/or 63 (in relevant part, below).

                           PAYCHECK PROTECTION PROGRAM LOANS
                                Frequently Asked Questions (FAQs) 2
      2. Question: Are small business concerns (as defined in section 3 of the Small Business
         Act, 15 U.S.C. 632) required to have 500 or fewer employees to be eligible borrowers
         for First Draw PPP Loans? 3
         Answer: No. Small business concerns can be eligible borrowers for First Draw PPP
         Loans even if they have more than 500 employees, as long as they satisfy the existing
         statutory and regulatory definition of a “small business concern” under section 3 of
         the Small Business Act, 15 U.S.C. 632. A business can qualify if it meets the SBA
         employee-based or revenue-based size standard corresponding to its primary
         industry. Go to www.sba.gov/size for the industry size standards.
         Additionally, a business can qualify for a First Draw PPP Loan as a small business
         concern if it met both tests in SBA’s “alternative size standard” as of March 27,
         2020: (1) maximum tangible net worth of the business is not more than $15 million;
         and (2) the average net income after Federal income taxes (excluding any carry-over
         losses) of the business for the two full fiscal years before the date of the application
         is not more than $5 million. (Emphasis added)….




2
  https://home.treasury.gov/system/files/136/Paycheck-Protection-Program-Frequently-Asked-Questions.pdf
3
  Question 2 published April 6, 2020 and revised March 3, 2021 to reflect the consolidated interim final rule
implementing updates to the PPP. This FAQ applies only to First Draw PPP Loans. Different eligibility
requirements apply to Second Draw PPP Loans. See FAQ #63 and subsection (c) of the interim final rule for
Second Draw PPP Loans.


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        4. Question: Are lenders required to make an independent determination regarding
           applicability of affiliation rules under 13 C.F.R. 121.301(f) to borrowers? 4
           Answer: No. It is the responsibility of the borrower to determine which entities (if
           any) are its affiliates and determine the employee headcount of the borrower and its
           affiliates. Lenders are permitted to rely on borrowers’ certifications….

        5. Question: Are borrowers required to apply SBA’s affiliation rules under 13 C.F.R.
           121.301(f)? 5
           Answer: Yes. Borrowers must apply the affiliation rules, including any applicable
           exceptions or affiliation waivers, set forth in SBA’s Interim Final Rule on Affiliation,
           Interim Final Rule on Treatment of Entities with Foreign Affiliates, the consolidated
           interim final rule implementing updates to the PPP, and the interim final rule for
           Second Draw PPP Loans. A borrower must certify on the applicable Borrower
           Application Form that the borrower is eligible to receive a PPP loan. For a First Draw
           PPP Loan, that certification means that the borrower has no more than 500
           employees, is a small business concern as defined in section 3 of the Small Business
           Act (15 U.S.C. 632) that meets the applicable SBA employee-based or revenue-based
           size standard, or meets the tests in SBA’s alternative size standard, after applying
           the affiliation rules, if applicable. (Emphasis added).

        63. Question: May applicants use SBA’s established size standards (either revenue-
            based or employee-based) or SBA’s alternative size standard to qualify for a Second
            Draw PPP Loan?
            Answer: No. Applicants may not use SBA’s established size standards (either
            revenue based or employee-based) or the alternative size standard to qualify for a
            Second Draw PPP Loan. In general, the size eligibility requirement for Second Draw
            PPP Loans are narrower than the size eligibility requirement for First Draw PPP
            Loans. With some exceptions, an applicant is eligible for a Second Draw PPP Loan
            only if it, together with its affiliates (if applicable), employs no more than 300
            employees. The only exceptions are if an Applicant:
            • Is assigned a NAICS code beginning with 72 and employs no more than 300
            employees per physical location, or
            • Is a news organization that is majority owned or controlled by a business concern
            that is assigned NAICS code 511110 or a NAICS code beginning with 5151 or is a
            nonprofit public broadcasting entity with a trade or business under NAICS code
            511110 or 5151, and, in either case, employs no more than 300 employees per
            physical location.

    The size status of an applicant for SBA financial assistance is determined as of the date
the application for financial assistance is accepted for processing by SBA. 13 C.F.R. § 121.302.



4
    Question 4 published April 6, 2020.
5 Question 5 published April 6, 2020 and revised March 3, 2021 to conform to subsections B.1.g.v., B.1.g.vii., and

B.1.g.viii of the consolidated interim final rule implementing updates to the PPP and subsection (c) of the interim
final rule on Second Draw PPP Loans.


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    On May 4, 2020, SBA issued Interim Final Rule #7 (IFR #7), which provides that in order
to “preserve the limited resources available to the PPP program, and in light of the previous
lapse of PPP appropriations and the high demand for PPP loans, businesses that are part of
a single corporate group shall in no event receive more than $20,000,000 of PPP loans in the
aggregate. For purposes of this limit, businesses are part of a single corporate group if they
are majority owned, directly or indirectly, by a common parent. This limitation shall be
immediately effective with respect to any loan that has not yet been fully disbursed as of
April 30, 2020.” 85 Fed. Reg. 26324, 26325 (May 4, 2020).

   On December 27, 2020, the Economic Aid to Hard-Hit Small Businesses, Nonprofits, and
Venues Act (Economic Aid Act) P.L.116-260, was enacted, extending the authority to make
PPP loans through March 31, 2021, revising certain PPP requirements, and permitting
Second Draw PPP Loans. 86 Fed. Reg. 8283. Businesses applying for a second PPP loan were
required to demonstrate at least a 25% reduction in gross receipts between comparable
quarters in 2019 and 2020. 15 U.S.C. § 636(a)(37)(A)(iv).


   II.    PPP Loan Forgiveness

   PPP loans could be used for payroll and employee benefits costs, as well as other
operating expenses, including mortgage interest payments (not principal), rent and lease
payments, and utilities. 15 U.S.C. § 636(a)(36)(F).

    To be eligible for loan forgiveness, at least 60 percent of the PPP loan must have been
used to fund payroll and employee benefits costs. The remaining portion (up to 40 percent)
of the loan may have been used for mortgage interest, rent, and other eligible expenses.
Subject to certain exceptions, the amount that can be forgiven may be reduced in proportion
to any reductions in the number of full-time equivalent employees, or if employee salary or
wages were reduced by more than 25%. 15 U.S.C. § 636m(d)(8) and § 636m(d)(2-3).

    To seek loan forgiveness, a PPP borrower must submit a Loan Forgiveness Application
(Form 3508) to its lender, with supporting documentation of its expenditures. Within the
application, the borrower must certify that PPP funds were utilized for authorized purposes,
and that all documentation provided is true and correct. Forgiveness is prohibited without
appropriate supporting documentation, or without the required certification. In general, a
PPP borrower may obtain forgiveness, up to the full amount of its loan, for eligible expenses
made during the loan’s “covered period” (typically, 24 weeks from the date of loan
origination). 15 U.S.C. § 636m(e), § 636m(e)(3), § 636m(f), and § 636m(b).

    The lender reviews the application and makes an initial decision regarding loan
forgiveness. 15 U.S.C. § 636m(g).

   Following issuance of an initial decision, Office of Capital Access may issue a final SBA
loan review decision, which is an official written decision issued by the SBA Office of Capital
Access which reviews the PPP loan and finds a borrower: 1) Was ineligible for a PPP loan; 2)


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Was ineligible for the PPP loan amount received or used PPP loan proceeds for unauthorized
uses; 3) Is ineligible for PPP loan forgiveness in the amount determined by the lender in its
full approval or partial approval decision issued to the SBA; and/or, 4) Is ineligible for PPP
loan forgiveness in any amount when the lender issued a full denial decision to SBA. The
Lender is required to provide a copy of the final SBA loan review decision to the borrower
within five (5) business days of the date of the decision (SBA Procedural Notice #5000-
20077, effective January 15, 2021 6. 13 C.F.R. §134.1201(b)(1)-(4).

   OHA conducts PPP appeals under the authority of 13 C.F.R. part 134 Subpart L. The
Appellant has the burden of proving all elements of the appeal. Specifically, the Appellant
must prove the final SBA loan review decision was based upon a clear error of fact or law.
Only a borrower on a loan, or its legal successor in interest, has standing to appeal a final
SBA loan review decision. 13 C.F.R. § 134.1210 and 13 C.F.R. § 134.1203.

    III.     Reconsideration

    An initial decision of the Judge may be reconsidered. If a request for reconsideration is
filed and the SBA Administrator does not exercise discretion to review or reverse the initial
decision under paragraph (d) of this section, OHA will decide the request for reconsideration
and OHA’s decision on the request for reconsideration is a reconsidered initial OHA decision.
A reconsidered initial OHA decision becomes the final decision of SBA 30 calendar days after
its service unless the SBA Administrator, solely within the Administrator’s discretion,
decides to review or reverse the reconsidered initial OHA decision under paragraph (d) of
this section. The discretionary authority of the Administrator does not create any additional
rights of appeal on the part of an appellant not otherwise specified in SBA regulations in this
chapter. 13 C.F.R. §134.1211(c)(3).

                                  FINDINGS OF FACT AND ANALYSIS

     After careful consideration of the entire record, including all pleadings, a preponderance of
the evidence establishes:

   I.    Background
The CARES Act & EAA

     On March 27, 2020, the CARES Act became law. P.L.116-136. It is the declared policy of
Congress that the Federal Government, through the SBA Administrator, in cooperation with
the Department of Commerce (DOC) and other relevant State and Federal agencies, should
aid and assist small business, as defined by the Small Business Act. 15 U.S.C. § 631(b)(1). SBA
carries out the policies of the Small Business Act. 15 U.S.C. § 633(a). The SBA Administrator
makes rules and regulations to carry out the Small Business Act. 15 U.S.C. § 634(b)(6).



6
  SBA PPP lender notices are available from SBA.gov at https://www.sba.gov/funding-programs/loans/covid-19-relief-
options/paycheck-protection-program/ppp-lender-information#section-header-4.


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    Section 7(a) of the Small Business Act authorizes SBA to make loans to qualified small
businesses. For the purposes of the Small Business Act, a small business concern is one
which is independently owned and operated, not dominant in its field of operation, and
meets the size standards set by the Administrator. 15 U.S.C. § 632(a)(1)-(2)(A)-(B); 15 U.S.C.
§636e(6); 13 C.F.R. §§ 121.101(a), 121.102(a) and 121.201.

     Section 1102 of the CARES Act amended Section 7(a) of the Small Business Act to
establish the PPP and Section 1106 of the CARES Act amended Section 7 of the Small Business
Act to establish PPP loan forgiveness. P.L. 116-36, §§ 1102 and 1106.

    Section 1114 of the CARES Act grants the Administrator emergency rulemaking
authority and provides no later than fifteen (15) days after March 27, 2020, the
Administrator shall issue regulations to carry out the Act and amendments made to the Act
without regard to the notice requirements of 5 U.S.C. § 553(b) (15 U.S.C. § 9012).

     In addition to the criteria specified in 15 U.S.C. § 632(a)(1), the Administrator may
specify detailed definitions or standards by which a business concern may be determined to
be a small business concern for the purposes of the Small Business Act or any other act. The
standards specified by the Administrator may utilize number of employees, dollar volume of
business, net worth, net income, a combination thereof, or other appropriate factors. 15
U.S.C. § 632(a)(2)(A)&(B).

    Unless otherwise provided by 15 U.S.C. § 636(a)(36), SBA guarantees covered PPP loans
under the same terms, conditions, and processes as other 7(a) loans. 15 U.S.C. §
636(a)(36)(B).

    The CARES Act set forth the following definitions: ‘Covered Loan’ means a loan made
under the PPP; ‘Covered Period’ means the period beginning on February 15, 2020 and
ending on June 30, 2021; & ‘Eligible Recipient’ means an individual or entity eligible to
receive a covered loan. 15 U.S.C. § 636(a)(36)(A)(ii-iv).

    The CARES Act provides forgiveness of PPP loans to an eligible recipient on a covered
loan in an amount equal to the sum of the costs incurred/payments as defined by the CARES
Act made during the covered period. 15 U.S.C. § 636(a)(36) & (37)(J).

     In general, a PPP borrower may obtain forgiveness, up to the full amount of its loan, for
eligible expenses made during the loan’s “covered period” (typically, 24 weeks from the date
of loan origination). PPP loan forgiveness is prohibited without appropriate supporting
documentation, or without the required certification.. The Lender reviews the PPP loan
forgiveness application and makes an initial decision regarding loan forgiveness. 15 U.S.C. §
636m(b), (f), and (g).

     Following issuance of an initial decision, the SBA Office of Capital Access may issue a
final SBA loan review decision, which is an official written decision issued by the SBA Office
of Capital Access which reviews the PPP loan and finds a borrower was ineligible for the PPP



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loan amount received or used PPP loan proceeds for unauthorized uses. 13 C.F.R. §
134.1201(b)(2).

     Thus, the loan forgiveness process includes a two-step review by SBA of the Petitioner’s
underlying qualification during the covered period for the amount of PPP loan proceeds
received (eligibility) and documentation to support approved use of the proceeds
(forgiveness).

     On December 27, 2020, the EAA became law. P.L.116-260 (December 27, 2020).

Joint Stipulations

     The parties jointly stipulated to the following:

        1) SBA denied Petitioners’ loan forgiveness applications finding, in part, that each
            of the Petitioners “is part of a corporate group [that] has received more than
            $20,000,000 of First Draw PPP loans in the aggregate.”
        2) Petitioners’ appeals of the denial decisions were timely filed.
        3) 84 entities, owned equally by individuals Simcha Hyman and Naftali Zanziper,
            received first-draw PPP loans.
        4) The SBA forgave the first-draw PPP loans for 36 of these entities.
        5) The SBA denied forgiveness for the first-draw PPP loans of the 48 other
            entities. 7
        6) Petitioners disclosed their ownership by Simcha Hyman and Naftali Zanziper
            in their Paycheck Protection Program Borrower applications.
        7) Petitioners complied with SBA’s requests for information.
        8) Whether Petitioners satisfied SBA’s alternative size standard is not at issue in
            this appeal.
        9) The parties have agreed to submission of a limited record in this consolidated
            appeal. (Joint Stipulations).


Petitioner’s PPP Loan Application and Lender Approval

   On or about March of 2021, the Petitioners submitted PPP Borrower Application Forms
2483 through the Lender. (Petitions – Denial Justification Document)

     The Petitioners are owned equally by Simcha Hyman and Naftali Zanziper. The
Petitioners were approved for PPP loans by the Lender and individually received their PPP
loan proceeds. 84 entities, owned equally by individuals Hyman and Zanziper, received first-
draw PPP loans. (Joint Stipulations and Motion for Leave to File Consolidated Administrative
Record).

7 The 48 appeals were apportioned between two Administrative Law Judges: 38 were assigned to ALJ Haring,

and
10 were assigned to ALJ Trunick.


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Petitioner’s PPP Loan Forgiveness Application and SBA Review

     To seek loan forgiveness, a PPP borrower must submit a Loan Forgiveness Application
(Form 3508) to its lender, with supporting documentation of its expenditures. Within the
application, the borrower must certify that PPP funds were utilized for authorized purposes,
and that all documentation provided is true and correct. Forgiveness is prohibited without
appropriate supporting documentation, or without the required certification. In general, a
PPP borrower may obtain forgiveness, up to the full amount of its loan, for eligible expenses
made during the loan’s “covered period” (typically, 24 weeks from the date of loan
origination).

    The Petitioners submitted PPP Loan Forgiveness Application Forms 3508, along with
some documentation and the required certifications concerning the validity of expenses
through the Lender.

     The Lender must review the Loan Forgiveness Application (Form 3508) and make an
initial decision regarding loan forgiveness. On or about June 29, 2022, the Lenders
determined the Petitioners should receive full loan forgiveness. (Petitions – “Denial
Justification Document”).

     Following issuance of a lender decision, the SBA Office of Capital Access may issue a final
SBA loan review decision, which is an official written decision issued by the SBA Office of
Capital Access which may find the Appellant was ineligible for the PPP loan amount received
or is ineligible for PPP loan forgiveness in the amount determined by the Lender in its full or
partial initial decision.

    SBA notified the Lender it was reviewing the Appellants’ PPP loans. SBA requested the
documentation used to secure the loan and justify the Lender’s forgiveness decision.
Appellants complied with SBA’s requests for information. (Joint Stipulation and Motion for
Leave to File Consolidated Administrative Record).

     On or about November 11, 2022, SBA issued final loan review decisions providing the
Petitioners with $0.00 of PPP loan forgiveness, finding the Petitioners “part of a corporate
group [that] has received more than $20,000,000 of First Draw PPP loans in the aggregate.”
This rendered the Appellants ineligible for the PPP loans and precluded them from loan
forgiveness. Of note, SBA forgave the first-draw PPP loans for 36 of these entities affiliated
with the Petitioners. (Joint Stipulation and Motion for Leave to File Consolidated
Administrative Record).

Petitioner’s Argument in Favor of Loan Forgiveness

      The Petitioner had the burden of proving all elements of the appeal and had to prove
the final SBA loan review decision was based upon a clear error of fact or law. 13 C.F.R. §
134.1210. Through written statement, the Petitioner argued in favor of full loan forgiveness,
as follows:


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     Petitioners are separate and distinct operating companies from each other.            No
Petitioner is itself, a holding or parent company. Each Petitioner is owned by two individuals,
Simcha Hyman and Naftali Zanziper, neither of which holds a majority of the membership
interests in any Petitioner. No Petitioner has a parent company, thus, no Petitioner can share
a common parent company with any of the other 47 Petitioners for which SBA is denying
PPP loan forgiveness. Because none of the Petitioners has a “common parent,” they are not
a “single corporate group” for purposes of any purported $20,000,000 limitation on PPP
loans. The Petitioners essentially argue clear error exists in the final SBA loan review
decisions, as none of the Petitioner entities was owned at any time by a corporation or any
other type of entity.

     The Petitioners argue three points for the proposition: 1 ) SBA’s issuance of IFR #7
violates the notice and comment rule-making requirement under the Administrative
Procedure Act (APA); 2) Nothing in the CARES Act or the Economic Aid Act imposes a
$20,000,000.00 PPP loan limitation on corporate groups; and 3) Even if the rule-making
requirements of the APA are overlooked, SBA has not issued any guidance on how it
interprets the $20,000,000.00 PPP loan limitation, and more specifically, how SBA defines
the terms ‘single corporate group”/”common parent’. Each argument is individually below.

     All three arguments rely upon the language contained in SBA’s Interim Final Rule
(Docket Number SBA-2020-0023) of April 30, 2020 (IFR #7), which “placed a $20,000,000
limitation on the amount of PPP loans that businesses in a single corporate group can
receive”, as follows:

         To preserve the limited resources available to the PPP program, and in
         light of the previous lapse of PPP appropriations and the high demand for
         PPP loans, businesses that are part of a single corporate group shall in no
         event receive more than $20,000,000 of PPP loans in the aggregate. For
         purposes of this limit, businesses are part of a single corporate group
         if they are majority owned, directly or indirectly, by a common
         parent. (Emphasis added in Petition).


OHA Initial Decision

    On March 8, 2023, an OHA Initial Decision was issued denying the Petitioner PPP loan
forgiveness finding the Petitioners were ineligible for their respective PPP loans having
exceeded the $20,000,000.00 PPP corporate maximum loan limitation and precluded from loan
forgiveness. The Petitioners requests for Reconsideration uniformly raise assignments of
legal and factual error in the prior decision, each addressed below.




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    II.    Errors of Fact Asserted by the Petitioner
    The Petitioner asserts assignments of error in the final SBA loan review decision and OHA
Initial Decision, as follows:
     SBA’s argument, and the March 8 Decision is premised on a clearly erroneous
     conclusion of law that is material to that Decision. Specifically, this Court erred in
     applying SBA’s affiliation rules to the definition of “corporate parent.” Nothing in the
     IFR or other guidance suggests that the affiliation rules apply to the IFR. Nor does the
     IFR or any related guidance suggest that SBA’s Standard Operating Procedures 50 10 5
     (f), Part 2, Section B, Ch. 3, 2.a. applies to the IFR (as the Court suggests in the March 8
     Decision) or dictates that the affiliation rules should apply in determining the definition
     of “common parent” here. It appears to be the Court’s position that simply by virtue of
     the fact that Appellant had to apply the SBA’s affiliation rules to meet the alternative
     size test somehow means that Appellant should have assumed the affiliation rules
     would apply to the definition of “corporate group” as used in the IFR. In sum, there is
     no guidance on the definition of “common parent” as used in the IFR.2 Nor for that
     matter, is there any basis in law to conclude that two individuals each with 50%
     ownership interest in multiple companies meets the definition of “common parent.” For
     the reasons set forth in Accordius’ Appeal Petition, Appellant is not part of a “corporate
     group” with a “common parent” and thus, not subject to the $20,000,000 limitation.
     (Petition for Reconsideration).
    III.   PPP Loan Eligibility and Forgiveness
     SBA denied the Petitioner’s loan forgiveness application by holding the Petitioner’s
having exceeded the $20,000,000.00 PPP corporate maximum loan limitation and precluded from
loan forgiveness. The Petitioners argue this decision (and the OHA Initial Decision upholding
the same) was in error, based upon the misapplication of the “common parent” to the
Petitioners. The Petitioners remain with three arguments in favor of loan eligibility and
forgiveness, each addressed below.

Argument #1 - SBA’s issuance of IFR #7 violates the notice and comment rule-making
requirement under the Administrative Procedure Act (APA)

    The Petitioners argue this provision cannot be used to deny any of the Petitioners PPP
Loan Forgiveness Applications, as the same was issued outside of the APA’s statutorily
mandated processes.

     The APA is codified in 5 U.S.C. §§ 551–559 and applies to all agencies of the federal
government. The APA provides the general procedures for various types of rulemaking.
Agencies promulgate rules in a variety of methods that requiring notice-and-comment. 5
U.S.C. § 553.




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     It is the declared policy of Congress that the Federal Government, through the SBA
Administrator, in cooperation with the Department of Commerce (DOC) and other relevant
State and Federal agencies, should aid and assist small business, as defined by the Small
Business Act. 15 U.S.C. § 631(b)(1). SBA carries out the policies of the Small Business Act. 15
U.S.C. § 633(a). The SBA Administrator makes rules and regulations to carry out the Small
Business Act. 15 U.S.C. § 634(b)(6).

    Section 7(a) of the Small Business Act authorizes SBA to make loans to qualified small
businesses. 15 U.S.C. § 636(a). For the purposes of the Small Business Act, a small business
concern is one which is independently owned and operated, not dominant in its field of
operation, and meets the size standards set by the Administrator. 15 U.S.C. § 632(a)(1)-
(2)(A)-(B); 15 U.S.C. § 636e(6); 13 C.F.R. §§ 121.101(a), 121.102(a) and 121.201.

     Section 1102 of the CARES Act amended Section 7(a) of the Small Business Act to
establish the PPP and Section 1106 of the CARES Act amended Section 7 of the Small Business
Act to establish PPP loan forgiveness. P.L. 116-36, §§ 1102 and 1106.

    Section 1114 of the CARES Act grants the Administrator emergency rulemaking
authority and provides no later than fifteen (15) days after March 27, 2020, the
Administrator shall issue regulations to carry out the Act and amendments made to the Act
without regard to the notice requirements of 5 U.S.C. § 553(b). 15 U.S.C. § 9012.

     Congress has given SBA broad authority to make rules and regulations, to take actions
that “are necessary or desirable in making . . . loans,” 15 U.S.C. § 634(b)(6)-(7), and to
establish general policies to “govern the granting and denial of applications for financial
assistance by the Administration,” id. § 633(d). That background authority naturally extends
to the PPP lending program. See Camelot Banquet Rooms, Inc., et al. v. SBA, No. 21-2589,
2022 WL 221616 (7th Cir. 2022). Section 1114 of the CARES Act required the SBA
Administrator to issue regulations to govern PPP and granted the SBA Administrator
emergency rulemaking authority to carry out PPP. The CARES Act specifically waived the
SBA Administrators notice and comment requirements under the APA. 15 U.S.C. § 9012. As
such, the Petitioners’ argument that SBA’s issuance of the IFR #7 was in violation of the APA
is without merit.

Argument #2 - Nothing in the CARES Act or the Economic Aid Act imposes a
$20,000,000.00 PPP loan limitation on corporate groups

    The Petitioners note the Administrator issued IFR #7 imposing a $20,000,000.00
limitation on a corporate group, owned directly or indirectly, by a common parent, where
the CARES Act (and subsequent amendments) do not contain this limitation. The argument
raised by the Petitioners concerns the Administrators authority to issue IFR #7.

    OHA assigns all cases subject to the Administrative Procedure Act (“APA”), 5 U.S.C. 551
et seq., to an Administrative Law Judge (“ALJ”) and assigns all other cases before OHA to
either an ALJ or an Administrative Judge (“AJ”), or, if the AA of OHA is a duly licensed
attorney, to himself or herself. Except as otherwise limited by regulation or by statute, an


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ALJ, AJ, and the AA has the authority to take all appropriate action to ensure the efficient,
prompt, and fair determination of a case. This authority includes, but is not limited to, the
authority to administer oaths and affirmations and to subpoena and examine witnesses. 13
C.F.R. § 134.218.

    ALJs have no constitutionally based judicial power, see Ramspeck v. Federal Trial
Examiners Conference, 345 U.S. 128, 132-33 (1953), but are employees of the executive
branch department or agency employing them. As such, ALJs are bound by all policy
directives and rules promulgated by their agency, including the agency’s interpretations of
those policies and rules. See Nash v. Bowen, 869 F.2d 675, 680 (2d Cir.), cert, denied, 493 U.S.
813 (1989); Mullen v. Bowen, 800 F.2d 535, 540- 41 n.5 (6th Cir. 1986); Brennan v.
Department of Health and Human Services, 787 F.2d 1559 (Fed. Cir.), cert, denied, 479 U.S.
985 (1986); Goodman v. Svahn, 614 F. Supp. 726, 728 (D.D.C. 1985); Association of
Administrative Law Judges, Inc. v. Heckler, 594 F. Supp. 1132, 1141 (D.D.C. 1984); c f D'Amico
v. Schweiker, 698 F.2d 903, 906 (7th Cir. 1983). Accord 34 C.F.R. § 81.5(b) (embodying in
Department regulations the requirement that ALJs adhere to policies and rules of the
agency).

    ALJs do not exercise the broadly independent authority of an Article III judge, but rather
operate as subordinate executive branch officials who perform quasi-judicial functions
within their agencies. In that capacity, they owe the same allegiance to the Secretary’s
policies and regulations as any other Department employee. The APA explicitly provides the
power of employees presiding at agency hearings is subject to the rules prescribed by the
employing agency: 5 U.S.C. § 556(c).

    OHA ALJs are bound by SBA regulation and interpretation of its governing statutes and
regulations. OHA has consistently recognized such challenges as being improper and
recognized the limited scope of its authority. OHA has repeatedly held it “is not the proper
forum for a challenge to the validity of a regulation.” Matter of Cognitive Professional Services,
Inc., Case No. BDPE-545 at *3 (March 10, 2015) (“Questions about the validity or
constitutionality of regulations do not fall within the jurisdiction of the Office of Hearings
and Appeals, and I may not consider them. See 13 C.F.R. § 134.102.”); accord Jim Plunkett,
Inc. re: E.S. Edwards & Sons, Inc., SBA No. 3838 at *2 (October 4, 1993) (finding complaint
challenging SBA’s regulations as overly complex to be “beyond the jurisdiction of this
Office.”); Nations Incorporated, Petitioner re: Technical and Management Services
Corporation, SBA No. 3611 at *8 (April 24, 1992) (“[A]ny question concerning the validity of
a regulation is beyond this delegated authority.”); International Ordinance, Inc., Petitioner,
SBA No. 3319 at *4 (August 6, 1990) (“The constitutional challenge of these regulations by
the Petitioner is beyond the limited jurisdiction of this Office.”)

    ALJs presiding over OHA PPP appeals on behalf of SBA are bound by SBA’s First IFR
available at the time, which states “Businesses that are not eligible for PPP loans are
identified in 13 C.F.R. § 120.110 . . . .” 85 Fed. Reg. 20,812 (April 15, 2020), as well as SBA’s
interpretation that the CARES Act includes application of SBA regulation at 13 C.F.R. §
120.110. See CARES Act § 1102, 134 Stat. at 287; 15 U.S.C. § 636(a)(36)(B).



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    Section 1114 of the CARES Act waived the notice and comment requirement for the
Interim Final Rule. Thus, the Interim Final Rule has the force and effect of a Final Rule and
Regulation. See 5 U.S.C. § 553; “A Guide to the Rulemaking Process”, p. 8. Therefore, the
CARES Act placed the PPP within the SBA 7(a) Loan Program.

    The Administrator, in consultation with the Secretary of the Treasury, determined that
limiting the amount of PPP loans that a single corporate group may receive will promote the
availability of PPP loans to the largest possible number of borrowers, consistent with the
CARES Act. The Administrator concluded that a limitation of $20,000,000 strikes an
appropriate balance between broad availability of PPP loans and program resource
constraints. The Petitioners argument fails, as the Administrator has established a well-
defined rule (IFR #7) and policy interpretation, for which OHA and the undersigned are
without authority to invalidate.

Argument #3 - Even if the rule-making requirements of the APA are overlooked, SBA
has not issued any guidance on how it interprets the $20,000,000.00 PPP loan
limitation, and more specifically, how SBA defines the terms ‘single corporate
group”/”common parent’.

    As noted above, the Administrator, in consultation with Secretary of the Treasury, issued
IFR #7, which imposed a $20,000,000.00 PPP maximum loan limitation for any corporate
group. The Petitioners, along with 46 other affiliated entities (84 PPP loans total) received
$44,983,180.44 in aggregate PPP loan proceeds. Prior to the disbursement of Petitioners’
loans, entities affiliated with the Petitioners under 13 C.F.R. § 121.301 had already obtained
funding for at least 36 PPP loans totaling more than $20,000,000. (Stipulated AR pp. 639-44)

     Within IFR #7, the Administrator set forth the authority to create a corporate group
maximum loan limitation under the CARES Act grant of authority to create ‘‘such rules and
regulations as [the Administrator] deems necessary to carry out the authority vested in him
by or pursuant to’’ 15 U.S.C. Chapter 14A, including authorities established under section
1102 of the CARES Act. The Administrator explained that Section 1102 of the CARES Act
“provides that the Administrator ‘may’ guarantee loans under the terms and conditions set
forth in section 7(a) of the Small Business Act, and those conditions specify a ‘maximum’—
but not a minimum—loan amount.” See 15 U.S.C. 636(a)(36)(B), (E); see also CARES Act
section 1106(k) (authorizing SBA to issue regulations to govern loan forgiveness).

     The Administrator further stated that in order to “preserve finite appropriations for
PPP loans and ensure broad access for eligible borrowers, the Administrator, in consultation
with the Secretary, has determined that an aggregate limitation on loans to a single corporate
group is necessary and appropriate.” (IFR #7, footnote 1).

     It became the responsibility of an applicant for a PPP loan to notify the lender if the
applicant applied for or received PPP loans in excess of the amount permitted by IFR #7 and
withdraw or request cancellation of any pending PPP loan application or approved PPP loan
not in compliance with the limitation set forth in this rule. SBA specifically stated that failure
by a PPP applicant to do would be regarded as a use of PPP funds for unauthorized purposes,


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and the loan will not be eligible for forgiveness. Additionally, a PPP lender was authorized
to rely on an PPP applicant’s representation (certification within the PPP Borrower
Application Form 2483) concerning the applicant’s compliance with IFR #7.

     SBA has denied loan forgiveness finding the Petitioners are part of a corporate group
and the recipients of PPP loan proceeds exceeding the $20,000,000.00 limitation. The
Petitioners argue that they do not meet the definition of a corporate group, the
$20,000,000.00 limitation does not apply to them, and loan forgiveness is proper. The
Petitioners rely on Bostock v. Clayton Cnty., Georgia, 140 S. Ct. 1731, 1738 (2020) and
Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 843 (1984) to assert that due
the CARES Act and IFR #7’s silence in defining corporate group, the ordinary public meaning
for the terms ‘corporate group’ and ‘common parent’ must be applied. The Petitioners focus
on the term common parent and argue the ordinary public meaning is “a common parent
corporation or common parent holding company.” The Petitioners argue that none of
Petitioners are a common parent holding company and none have a common parent
corporation.

     SBA argues the AR, Petition, and applicable authorities demonstrate that (1) SBA had
the authority to limit the amount of PPP funds a “corporate group” could obtain; (2)
Petitioners were part of a corporate group with common parent Hyman/Zanziper that
received over $20 million in PPP loans in the aggregate, (3) Petitioners’ loans funded after
the January 2021 IFR and after other borrowers within the corporate group had already
received more than $20 million in PPP loans; and (4) Petitioners were thus ineligible for PPP
loan forgiveness. (SBA Response).

     The CARES Act subjected PPP borrowers to SBA’s 7(a) program affiliation rules, as set forth in
13 C.F.R. § 121.301(f).8 Of note, Section 1102(e) of the CARES Act permanently rescinded the SBA’s
February 2020 amendment to 13 C.F.R. § 121.301, thus PPP borrowers are subject to SBA’s 2019
version of 13 C.F.R. § 121.301. (see 81 Fed. Reg. 41423).

      Each PPP applicant must aggregate its own number of employees or revenue with that of all of
its affiliates for the purposes of determining eligibility for a PPP loan. PPP applicants are eligible for
a First Draw PPP loan, when the applicant: (1) Qualifies as a small business concern as defined in
section 3 of the Small Business Act, 15 U.S.C. § 632; (2) Along with its affiliates, have 500 or fewer
employees whose principal place of residence is in the United States; (3) Along with its affiliates meet
the SBA employee-based size or revenue standards for the industry in which they operate,
(including the “alternative standard”; or (4) Is a nonprofit organization, veterans organization, or
Tribal business concern as outlined in Section 1102(a)(i) of the CARES Act.9



8
  PPP Loan FAQs, No. 5. While § 121.103 governs the SBA’s general principles of affiliation, § 121.103(a)(8) states
that “applicants in SBA’s Business Loan [including the PPP], Disaster Loan, and Surety Bond Guarantee Programs”
are to use “the size standards and bases for affiliation . . . set forth in § 121.301.”
9
  PPP Loan FAQs, No. 3. Our understanding of FAQ No. 3 is that it does not expand eligibility beyond the basic
eligibility requirements for all applicants for SBA business loans outlined in 13 C.F.R. § 120.100, but we await further
guidance clarifying this point.


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      The 2019 version of 13 C.F.R. § 121.301(f)(1-4) sets forth four principles that can establish an
affiliate relationship between a PPP borrower and another entity: 1) Equity ownership; 2) Stock
options, convertible securities, and agreements to merge; 3) Management; and 4) Identity of
interest, as follows:

1) Any entity that owns or has the power to control more than 50 percent of the borrower’s voting
   equity is considered an affiliate of the borrower. Further, SBA deems a minority shareholder
   exercises “negative control” if it has the ability, under the borrower’s charter, by-laws, or
   shareholder’s agreement, to prevent a quorum or otherwise block action by the board of
   directors or shareholders. If no such entity owns 50 percent of the equity, SBA will deem the
   Board of Directors, President, or CEO (or other officers, managing members, or partners who
   control the management of the concern) to be in control of the borrower. 13 C.F.R. §
   121.301(f)(1).
2) SBA will consider stock options, convertible securities, and agreements to merge, as though the
   rights granted have been exercised, for purposes of determining whether an entity owns 50
   percent of the borrower,. 13 C.F.R. § 121.301(f)(2).
3) Affiliation arises where the President or CEO (or other officers, managing members, or partners
   who control the management of the concern) of the PPP applicant also controls the
   management of one or more other concerns. Affiliation also arises where a single individual,
   concern, or entity that controls the Board of Directors or management of one concern also
   controls the Board of Directors or management of one of more other concerns. Affiliation also
   arises where a single individual, concern, or entity controls management of the borrower
   through a management agreement. 13 C.F.R. § 121.301(f)(3).
4) Where close relatives share identical or substantially identical business or economic interests
   (such as where the close relatives operate concerns in the same or similar industry in the same
   geographic area), those concerns are affiliated. 13 C.F.R. § 121.301(f)(4).

      PPP’s affiliation rules provide direct policy interpretation concerning what entities are
associated with each and count towards the small-business concern size standard. Here, the
parties agree the affiliation rules associate the Petitioners due to the common ownership
existing for all Petitioners through Simcha Hyman and Naftali Zanziper. IFR #7 explicitly
subjects corporate groups to a $20,000,000.00 maximum loan limitation and takes care to
note that this limitation applies, even if, the businesses are eligible for the waiver-of-
affiliation provision under the CARES Act or are otherwise not considered to be affiliates
under SBA’s affiliation rules.

     Under the Small Business Act, a small-business concern includes, but is not limited to,
enterprises that are engaged in the business of production of food and fiber, ranching and
raising of livestock, aquaculture, and all other farming and agricultural related industries,
shall be deemed to be one which is independently owned and operated and which is not
dominant in its field of operation. 15 U.S.C. § 632(a)(1).

     In addition to the criteria specified in 15 U.S.C. § 632(a)(1), the Administrator may
specify detailed definitions or standards by which a business concern may be determined to
be a small business concern for the purposes of the Small Business Act or any other act. The
standards specified by the Administrator may utilize number of employees, dollar volume of


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business, net worth, net income, a combination thereof, or other appropriate factors. 15
U.S.C. § 632(a)(2)(A)&(B).

    SBA's size standards define whether a business entity is small and, thus, eligible for
Government programs and preferences reserved for “small business” concerns. Size
standards have been established for types of economic activity, or industry, generally under
the North American Industry Classification System (NAICS). NAICS is described in the North
American Industry Classification Manual-United States, which is available from the National
Technical Information Service, 5285 Port Royal Road, Springfield, VA 22161; by calling
1(800)      553-6847     or     1(703)      605-6000;       or    via     the   Internet    at
http://www.ntis.gov/products/naics.aspx. The manual includes definitions for each
industry, tables showing relationships between 1997 NAICS and 1987 SICs, and a
comprehensive index. NAICS assigns codes to all economic activity within twenty broad
sectors. Section 121.201 provides a full table of small business size standards matched to the
U.S. NAICS industry codes. A full table matching a size standard with each NAICS Industry or
U.S. Industry code is also published annually by SBA in the Federal Register. 13 C.F.R. §
121.101(a-b).

   A business is eligible for PPP loan if, on its own, it meets the size standard (employee-
based or receipts-based) established by SBA for the NAICS code applicable to its primary
industry, AND together with its affiliates, it meets the size standard (employee-based or
receipts-based) established by SBA for the NAICS code applicable to either its primary
industry or the primary industry of itself and its affiliates on a combined basis, whichever
standard is higher. (Emphasis added). See 13 C.F.R. § 121.301(a-b).

    The size status of an applicant for SBA financial assistance is determined as of the date
the application for financial assistance is accepted for processing by SBA. 13 C.F.R. § 121.302.

    SBA size standards are expressed either in number of employees or annual receipts in
millions of dollars, unless otherwise specified. The number of employees or annual receipts
indicates the maximum allowed for a concern and its affiliates to be considered small. The
size standards described in 13 C.F.R. § 121.201 apply to all SBA programs unless otherwise
specified within Title 13, Ch. 1, Part 121, Subpart A. 13 C.F.R. § 121.201.

   Concerns and entities are affiliates of each other when one controls or has the power to
control the other, or a third party or parties controls or has the power to control both. It does
not matter whether control is exercised, so long as the power to control exists. Affiliation
under any of the circumstances described in 13 C.F.R. § 121.301(f)(1-4) is sufficient to
establish affiliation for applicants for SBA's Business Loan Programs, which includes the 7(a)
Loan Program. 13 C.F.R. § 121.301(f).

      It is the responsibility of the borrower to determine which entities (if any) are the borrower’s
affiliates and determine the employee headcount of the borrower and its affiliates. Lenders are
permitted to rely on borrowers’ certifications.10 Lenders may accept and rely on signatures from a

10
     PPP Loan FAQs, No. 4.


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single individual who is authorized to sign on behalf of the borrower.11 Here, the Petitioners certified
their PPP eligibility on the PPP Borrower Application Forms 2483 submitted to the Lender. (AR pp.
1-637).

    The joint stipulations of the parties reflect the collective Petitioners were deemed a
small-business concern after application of SBA’s alternative size standards. This means the
Petitioners, as a group, were eligible for one of SBA’s 7(a) loan programs, to-wit: PPP. The
sole issue in dispute is whether the $20,000,000.00 PPP corporate group maximum loan
limitation is applicable to the Petitioners.


    On April 3, 2020, SBA published “Affiliation Rules Applicable to U.S. Small Business
Administration Paycheck Protection Program” to assist PPP applicants/borrowers in
understanding the application of SBA’s use of affiliation within PPP. 12 SBA explicitly noted
the four of the affiliation tests set forth in 13 C.F.R. § 121.301(f) “based on control apply to
participants” in PPP. 13 It was clear, prior to submitting borrower applications, the
Petitioners were subject to at least four of SBA’s 7(a) loan program affiliation rules.
    Since 1996, SBA policy has been that the aggregate amount of the SBA portions of all loans
to a single Borrower, including the Borrower's affiliates as defined in 13 C.F.R. § 121.301(f),
must not exceed a guaranty amount as otherwise authorized by statute for a specific
program. 13 C.F.R. § 120.151 ( See 61 FR 3235, Jan. 31, 1996, as amended at 68 FR 51680,
Aug. 28, 2003; 76 FR 63546, Oct. 12, 2011; 81 FR 41428, June 27, 2016). In furtherance of
this policy, SBA’s SOP (effective April 1, 2019) addresses how maximum loan limitation
amounts are determined for a small-business concern with affiliates. Specifically, SBA policy
states: “If affiliation exists, SBA’s loan maximums apply to the Applicant, including all
affiliates, as if all were a single business.” (Emphasis added). SOP 50 10 5(K), Part 2,
Section B, Ch. 3, 2.a. 1415

    Here, the CARES Act created a general maximum loan limitation for individual
borrowers, but also authorized the Administrator to set SBA’s guaranty of PPP loans. It is
important to note that the Administrator’s express authority under Section 1102 of the
CARES Act to guarantee PPP loans is marked by the term “may”. The Administrator
exercised this authority within IFR #7 and created a $20,000,000.00 corporate group
maximum loan limitation, as otherwise authorized by statute.

    SBA has denied the Petitioners loan forgiveness applications by applying the existing
7(a) loan program policy wherein applicants that are affiliated to meet the definition of a
small-business concern remain together, as a group, in applying a maximum loan limitation.

11
   PPP Loan FAQs, No. 11.
12
   https://www.sba.gov/sites/default/files/2020-
06/Affiliation%20rules%20overview%20%28for%20public%29%20v2-508.pdf
13
   Of note, the four tests applicable to PPP are the same as appearing in 13 C.F.R. § 121.301(f)(1-4).
14
   SBA’s Standard Operating Procedures (SOP) are issued and revised by SBA from time to time. SOPs are publicly
available on SBA's Web site at http://www.sba.gov. 13 C.F.R. § 120.10.
15
   https://www.sba.gov/sites/default/files/2019-
02/SOP%2050%2010%205%28K%29%20FINAL%202.15.19%20SECURED%20copy%20paste.pdf


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Through IFR #7, SBA has identified this grouping as a corporate group. The Petitioners
should have been aware, through review of existing SBA 7(a) loan program
regulations/policy, that by qualifying as a small-business concern after application of the
affiliation rules, the loan limitations set forth in IFR #7 would be applied to them, as a group.
Here, that limitation was set at $20,000,000.00. As such, the meaning of corporate group in
IFR #7 has the same meaning as affiliate under existing 7(a) loan program policy.

    The final SBA loan review decision relied upon this existing policy. Prior to issuing the
decision, SBA found “the ‘Naftali Simcha Family et al’ (Petitioners) are one single corporate
group via the 100% common ownership of Naftali Zanziper and Simcha Hyman (50% for
each Petitioner). SBA interpreted the term corporate group to mean where a majority
ownership by a common parent occurs either directly or indirectly. SBA finds that a common
parent, for the purposes of PPP financing, can be defined as a being a corporation, trust or
person(s.) When a corporation or trust has ownership, an in-depth review of the ownership
of the corporation or trust should be completed to determine if an individual(s) has an
indirect ownership that establishes a corporate group. Naftali Zanziper and Simcha Hyman
each owns 50% of each business directly or indirectly and combined they have a majority
ownership for the corporate group which overlaps in all 84 loans. While the affiliated group
of Naftali Zanziper and Simcha Hyman are eligible for PPP financing based on the Alternative
Size Standard, they exceed the limit of $20,000,000 for a single corporate group established
in IFR #7 - Interim Final Rule on Corporate Groups and Non-Bank and Nonlnsured
Depository Institution Lenders.” (AR pg. 649).

    The AR reflects the Petitioners, as affiliated under 13 C.F.R. § 121.301(f) with 46 other
entities (84 PPP loans total) received $44,983,180.44 in aggregate PPP loan proceeds. Prior
to the disbursement of Petitioners’ loans, entities affiliated with the Petitioners had already
obtained funding of at least 36 PPP loans totaling more than $20,000,000. (AR pp. 639-644).

     As it directly relates to the Petitioners argument, SBA did not explicitly define the term
corporate group within IFR #7 (or any other PPP related publication), but the meaning of
the term can easily be derived from other SBA 7(a) loan program policy existing prior to the
Petitioners receipt of these PPP loans. This policy can be seen through a plain reading of SOP
50 10 5(K) and Section 1102 of the CARES Act. When put together, the same clearly provide
that when a 7(a) loan program applicant is required to affiliate entities to meet the definition
of a small-business concern, the affiliated group of entities is carried forward when
considering if any authorized maximum loan limitation has been reached.

    Given the Petitioners eligibility under affiliation rules, as defined in 13 C.F.R. § 121.301(f),
for these PPP loans, the aggregation of the Petitioners, as affiliates, is carried forward in
evaluating whether the Petitioners reached the $20,000,000.00 PPP corporate group
maximum loan limitation. The AR and Joint Stipulations reflect these Petitioners had already
received $20,000,000.00 in PPP funds, thus were ineligible for the loans at issue.

    Overall, the Petitioners are affiliates of each other, as defined by 13 C.F.R. § 121.301(f)(1-
4). As of the date of applying for the PPP loans at issue, together with its affiliates, the
Petitioners met the small-business concern alternative size standard. 13 C.F.R. § 121.301(a-


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b). (Joint Stipulations). The Administrator created a maximum loan limitation for PPP by
limiting SBAs guarantee of PPP loans exceeding $20,000,000.00 for corporate groups.
Section 1102 of the CARES Act. As affiliation exists among the Petitioners, the PPP
$20,000,000.00 corporate group maximum loan limitation applies to each Petitioner, as if all
Petitioners were a single business, to-wit: a corporate group. SOP 50 10 5(K), Part 2, Section
B, Ch 1: Basic 7(a) Loans, 1.c. At the time of applying for the PPP loans, the aggregate amount
of the SBA portions of all PPP loans to the Petitioners, including all affiliates as defined in 13
C.F.R. § 121.301(f), exceeded the $20,000,000.00 maximum loan limitation otherwise
authorized by IFR #7. See 15 U.S.C. 636(a)(36)(E)(ii). The Petitioners are a corporate group
and were ineligible for the PPP loans at issue.

      It was the responsibility of the Petitioners to determine which entities (if any) were their
affiliates and certify the same to the Lender. The Petitioners did determine its affiliates, certified the
same to the Lender, and met the definition of small-business concern. The Lender properly relied
on the Petitioners certifications contained in the PPP Borrower Application Forms 2483 and 3508.
Under IFR #7, it was also the Petitioners responsibility to notify the Lender if they had applied
for or received PPP loans in excess of the $20,000,000.00 maximum loan limitation. The
Petitioners determined the $20,000,000.00 corporate group maximum loan limitation was
not applicable. This led the Petitioner to not execute the options available under IFR #7 to
withdraw or request cancellation of any pending PPP loan applications or approved PPP
loans not in compliance with the maximum loan limitation. SBA specifically advised the
Petitioners that failure to do so would be regarded as a use of PPP funds for unauthorized
purposes, and the loan will not be eligible for forgiveness.

    SBA regulations provide that an ineligible borrower would not receive loan forgiveness
under the CARES Act. See e.g. CARES Act § 1106(b), 134 Stat. at 298 (codified at 15 U.S.C. §
636(b))(“An eligible recipient shall be eligible for forgiveness . . . .); Paycheck Protection
Program-Requirements-Loan Forgiveness, 85 Fed. Reg. 33004, 33005 (May 28, 2020) (“If
SBA determines in the course of its review that the borrower was ineligible for the Wells
Fargo Loan . . . the loan will not be eligible for loan forgiveness.”); Paycheck Protection
Program-Loan Forgiveness Requirements and Loan Review Procedures as Amended by
Economic Aid Act, 86 Fed. Reg. 8283, 8296 (February 3, 2021) (consolidates and restates
multiple PPP Interim Final Rules regarding forgiveness requirements, including
requirement that ineligible borrowers will not receive loan forgiveness).

     The final SBA loan review decision held the Petitioners were ineligible for the PPP loans
received having exceeded the $20,000,000.00 PPP corporate maximum loan limitation and
precluded from loan forgiveness. Given the foregoing, the final SBA loan review decision did
not commit error in determining the Petitioners were ineligible for the PPP loans and
subsequently precluded from loan forgiveness. SBA did not commit error in denying loan
eligibility or forgiveness. The final SBA loan review decisions are well supported by the
records and devoid of any clear errors of law or fact. As such, the final SBA loan review
decisions are AFFIRMED.




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                                   CONCLUSION OF LAW

        The Petitioners are part of a corporate group that was ineligible for PPP Loan
Numbers 3123528607, 8306238609, 3200798601, 3015918609, 3124028601,
5169688603, 5975278603, 5035908602, 8192158610, 8162528602, 6531908606,
6327628608, 8074818606, 1946638705, 1825438708, 7988958604, 2869798805,
3383808800, 3097548608, 4967028604, 2971158808, 2614148709, 2614318701,
7659928605, 2617258702, 1383928704, 1472948701, 1470638709, 2382638703,
1635078706, 1703648703, 1299808700, 1535178704, 1581268708, 1935708707,
6580538609, & 1993548705 at the time of applying for each PPP loan. The Petitioners are
ineligible for PPP loan forgiveness. The final SBA loan review decisions are not based on clear
error of fact or law.

                                           ORDER

   For the reasons discussed above, the appeal petitions remain DENIED.

                                                    SO ORDERED.



                                                     __________________________________________
                                                        Brian J. Haring
                                                        U.S. Administrative Law Judge




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